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                               Exhibit 1
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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

     PINK ZEBRA MUSIC, LLC.,          )
                                      )                   Case No. 16-cv-11099
          Plaintiff,                  )
                                      )                   Judge: Hon. Joan B. Gottschall
     v.                               )
                                      )                   Magistrate Judge Sheila M. Finnegan
     SHENZHEN WONDERSHARE             )
     INFORMATION TECHNOLOGY CO. LTD., )                   JURY TRIAL DEMANDED
     WONDERSHARE SOFTWARE CO.,        )
     ISKYSOFT STUDIO and AIMERSOFT    )
     STUDIO                           )
                                      )
          Defendants.                 )

                               DECLARATION OF CHUN SUN

         1.    My name is Chun Sun and I am the Chief Financial Officer of Defendant

Shenzhen Wondershare Information Technology Co. Ltd. (“Wondershare”). Wondershare is a

limited company organized under the laws of the People’s Republic of China. This declaration is

based upon my own personal knowledge of the facts stated herein, as well as based upon my

review of Wondershare’s business records. I am competent to testify to the following facts.

I.       Wondershare has been in business since 2003.

         2.    I have reviewed a court transcript dated December 7, 2016. (December 7, 2016

Transcript, Exhibit A.) It is my understanding that the Court asked Plaintiff’s counsel whether

they know anything about who Wondershare is. It is my understanding also that Plaintiff’s

counsel claimed that they had done “a fair amount of Internet research to try and discover as

much as we can” about Wondershare, and then stated that “we can’t find that much information

out about this company.” Id. at 3:21-23. It is my understanding that the Court accepted

Plaintiff’s counsel’s representations in its December 9, 2016 order, which states that Plaintiff’s

counsel represented that he conducted a “reasonable search of public records and Internet
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resources but found substantially less information about Defendants than, in his experience,

would be typically available….” Doc. No. 14, at ¶ 3.

       3.       Contrary to these representations, Wondershare is a well-established company

that has been building its brands and reputation since 2003. Information regarding Wondershare

and its history can readily be found in public records, on the Internet, including Wondershare’s

own websites.

       4.       Wondershare is proud of its accomplishments and provides detailed information

about its history on at least one of its company websites. Like many company websites,

Wondershare has an “about” link at the bottom of its home page:




Any user who clicks the “about” link is directed to a second page which provides substantial

quantities of information about Wondershare. The very first link on that page is titled “Know

Our History:”




                                                2
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A user who clicks the “Know Our History” link then sees a timeline of significant events in our

company’s history, going back to 2003.




A copy of Wondershare’s Company History Webpage is attached hereto as Exhibit B. It can

also be found online at https://www.wondershare.com/company/history.html. This webpage

explains Wondershare’s growth over the past 13 years:

             In 2003, Wondershare was founded and released its first software product,
              Wondershare Photo2VCD. That program allowed users to convert a series of


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               photos to a video CD that could be played in a standard CD or DVD player. For
               example, a user would use this program to convert a family photo album to a
               video CD that could be played on a TV.

              In 2004, Wondershare released another product, Wondershare PPT2DVD. This
               allowed users to convert PowerPoint files to a DVD that could be played in a
               standard DVD player.

              In 2007, Wondershare began offering applications for Mac users, in addition to
               Windows users.

              In 2007, Wondershare entered into a relationship with a leading software
               distributor in Europe.

              By 2008, Wondershare had established a branch in Japan and had partnered with
               Softbank, the number one distributor of software products in Japan.

       5.      These webpages were available on Wondershare’s website at the time Plaintiff

filed its Complaint, and at the time Plaintiff’s counsel made representations to the Court

regarding a “fair amount of Internet research to try and discover as much as we possibly can.”

Exhibit A, at 3:21-23.

II.    Wondershare has been favorably recognized in notable business publications.

       6.      Wondershare’s growth and accomplishments have been consistently, favorably

recognized in the press:

              In 2009, 2010 and 2011, Wondershare was recognized as one of the “Technology
               Fast 500 Asia Pacific 2009” by the accounting firm Deloitte. This recognition is
               mentioned on Wondershare’s website, and can be verified in Deloitte’s own
               publications. (See Exhibit B; Deloitte Technology Fast 500 Asia Pacific 2009
               Ranking and CEO Survey, Exhibit C; Deloitte Technology Fast 500 Asia Pacific
               2010 Ranking and CEO Survey, Exhibit D; Deloitte Technology Fast 500 Asia
               Pacific 2011 Winners Report and Ranking, Exhibit E.)

              In 2011, Deloitte recognized Wondershare as one of the “Technology Fast 50
               China.” This recognition is mentioned on the Wondershare website, and can be
               verified in Deloitte’s own publications. (Exhibit B; 2011 Deloitte Technology
               Fast 50 China Ranking and CEO Survey, Exhibit F.)

              In 2011, Forbes Magazine recognized Wondershare as one of China’s best small
               and medium enterprises (SMEs). This recognition is mentioned on the
               Wondershare website, and can be verified via Forbes’ publications. (Exhibit B;
               See Wondershare Software Get Recognition in Forbes 2011 Ranking of Top

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               Small and Medium Enterprises in China, Exhibit G.)

              In 2012, Forbes Magazine again recognized Wondershare as one of China’s best
               small and medium enterprises (SMEs). This is mentioned on the Wondershare
               website, and can be verified via Forbes’ publications. (Exhibit B.)

       7.      As shown in the attachments to this declaration, these publicly available

documents continue to be referenced on Wondershare’s website, and were referenced there at the

time Plaintiff filed its Complaint.

       8.      Wondershare is also listed in Crunchbase, a popular resource amongst business

people and the venture capital community. Crunchbase provides the venture capital industry

with information about investments in both public and private companies. Crunchbase is a free,

publicly available resource. As shown below, CrunchBase contains a listing for Wondershare

(also shown as Exhibit H):




Clicking on the links in Crunchbase provides additional information, such as who has invested in

Wondershare. This information was and remains available to Plaintiff’s counsel who claimed

that “we can’t find that much information about this company.”


                                                5
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III.     Wondershare clearly advertises its corporate addresses.

         9.    I understand that Plaintiff’s counsel represented to the Court he could not find

“addresses for one or more corporate offices at which software is developed.” Doc. No. 13, at ¶

3.

         10.   Wondershare’s website plainly lists its corporate offices and the addresses for

those offices. The Wondershare website contains a “Contact” link at the bottom of the home

page:




The “Contact” link leads directly to the locations of Wondershare’s three offices, located in

Shenzhen, Vancouver and Tokyo:




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This page provides maps to each location, along with a media relations email address, a product

support link, and a direct telephone number. This page was available on Wondershare’s website

at the time Plaintiff filed its Complaint, and is attached hereto as Exhibit I.

       11.     I understand that Plaintiff has referred to a Houston address. Wondershare began

setting up a U.S. subsidiary in 2011 with the intent that the U.S. subsidiary would help

Wondershare expand its U.S. market share. The subsidiary never had a permanent employee and

never had a facility. The Houston address was merely a temporary mailing address for the

planned U.S. subsidiary. Wondershare ultimately decided to set up a Canadian subsidiary in

Vancouver, British Columbia instead, to take over the responsibilities of the U.S. subsidiary, and

Wondershare voluntarily cancelled the U.S. subsidiary (a California corporation) in June 2014.

IV.    Information Regarding Wondershare’s Employees Has Been Readily Available

       12.     I understand Plaintiff’s counsel has represented that they “could not locate

information about corporate officers or employees of [Wondershare] other than…Tobee Wu.”

Doc. No. 14, at ¶ 3. Particularly, Plaintiff’s counsel told the Court that they were not able to

“find out more than one person’s name related to the company.” Exhibit A, 4:10-11.


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       13.     Wondershare’s website includes a “Join Us” page which includes a listing of job

openings, as well as photos of many of Wondershare employees. A portion of this page is

reproduced below, and a complete copy of the webpage is attached as Exhibit J.




       14.     Wondershare is also listed in the popular social media platform LinkedIn.

LinkedIn shows Wondershare to be a “Software Company” having what LinkedIn estimated was

“501-1000 employees.” (LinkedIn Page, Exhibit K.) LinkedIn also includes profiles for 211 of

Wondershare’s employees – nearly half of its total employees – including photos, job titles and

descriptions. This information appears to have been publicly available and is easy to locate.

IV.    Wondershare Has Invested Heavily In Its Brand

       15.     I understand that Defendants’ counsel has alleged that Wondershare is likely to

“switch [its] operations to new trade names and websites.” Doc. No. 14, at ¶ 3. Wondershare has

invested heavily in its brand name and recognition over the past thirteen years. This includes

substantial brand name development and recognition on social media. On Facebook,

Wondershare has around 149,000 likes on Facebook, and Filmora (Wondershare’s flagship video

editing product) has 13,400 likes. On Twitter, Wondershare has 6,600 followers. On YouTube,


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Wondershare has 8,100 subscribers and 10.6 Million views. It has taken years of advertising,

promotion, and customer satisfaction to build this level of brand loyalty among consumers, and

Wondershare would lose these followings if it changed trade names. These numbers are all

readily verifiable via basic internet research.

       16.     Wondershare also has approximately fifteen U.S. trademark registrations alone.

(TESS system list of trademark registrations, Exhibit L.) Wondershare has invested time, capital

and resources in developing and protecting the brands reflected in these trademark registrations,

both in the United States and abroad. Wondershare could not switch to new trade names and

websites without abandoning its investment and substantial goodwill in these brands, and has no

intention of doing so. The records of these trademark registrations are all publicly available from

the United States Patent and Trademark Office website.

VI.    Wondershare Sells Several Software Products

       17.     Wondershare’s website also shows that Wondershare sells many products beyond

the video editing software that Plaintiff addresses in its Complaint. Wondershare has developed

and continues to distribute the following software products:

              Filmora – a video-editing software program for Windows and Mac OS (available
               at https://filmora.wondershare.com/video-editor/).

              FilmoraGo – a video-editing software program for Android OS and iOS (available
               at https://filmora.wondershare.com/filmorago-video-editing-app/).

              Video Converter Ultimate – a video-conversion software program for Windows
               and Mac OS (available at https://videoconverter.wondershare.com/).

              DVD Slideshow Builder Deluxe – a Windows-based software program for
               weaving photos and video clips into a DVD slideshow (available at
               https://www.wondershare.com/pro/dvd-slideshow-builder-deluxe.html).

              Dr.Fone – a data recovery software toolkit for Android OS and iOS (available at
               https://drfone.wondershare.com/android-data-recovery.html and
               https://drfone.wondershare.com/iphone-data-recovery.html).

              Data Recovery – a data recovery software program for Windows and Mac OS for

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               recovering data on computers, hard drives, flash drives, memory cards,
               smartphones, tablets, cameras and camcorders (available at
               https://datarecovery.wondershare.com/).

              Photo Recovery – a professional software tool specially designed for recovering
               photos, videos and audio files from storage devices (available at
               https://datarecovery.wondershare.com/data-recovery/photo-recovery.html).

              PDF Element – a software program for Windows, Mac OS and iOS that enables
               users to read, edit, convert, sign and share PDF documents (available at
               https://pdf.wondershare.com/pdfelement/,
               https://pdf.wondershare.com/pdfelement-mac/ and
               https://pdf.wondershare.com/pdfelement-ios/).

              eSign+ – a software program for electronically signing documents (available at
               https://esign.wondershare.com/).

              TunesGo – a software program for Windows and Mac OS that enables users to
               manage music, video, photos, contacts, messages, apps and files on their
               smartphone or tablet (available at https://tunesgo.wondershare.com/),

              MobileGo – a software program for Windows and Android OS that enables users
               to manage music, video, photos, contacts, messages, apps and files on their
               smartphone or tablet (available at http://mobilego.wondershare.com/).

              MobileTrans – a software program for Windows and Mac OS that enables users
               to transfer files to and from their smartphone or tablet (available at
               https://drfone.wondershare.com/phone-transfer.html).

              SafeEraser – a software program for Windows and Mac OS that enables users to
               permanently erase data from their Android OS and iOS smartphone or tablet
               (available at https://www.wondershare.com/iphone-data-eraser/).

       18.     These are software products sold under the Wondershare brand. Wondershare

owns the iSkysoft and Aimersoft brands, and sells yet additional software under these brand

names. Wondershare also owns the Spotmau brand, which sells additional products. Overall,

Wondershare develops and sells more than thirty different types of software. These other thirty-

plus software products do not appear to have anything to do with Plaintiff’s allegations.



III.   Video Editing Software Comprises Only A Portion of Wondershare’s Revenues.

       19.     Only three of Wondershare’s software products appear to be related to Plaintiff’s


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Complaint – namely, (1) Filmora (and its variant FilmoraGo), (2) iSkysoft Video Editor and (3)

Aimersoft Video Editor (the “Video Editing Products”).

       20.        At our counsel’s request, we have examined our sales of the Video Editing

Products. In 2014, Wondershare’s sales of the Video Editing Products comprised                    of

Wondershare’s total revenues. In 2015, Wondershare introduced its Filmora video editing

product, and total sales of Video Editing Products comprised             of Wondershare’s total

revenues. In 2016, sales of Video Editing Products comprised               of Wondershare’s overall

sales revenues.

       21.        Wondershare did not “sell” any of Plaintiff’s songs and is not aware of any

revenue actually generated by Plaintiff’s songs.

IV. The Accused Video Editing Software Effects Packs Each Contain Many Video Tools
Having Nothing To Do With Background Music

       22.        Filmora was previously sold under the brand Wondershare Video Editor (a video

editing software program) and was rebranded as Filmora in 2015. Filmora provides a toolkit that

enables consumers to easily create a finished, professional-looking video. The stock Filmora

program allows users to add many effects to their videos. These effects include audio tracks

(including music), text elements, titles, graphic elements, filters, overlays, and transitions.

Consumers can purchase effects packs from Wondershare for an additional cost, and the types of

effects in the pack can vary from pack to pack. For example, the Action Cam Winter Collection

Pack shown below contains 56 elements, 11 overlays, 44 titles, 13 transitions and 4 filters. This

toolkit does not include any audio files.




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       23.     Wondershare offered a Summer Collection effects pack to consumers for free.

The Summer Collection effects pack contained 27 elements, 2 overlays, 8 titles, 16 transitions,

and 4 sample music tracks. (Exhibit M.) The songs “Walk Through Life” and “Larger Than

Life” were among the 4 music tracks contained in the Summer Collection effects pack. (Id.) The

songs “Walk Through Life” and “Larger Than Life” were first made available for download in

August 2016.

       24.     Wondershare offered a Halloween Collection effects pack to consumers for free.

The Halloween Collection effects pack contained 12 music tracks, 21 overlays, 13 titles, and 9

filters. (Exhibit N.) The Halloween Collection effects pack contained the song “Spooky Fun.”

The song “Spooky Fun” was first made available for download in October 2015.

       25.     Wondershare has removed the Summer Collection and Halloween Collection

effects packs, and they are no longer available to new customers or consumers who upgraded

their Filmora to the new version.

       26.     Because the Summer Collection and the Halloween Collection were made

available for free download, and no end user was ever charged money to download those

expansion packs, Wondershare never earned any revenue from the download of the Summer



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Collection or the Halloween Collection.

       27.        We are attempting to assess the number of users who used the songs “Larger Than

Life,” “Walk Through Life,” and “Spooky Fun” in making a video. We do not keep data on

every element every user has ever used in a video, but we do sample this data. The sampling rate

is about 10%. From that 10% sampling protocol, we have identified only 64 uses of these songs

in our data, which suggests that the three songs were actually used around 640 times collectively.

We note that this is a preliminary estimate and we are still studying the data.

IV. Wondershare Does Possess A License For Plaintiff’s Songs

       28.        I understand that Mr. Struyk stated in his declaration that “Defendants have not

obtained any rights or licenses from Pinkzebra to use the tracks.” Doc. No. 10, at ¶ 18.

       29.        Wondershare does in fact have licenses for all three of the music tracks at issue.

Wondershare obtained licenses from AudioJungle for each track, and receipts for these licenses

are attached hereto. (Exhibits O, P and Q.)

IV. Wondershare’s Ordinary Business Expenses

       30.        We have provided our counsel with financial statements for 2014, 2015 and 2016.

These financial statements were outputted in Chinese from our ordinary course data contained in

our accounting system database. The financial statements from 2016 do not include the month of

December yet. I understand that our counsel has prepared machine translations of the financial

statements. We have authorized our counsel to share this information with the Court, under

appropriate protections, considering the confidentiality of this information, and the competitive

harm that would result from publishing this information to our competitors. The currency of

these financial statements is RMB. The exchange rate between RMB and U.S. Dollars is

currently 6.91.

       31.        Wondershare does have several PayPal and other merchant accounts. The need


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                               Exhibit A
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    1                    IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
    2                              EASTERN DIVISION

    3
         SUPPRESSED,                                    )   Docket No. 16 C 11099
    4                                                   )
                                       Plaintiff,       )
    5                                                   )
                         vs.                            )
    6                                                   )
         SUPPRESSED,                                    )   Chicago, Illinois
    7                                                   )   December 7, 2016
                                       Defendant.       )   9:30 o'clock a.m.
    8

    9                     TRANSCRIPT OF PROCEEDINGS - MOTION
                        BEFORE THE HONORABLE JOAN B. GOTTSCHALL
   10

   11   APPEARANCES:

   12
        For the Plaintiff:             WOLEK & NOACK
   13                                  BY: MR. BRIAN T. NOACK
                                            MR. ADAM WOLEK
   14                                  333 S. Wabash Avenue, Suite 2700
                                       Chicago, Illinois 60604
   15

   16   Court Reporter:                MS. JOENE HANHARDT
                                       Official Court Reporter
   17                                  219 S. Dearborn Street, Suite 1744-A
                                       Chicago, Illinois 60604
   18                                  (312) 435-6874

   19

   20                     * * * * * * * * * * * * * * * * * *

   21
                                 PROCEEDINGS RECORDED BY
   22                             MECHANICAL STENOGRAPHY
                             TRANSCRIPT PRODUCED BY COMPUTER
   23

   24

   25
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    1               THE CLERK:     Case No. 9:     16 C 11099, Suppressed vs.

    2   Suppressed.

    3               THE COURT:     Good morning.

    4               MR. NOACK:     Good morning, your Honor.

    5               My name is Brian Noack on behalf of Pinkzebra Music,

    6   LLC, the plaintiff.

    7               MR. WOLEK:     My name is Adam Wolek, also on behalf of

    8   the plaintiff, your Honor.

    9               THE COURT:     All right.     Okay.

   10               Well, I have read everything you have given me and I

   11   have a few questions.

   12               First of all, you have not given me a draft TRO.

   13               At least, if you have, I have not been able to find

   14   it.

   15               MR. NOACK:     I will double-check, your Honor.           If we

   16   have not, I can get you one shortly.

   17               THE COURT:     Of all of the things -- I mean, here is my

   18   only big problem with this.          When we come down to -- let me

   19   just make a few things clear.

   20               I think you have shown me that you have a likelihood

   21   of success on the merits.

   22               I think that you shown me that there is a presumption

   23   of irreparable harm in this kind of case.

   24               It is also true, of course, that if I enter the

   25   injunction that you are asking for, it may well -- I do not
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    1   know, but it may -- have very significant effects on the

    2   defendant.

    3               The theory by which you asked me to do this without

    4   notice is that people -- as I understand it, entities -- like

    5   the defendants tend to have these offshore accounts and they

    6   move money around.

    7               You know, you are telling me this.           Basically, it is

    8   quite conclusory.       I mean, I do not know who Shenzhen

    9   Wondershare Information Technology Company is -- if it is just

   10   some fly-by-night thief organization or if it is actually a

   11   legitimate organization that is going to be seriously affected

   12   by what you are asking me to do.

   13               And you do not tell me much.          You just say, "Entities

   14   like this do -- " "On information and belief, entities like

   15   this do various things."

   16               Do you not know anything about who this defendant is

   17   at this point, I mean, that would give me a little bit of

   18   security about whether they are people who are going to go

   19   spirit their assets away and do things like that, if I enter

   20   this TRO without notice?

   21               MR. NOACK:     Well, your Honor, we have done a fair

   22   amount of Internet research to try and discover as much as we

   23   possibly can.

   24               THE COURT:     Okay.

   25               MR. NOACK:     And one of the things we have noticed is
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    1   that we can't find that much information out about this

    2   company, which is not a great sign for --

    3               THE COURT:     Okay.

    4               MR. NOACK:     -- a company that isn't planning to move

    5   money away as soon as possible.

    6               THE COURT:     So, what kind of information would you

    7   expect to find, that you cannot find?

    8               MR. NOACK:     Well, for most of the United States

    9   companies that have some sort of vested interest in being here,

   10   you are able to find out more than one person's name related to

   11   the company.      You are able to find out offices that are in this

   12   country.

   13               We haven't been able to find out much beyond just the

   14   name of the owner and one tiny branch in Texas, that we are not

   15   even positive is fully related to the named company at issue

   16   here.    So, we really can't find a whole lot of contacts, other

   17   than the Web site, tying them to this country.

   18               So, our fear is, as soon as they get wind of this Web

   19   site, that they are going to immediately shuttle all of their

   20   assets to China and good luck getting them, essentially.

   21               THE COURT:     Well, no one -- I mean, these defendants,

   22   to your knowledge, have not been sued before, where this is

   23   like we are doing this for the first time?

   24               MR. NOACK:     That is correct, your Honor.

   25               THE COURT:     And do you have information that the
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    1   various defendants are related to one another?

    2               MR. NOACK:     We believe so, yes.

    3               THE COURT:     Is that in the complaint?

    4               Where would I have a basis for that?

    5               MR. WOLEK:     Your Honor, if I may, from the research we

    6   found, we only have one person's name tied to all of the

    7   companies.

    8               THE COURT:     Yes.    I need to find the basis for that in

    9   the record, though.        So, I am just asking.        Is it in the

   10   complaint?

   11               Do we have the complaint here?          I do not have the

   12   complaint in front of me.         Let me take a look at that.

   13               (Document tendered.)

   14               THE COURT:     I mean, you are asking for extraordinary

   15   relief and I am perfectly happy to give it to you, but I want

   16   to make sure there is a basis for it.

   17               Okay.    So, you say in Paragraph 3 of the complaint --

   18               MR. NOACK:     Yes, your Honor.       We --

   19               THE COURT:     -- that Toby Woo you are associating with

   20   all three of those?

   21               MR. NOACK:     Yes.    You are correct, your Honor.

   22               THE COURT:     Yes, yes.     I see.

   23               Okay.    So, that is Paragraphs 2, 3 and 4 of the

   24   complaint.

   25               Now, Wondershare is located in the United States --
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    1   has an office in the United States -- but the others do not, as

    2   I understand this?

    3               MR. NOACK:     That is correct, your Honor.

    4               MR. WOLEK:     And to be clear, your Honor, we don't know

    5   if that is a physical address.           We just saw an incorporation

    6   paper, but we couldn't find anything about it whatsoever.

    7               THE COURT:     How would you investigate that?

    8               I mean, can we go on Google and see if that address

    9   exists?

   10               MR. WOLEK:     Yes.

   11               And we believe it is just merely a PO box, is my

   12   recollection.

   13               MR. NOACK:     That is consistent with mine, as well.

   14               THE COURT:     Okay.

   15               Well, if I give you the TRO without notice and if I

   16   grant you leave to serve them by e-mail, can you also serve

   17   them in the normal way, however long it takes?

   18               I mean, I do not know why you cannot go ahead and make

   19   an effort to serve the Texas entity.

   20               Why can that not be done?         I mean, that does not even

   21   require the Hague Convention.

   22               If you tried to serve them and they were not there, I

   23   would know a lot that I do not know right now.               Okay?

   24               MR. NOACK:     That is fair.

   25               MR. WOLEK:     That is fair, your Honor.
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                                                                                       7


    1               The fear is that they still move the money abroad.             I

    2   mean --

    3               THE COURT:     Right.

    4               But what I am going to do is I am going to give you

    5   your TRO.

    6               MR. WOLEK:     Okay.

    7               THE COURT:     And I am going to allow you to serve them

    8   by e-mail.

    9               MR. WOLEK:     Sure.

   10               THE COURT:     But, then, it seems to me, you ought to

   11   try to serve them -- I mean, certainly at this Hazelhurst

   12   Drive, Houston, Texas -- so they can come here and defend

   13   themselves, if they need to do that, before they are put out of

   14   business.

   15               MR. NOACK:     That makes sense, your Honor.

   16               THE COURT:     All right.

   17               So, why do we not do that.

   18               I do need an order, but I can find that you have shown

   19   a likelihood of success on the merits; but, particularly, by

   20   the declaration of the songwriter who has listened to the songs

   21   and says that they are available on this Chinese Web site; he

   22   does not receive any consideration for their distribution on

   23   this Web site; and, that they are exact copies of his songs,

   24   for which he now has a copyright, correct?

   25               MR. NOACK:     Yes.
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                                                                                   8


    1               THE COURT:     And I also find that there is no adequate

    2   remedy at law for this kind of ongoing copyright violation

    3   because the cases indicate that money damages are insufficient.

    4               But I do -- contrary to your argument, I think I am

    5   required to set some kind of a bond, but I will accept your

    6   $10,000 suggestion, but I do -- need that order.

    7               So, when do you want to come back with the order and I

    8   can make sure that the order reflects what -- and I am also

    9   going to -- let's see.

   10               I guess I would need to find for the record that you

   11   have made out the requirements of Rule 65 to have this TRO

   12   entered without notice; and, they are, that the facts that you

   13   have given me in the affidavits and the declarations show that

   14   immediate and irreparable injury, loss and/or damage will

   15   result to the movant before the adverse party can be heard in

   16   opposition; and, additionally, that your inability to find --

   17   what do we call it -- I mean, it is registrars in the United

   18   States, whatever, that you can adequately serve, suggests a

   19   significant possibility that the money will be moved away

   20   before you are able to get it, if they have notice.

   21               And, additionally, I found that you have adequately

   22   shown me a basis for making service by e-mail.

   23               But, additionally, I am going to require that you

   24   attempt to give regular notice, as well, and particularly with

   25   respect to the Texas address.
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                                                                                   9


    1               I think that ought to be done without delay.

    2               MR. NOACK:     Thank you, your Honor.

    3               THE COURT:     Okay.

    4               So, when do you want to come back and give me the

    5   order?     And, hopefully, I will not need to add or change it or

    6   do anything with it.

    7               It should say all of these things.           It should deal

    8   with the requirements for the TRO.            It should deal with the

    9   requirements for a TRO without notice.             And it also ought to

   10   state what you have already told me about why e-mail service is

   11   adequate in this case.

   12               So, at your convenience --

   13               MR. NOACK:     I mean, ideally, we could have something

   14   done by the end of today.          So, whatever works best for the

   15   Court.

   16               THE COURT:     That is fine.

   17               Why do you not -- that can be sent to our e-mail

   18   address.     I will look at it.       I will let you know if I need

   19   anything.

   20               And if I can just enter it, we will let you know the

   21   time and date when it is entered.

   22               If you serve it by the end of the day today, it is

   23   probably going to be tomorrow, assuming that it is completely

   24   adequate.

   25               MR. NOACK:     Okay.
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                                                                                   10


    1               THE COURT:     Okay?

    2               MR. NOACK:     Thank you very much, your Honor.

    3               THE COURT:     All right.       Thank you.

    4               MR. WOLEK:     Thank you, your Honor.

    5                                   *   *   *    *   *

    6   I certify that the foregoing is a correct transcript from the
        record of proceedings in the above-entitled matter.
    7

    8   /s/ Joene Hanhardt                          January 5, 2017
        Official Court Reporter
    9

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                               Exhibit B
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                                       Important 45-1onFiled: 01/06/17
                                                        Wondershare's        Page
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                                                                                  history




                                       Our Company    Leadership    History   Contact    Business    Join Us




                       Our Brief
                       History in years



   2016                  Wondershare’s sister company “Spotmau” is leading the smart home revolution by providing one-stop smart home
                         security product and services to thousands of Chinese homes.




   2015                  Filmora, the latest masterpiece from Wondershare, oﬀer a rich and exhilarating cross-platform video editing
                         experience around the world.




   2014                  Established Wondershare Canada.




https://www.wondershare.com/company/history.html                                                                                        1/4
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                                       Important 45-1onFiled: 01/06/17
                                                        Wondershare's        Page
                                                                      development    29 of 201 PageID #:786
                                                                                  history




   2013                  March 2013 Once again honored as the ‘Best Software Enterprise’ in China.




   2012                  March 2012 Wondershare again one of “Forbes 2012 China Potential Enterprises.”




   2011                  March 2011 Wondershare again one of “Forbes 2011 China Potential Enterprises.”




                         December 2011 Wondershare awarder for the third time “2011 Deloitte Technology Fast 50 China”.




   2010                  January 2010 Achieved CMMI Maturity Certiﬁcation.




                         February 2010 Established the branch company in Hong Kong, China.




   2009                  May 2009 Established the branch company in Europe.




                         December 2009 Awarded by Deloitte with the “Technology Fast 500 Asia Paciﬁc 2009”.




https://www.wondershare.com/company/history.html                                                                          2/4
1/3/2017      Case: 1:16-cv-11099 Document   #: events
                                       Important 45-1onFiled: 01/06/17
                                                        Wondershare's        Page
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                                                                                  history

                         Established the branch company in Japan, and partenered with Softbank, the No.1 software distributor in Japan.



   2008
                         Certiﬁed as a National Hi-Tech Enterprise.




   2007                  Released the ﬁrst application for Macintosh users.Cooperated with the leading software distributor in Europe, and
                         entered the European retail market.




   2006                  Introduced a wide range of applications in the area of Multimedia Software.




   2005                  Extend the product line to Audio / Video Conversion.




   2004                  Relased the ﬂagship product Wondershare PPT2DVD.




   2003                  Wondershare Software Ltd. Founded. Released the ﬁrst product Wondershare Photo2VCD.




https://www.wondershare.com/company/history.html                                                                                             3/4
1/3/2017        Case: 1:16-cv-11099 Document   #: events
                                         Important 45-1onFiled: 01/06/17
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                                                                                    history




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   Vancouver, or Tokyo.

   Learn more 




      Company                                                                                                          

      Products                                                                                                         

      Featured                                                                                                         

      Support                                                                                                          


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                                                                                   US




https://www.wondershare.com/company/history.html                                                                           4/4
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                               Exhibit C
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Soaring to new heights
Deloitte Technology Fast 500
Asia Pacific 2009
Ranking and CEO Survey
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Soaring highest: The top 10 companies                             10

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Deloitte Technology Fast 500 Asia Pacific 2009 CEO Survey         26

Technology Fast 500 Asia Pacific smart companies:                 36
Clare Howden, CEO, Futrix

Contacts at Deloitte Touche Tohmatsu (DTT) and its member firms   38

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Industry Group
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Foreword




Over the past eight years, we’ve watched technology companies            In the DTT TMT industry group’s annual CEO survey on page 26, they
in Asia Pacific achieve incredible growth, and we’ve tracked             specifically describe the ups and downs of the turbulent economic
their opportunities, ambitions, challenges and threats in the            climate.
Deloitte Touche Tohmatsu (DTT) Global Technology, Media &
Telecommunications (TMT) Industry Group’s annual Deloitte                What we found was unwavering confidence. The Asia Pacific CEOs
Technology Fast 500 Asia Pacific Ranking and CEO Survey, one of the      participating in this year’s survey are stirred, not shaken, by the
region’s most comprehensive and respected rankings of fast-growing       financial downturn and are keeping growth targets static and in
technology companies.                                                    sight, with 30 percent setting even more aggressive growth targets.
                                                                         Not only are they positive about their status quo, with their ongoing
In this—our eighth edition—we see how the world’s economic               commitment to innovation and talent strategies, they are adapting
recession has shaped their plans and practices for growth. Key           where necessary. About 56 percent are placing an even greater
data is obtained from companies in Australia, China (Hong Kong),         emphasis on organic growth strategies to weather the economic
India, Japan, Korea, Malaysia, New Zealand, Singapore, Taiwan and        turbulence, while tolerance for riskier R&D initiatives has decreased.
Thailand. The ranking recognizes the top 500 technology companies,
both public and private, according to their revenue performance over     The Technology Fast 500 of 2009 have met the year head-on with
the past three years.                                                    adaptability and a balance-and-moderation approach to their business
                                                                         strategies.
The top five companies this year averaged a three-year revenue
growth rate of 8,980 percent, significantly lower than last year’s       Congratulations to all the winning companies on their remarkable
record-breaking 30,038 percent, but more in keeping with the rates       achievements.
of 2007 (13,849 percent) and 2006 (6,799 percent). Overall, the
average percentage growth rate for the entire 500 ranked companies
was 361 percent, about half the rate in 2008.

For the third time, the winning company hailed from China,
with newcomer Vancl—a direct marketing B2C online clothes                                           Jolyon Barker
retailer—boasting an extraordinary growth rate of 29,577 percent.                                   Global Managing Partner, DTT Technology,
Indeed, Vancl’s stellar performance in 2009 clearly skews the top-five                              Media & Telecommunications Industry Group
average, considering the large gap between it and the Taiwan-
based runner-up High Power Opto Inc at 7,240 percent. How Vancl
achieves its remarkable growth is told in our interview with CEO
Chen Nian on page 8.
                                                                                                    Yoshitaka Asaeda
This year, 230 CEOs gave us a behind-the-scenes peak into how                                       Deloitte Japan, Partner in charge of Deloitte
they’ve continued to achieve high growth rates in a difficult year.                                 Technology Fast 500 Asia Pacific program




                                                                                                                                                    1
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DTT TMT at a glance




A global presence                                                      Commitment to growing companies

DTT TMT comprises Deloitte member firm TMT practices in 45             Across the world, DTT member firms operate programs and initiatives
countries. With dedicated Centers of Excellence (CoE) in the           to promote growing companies, including the Deloitte Technology
Americas; in Europe, Middle East and Africa (EMEA); and in Asia        Fast 50 and Fast 500 programs. These programs recognize the fastest-
Pacific, the DTT TMT group’s footprint includes more than 7,000        growing TMT companies in individual countries and in the regions of
Deloitte member firm partners and professionals around the world.      North America, EMEA and Asia Pacific. CEOs are surveyed to capture
These individuals are dedicated to helping member firm clients         the perspective of those working with the hottest TMT companies, while
evaluate complex issues, resolve problems and implement practical      member firms survey major venture capital associations around the
solutions across the entire TMT spectrum. To better serve member       world on topical matters within the industry. The results are reported in
firm clients comprehensively and with the utmost integrity, Deloitte   the Global trends in venture capital survey and distributed globally.
member firm practitioners provide a range of multidisciplinary
capabilities, while adhering to core operating principles and
                                                                       Investing in research that matters
committing themselves to Deloitte’s shared values:
                                                                       DTT TMT keeps abreast of the trends and developments that regularly
Multidisciplinary capabilities                                         redefine the rules of the game and makes significant investments in
                                                                       producing cutting-edge thought leadership. We are deeply committed
•• Global audit and enterprise risk services (ERS)
                                                                       to providing member firm TMT professionals with the insights that
•• Global consulting                                                   can keep them at the forefront of critical trends. In addition to helping
                                                                       member firm clients, Deloitte member firms’ innovative thinking is highly
•• Global tax
                                                                       valuable to, and sought by, a range of stakeholders: business schools,
•• Global financial advisory                                           trade organizations, government agencies and companies of all sizes.

                                                                       DTT TMT’s research team is supported by a global network of DTT
Measuring success
                                                                       TMT member firm professionals, whose knowledge and experience are
•• Leading in scale and growth
                                                                       gained from working directly with leading companies around the world.
•• Superior and sustainable profitability                              This combination of rich industry experience and views of where the
                                                                       industry is heading helps produce thought-pieces that are consistently
•• Market leadership
                                                                       compelling, timely and practical.
•• Innovation
                                                                       Recent thought leadership reports include:
•• Flexibility
                                                                       •• Technology Predictions: TMT Trends 2009
•• Magnet for talent / global culture
                                                                       •• Media Predictions: TMT Trends 2009
•• Eminence / brand image
                                                                       •• Telecommunications Predictions: TMT Trends 2009
•• Exceptionally client-centric
                                                                       •• Global trends in venture capital: 2009 global report

Deloitte shared values                                                 •• Reality Check: State of the Media Democracy
•• Integrity                                                           •• Losing Ground: 2009 TMT Global Security Survey
•• Outstanding value to markets and clients

•• Commitment to each other

•• Strength from cultural diversity




2
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Knowledge across borders

The promotion of knowledge transfer across regional and functional
boundaries is fundamental to DTT member firms’ culture. The TMT
knowledge management team comprises 34 knowledge managers in
29 locations, each of whom is dedicated to assisting practitioners with
their knowledge management needs.


Delivering value to clients

Creating value for clients remains the key measure of success for DTT
member firms. Aside from showing clients how to apply the latest
business methods and technologies, member firms help TMT clients
understand and respond to emerging trends. DTT TMT member firm
professionals hold regular conferences and webcasts with clients to
discuss the latest business developments, and obtain input that helps
set the direction for future research. This sharing of knowledge is
invaluable to deepening client relationships and ensuring that the
needs and concerns of clients are fully understood. DTT TMT member
firm practitioners also participate in major TMT conferences around
the world, capitalizing on the opportunity to deliver speeches and lead
sessions on key topical matters on the minds of today’s TMT executives.

Additionally, DTT TMT member firm practitioners share best practices
through CoE, established to help meet client needs across geographies
and functions. A team of senior TMT member firm partners has
been designated to help enable efficient global coordination and
identification of resources and experts, to respond to complex
global proposals.




                                                                                           3
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Fast facts file




By location                                       Ranked companies represented by location

Taiwan held its lead in contributions to the
fastest-growing technology companies in Asia                          Taiwan                                                                       99

Pacific, with 99 Taiwanese companies making
the 2009 ranking, slightly down from the 112                           China                                                                      97
firms who appeared in 2008.

                                                                        India                                                     71
China made a significant leap into second
place this year, for contributions by location—
97 Chinese firms joined the ranking,                                   Korea                                                 66
compared to 72 in 2008 and 53 in 2007.
                                                                    Australia                                          60


    Top 20                                                       New Zealand                                     51

    China supplied nine companies to the top
    20 ranking this year, followed by Taiwan                           Japan                                46
    with six companies. From newcomer
    sector Green Technology, six companies
                                                                    Malaysia        8
    ranked in the top 20.

                                                                   Singapore        2


                                                                            0                  20      40              60               80          100

                                                                                                      Number of companies




By revenue growth                                 Ranked companies represented by revenue growth

No records were broken this year, but the
top five companies still grew an impressive                            Top 5                                                             8,980%

8,980 percent in average revenue growth
over the past three years, about one third of                         Top 10                                 5,639%
last year’s top five performance rate. Across
all 500 companies, the three-year average
                                                                      Top 50            1,852%
revenue growth rate came in at 361 percent,
about half the rate of last year.
                                                                     Top 100               1,153%


                                                                     Top 500            361%


                                                                                0          2000      4000             6000             8000       10000

                                                                                                    Percentage revenue growth




4
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Ranked companies represented by industry sector                                                                      By sector

                                                                                                                     For the third year in a row, Software
                      Software                                                               163                     outranked all other sectors, with 163 software
                                                                                                                     companies in the top 500 ranking, a climb of
                        Internet                                78                                                   almost 17 percent from 2008. Yet, despite its
                                                                                                                     numbers, no software companies made the
  Semiconductors, Components                                                                                         illustrious top 10 list.
                                                                76
               and Electronics
                                                                                                                     With a total of 78 companies in the ranking,
          Telecommunications /
                                                      49                                                             the Internet sector continues to increase in
                  Networking
                                                                                                                     number, taking second place this year and
      Biotech / Pharmaceutical /                                                                                     boasting the winning company for 2009.
                                                 44
            Medical Equipment
                                                                                                                     With 76 companies, nearly half that of
                                                                                                                     Software, the Semiconductors, Components
       Computers / Peripherals                   41
                                                                                                                     and Electronics sector placed third, down in
                                                                                                                     contributions from 2008.
             Green Technology               28
                                                                                                                     The Green Technology sector, which was
                                                                                                                     added to the industry sector breakdown this
                          Other        15
                                                                                                                     year, welcomed 28 companies, six of which
                                                                                                                     made the top 20 list.
      Media and Entertainment           8


                                   0        20    40       60        80   100   120    140    160        180   200

                                                                 Number of companies




Ranked company revenue breakdown (in USD)                                                                            By revenue category

                                                                                                                     As in previous years, the majority of the
                   Over 1billion 8                                                                                   ranked companies have revenues of less than
                                                                                                                     USD50 million. In 2009, eight companies
                 100m–1billion                                   83                                                  recorded more than USD1 billion in revenue,
                                                                                                                     down from 14 companies in 2008.

                    50m–100m                               63


                     10m–50m                                                                   172


                    Under 10m                                                                      174


                                   0        20    40       60        80   100   120    140    160        180   200

                                                                 Number of companies

                                                                                                                                                                5
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By sector and location

The dominant Software sector saw most of its contributions once again from India (60), followed
by China (31) and Australia (24). Taiwan supplied the most Semiconductors, Components and
Electronics companies (52), as it did in the previous two years. This year, New Zealand (21)
equaled Japan (21) in the number of Internet companies in the ranking, while new industry
sector Green Technology was represented mostly by China (12), Taiwan (8) and Korea (6).
Australia led the contributions for Telecommunications / Networking (16), while Korea supplied
the majority of Computers / Peripherals companies (24).


    Ranked companies by industry and location

                                                                                                              New
                              Australia   China         India        Japan        Korea           Malaysia             Singapore   Taiwan
                                                                                                             Zealand

    Biotech /
    Pharmaceutical /             2         17            3             6             2               0         2          1         11
    Medical Equipment

    Telecommunications /
    Networking                   16         8            4             2            10               0         9          0          0


    Computers / Peripherals      0          7            1             0            24               0         2          0          7


    Internet                     17         9            1            21             4               2         21         0          3

    Semiconductors,
    Components and               0          6            2             2            12               1         1          0         52
    Electronics

    Software                     24        31            60           14             8               5         14         0          7


    Green Technology             0         12            0             1             6               0         0          1          8

    Media and
    Entertainment                0          7            0             0             0               0         1          0          0


    Other                        1          0            0             0             0               0         1          0         11




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Public versus private

The number of private companies in the ranking climbed this year
to 291, a substantial increase on the 220 private companies in the
2008 ranking.


  Public versus private companies in the past three years

                        2009              2008              2007

 Public                 209               280               217

 Private                291               220               283




                                                                                           7
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View from the top:
Interview with Chen Nian,
CEO of Vancl.com




Deloitte: How did your company leverage technology to achieve its            Deloitte: How do you motivate employees and management to realize
rapid growth of 29,577 percent in the past three years?                      your company’s rapid growth?

Chen Nian: The initial ideas for our technology system referenced            Chen Nian: Some people might view Vancl as a mature company, but
the architecture of Amazon’s old technology systems. However,                Vancl has far from completed its start-up journey. During this time,
after a period of practical operation, we recognized the technology          all employees have enjoyed a lot of space to operate in, which has
requirements of online clothing sales were vastly different from the         been motivational in its own right. This will need to change to a more
simple requirements of Internet B2C, and more complicated than               structured environment as we continue to develop. I also expect to put in
B2C marketing. And we saw how, for Vancl, technology influenced              place incentive mechanisms, such as stock options. Moreover, I hope to
processes on and off the Internet. We’ve since adapted our technology        instill a sense of self-accomplishment and the belief in the value of lifelong
model to better fit our operations and our customer experience goals.        benefits among my colleagues, rather than only temporary benefits.


Deloitte: What are the three most important factors for your company         Deloitte: How do you manage the customer relationship?
to realize rapid growth?
                                                                             Chen Nian: We’ve changed the relationship between the traditional
Chen Nian: First, we expect our products to be cost-effective to             garment company and its customer. We’ve abandoned the standard
manufacture and offer customers world-class quality and reasonable           policies that serve the company, rather than the customer, such as not
prices. Second, our marketing and sales must take advantage of the           providing refunds for laundered or label-removed clothing.
efficiency of the Internet and create an online garment market in
China, where none existed before.                                            We seek to develop the customer relationship and, by doing so, realize
                                                                             higher returns over the long term. We introduced a “free carriage”
The third and most important factor is excellent customer experience.        promotion for five months, earlier this year, which imposed enormous
As a brand established on the Internet in a traditional bricks and           pressures on our distribution system, increased operating costs by seven
mortar market, the online customer experience is more important              percent on average and caused our product-return ratio to rise from three
than it is for a typical retail store where, for example, customers try on   to eight percent. As a result, some customers submitted very small orders.
clothing. To meet customers’ needs to test our products, we launched         Still, if we can convince a customer who buys a pair of socks at 10 yuan
a “live try-on” service. This means our deliveries can take more than        to experience the Vancl brand, the actual increased cost is insignificant
half an hour, significantly more than the standard five-minute delivery      compared to the increased brand recognition.
of other types of products.

8
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                                                                           Deloitte: Will Vancl continue to record such impressive growth rates over
                                                                           the next three years? What are the key drivers?
“Some may puzzle about Vancl’s
                                                                           Chen Nian: So far, we’ve only touched the tip of the iceberg in China,
success, but I can tell you that                                           with two to three million buyers out of a total of 300 million netizens. In
                                                                           today’s market in China, even if you sit still with your arms crossed, you’ll
what’s behind our growth is our                                            realize growth. That’s one reason I am confident that with our persistent

strong team.”                                                              efforts and talented team, growth is a definite for Vancl.

                                                                           The other reason is that I expect, within the next three years, there
                                                                           will be a sudden growth surge that is not driven by the company or its
                                                                           advertising, but by the market. The longer a brand name exists, the more
                                                                           credible it becomes. At some point, say in three to five years, the growth
Deloitte: What’s the biggest operational challenge Vancl is currently
                                                                           will suddenly boom as customers accept your brand. Today, if there are
experiencing?
                                                                           10 million items of Vancl-branded clothing worn by two to three million
Chen Nian: People. We are short of talent in all sectors. Fortunately,     consumers, you can expect an immense multiplication in the future. In
I have a team with a long-term view of our potential and a good            truth, it’s difficult to project growth. It’s beyond any sensible calculation.
understanding of our brand and operations. Team is the reason for
our healthy growth in 2008 and it’s why we have become publicly            Deloitte: As CEO, what are the three main objectives you have for the
recognized. Similar companies with similar brands have tried and failed.   next one to three years?
Some may puzzle about Vancl’s success, but I can tell you that what’s
behind our growth is our strong team.                                      Chen Nian: My objectives are quite substantive and real and they all
                                                                           focus on boosting the customer experience. There is always more you
                                                                           can do to bring joyful surprises to your customers when they receive your
Deloitte: How do you manage innovation in Vancl?
                                                                           products, like integrating your customer’s personality into your designs.
Chen Nian: We manage innovation according to requirements. At
Vancl, we attempt a lot of things that have not been tried by others.
Take the fitting system as an example. We looked at existing 3D
products and considered how we could use advanced technology to
show a human body from various angles with unlimited matches. But
in the end, we found the application old-fashioned and simply not
relevant. Now we are attempting an interactive experiment where
users enter data such as height and arm length to dress a human
body. Essentially, if we can implement general B2C technology in these
aspects, we will do some very great things.




“Essentially, if we can implement
general B2C technology in these
aspects, we will do some very
great things.”
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Soaring highest:
The top 10 companies



At the very top of the ranking sit the illustrious 10—those companies who
have powered ahead in the turbulent economic climate to achieve an average
revenue growth of 5,639 percent over three years. Leading the pack is Vancl,
an Internet company from China, with a three-year revenue growth rate of
29,577 percent. This is the third year that the Deloitte Technology Fast 500
Asia Pacific overall winner has hailed from China.
Who are these companies and what do they do? The top 10 answer in their
own words:

 1. Vancl.com
 China’s Vancl—an online clothing retailing company—was founded in 2005 and         CEO            Chen Nian
 is led by founder and CEO Chen Nian, who was also the founder and former
                                                                                    Website        www.vancl.com
 executive vice president of Joyo Amazon.
                                                                                    Year founded   2005
 Vancl has fast become China’s first (online) business-to-consumer brand for
                                                                                    Location       China
 men’s clothing. In 2009, the company continued to expand its product lines by
 entering the women’s clothing market and by marketing footwear.

 Vancl has quickly made itself a familiar name to netizens in China under a
 unique marketing model using online advertisements. The company currently
 has more than 800 employees.




 2. High Power Opto Inc
 High Power Opto Inc is a Taiwan-based company primarily engaged in research,       CEO            Pine Chang
 development, manufacturing and distribution of light-emitting diode (LED) chips
                                                                                    Website        www.hpoled.com.tw
 and wafers, which are distributed globally.
                                                                                    Year founded   2005
 The company provides red light LED, yellow light LED, blue light nitrogen LED
                                                                                    Location       Taiwan
 and green light nitrogen LED wafers and chips. It also provides the relevant
 technology support and after-sale services.

 Its products are used in signs, monitors, lighting devices, automobile lamps and
 hand-held products, among other things.


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3. Xueda Education Technology Co Ltd
Xueda Education Technology Co Ltd, founded in September 2001, is a high-tech         CEO            Xin Jin
company dedicated to serving China’s education services industry with excellent
                                                                                     Website        www.21edu.com
educational resources and advanced information technology.
                                                                                     Year founded   2001
Xueda Education pioneered the automatic match of educational resources via the
                                                                                     Location       China
Internet. It was the first company in the education industry to develop a new and
effective education model, Personalized Private Tutoring Services (PPTS). Fuelled
by advanced technology, Xueda Education based its new personalized tutoring
services on the PPTS platform, which was well received by students and parents.

With more than 130 learning centers in 35 cities across China, Xueda Education
has provided tutoring services to over 300,000 students and helped them enter
their dream schools. Xueda Education has been named “the modern private
school” by CCTV.




4. Gintech Energy Corporation
Gintech Energy Corporation was established in 2005 and has fast become a             CEO            Wen-Yen Pan
leading player in the solar energy industry. As a solar cell producer, it provides
                                                                                     Website        www.gintechenergy.com
state-of-the-art crystalline solar cells to international module manufacturers.
                                                                                     Year founded   2005
Gintech plans to continue expanding its production capacity to achieve greater
                                                                                     Location       Taiwan
economies of scale. The company estimates that total annual production
capacity will exceed one gigawatt by 2011, making Gintech the third largest
solar cell manufacturer in the world.




5. Gree Inc
Gree Inc, headquartered in Tokyo, is an Internet media business engaged in           CEO            Yoshikazu Tanaka
social networking services (SNS), offering users functions such as profiles,
                                                                                     Website        www.gree.co.jp
diaries, communities, photos, mail and more.
                                                                                     Year founded   2004
In addition to basic SNS functions, Gree also provides mobile phone users
                                                                                     Location       Japan
with functions including social games, flash games, fortune-telling, dictionary
services, question-and-answer services, and news and music functions.




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 6. Neo Solar Power Corporation
 Neo Solar Power (NSP) Corporation was founded in December 2005 with a              CEO            Quincy Lin
 vision of providing clean and renewable energy. NSP has developed into a
                                                                                    Website        www.neosolarpower.com
 leading solar cell manufacturer, specializing in research, development and the
 manufacturing of high-efficiency solar cells.                                      Year founded   2005

                                                                                    Location       Taiwan
 The NSP management team is comprised of interdisciplinary experts in
 semiconductors, electronic systems, silicon raw materials, solar cell processing
 and solar energy system engineering.

 As the pioneer of combining semiconductor manufacturing and seasoned solar
 technology development, NSP aims to bring solar energy to the forefront as a
 competitive energy source.



 7. Shanghai ChemPartner Co Ltd
 Founded in 2003, Shanghai ChemPartner Co Ltd is one of China’s leading             CEO            Michael Hui
 contract research organizations, providing chemistry, biology, pharmacology,
                                                                                    Website        www.chempartner.cn
 DMPK (Drug Metabolism and Pharmacokinetics), process R&D, pre-formulation
 and analytical development services to global pharmaceutical and biotech           Year founded   2003
 companies.                                                                         Location       China

 ChemPartner’s key scientific leadership team has experience in top research and
 development organizations in the United States, Canada, Japan and Europe, as
 well as at top R&D organizations in China.

 ChemPartner employs more than 1,200 scientists, of whom approximately 15
 percent hold PhD degrees.



 8. Shenzhen Easou Technology Co Ltd
 Shenzhen Easou Technology Co Ltd, founded in March 2005, is a leading player       CEO            Frank Wang
 in China’s mobile search business. Headquartered in Shenzhen, with an R&D
                                                                                    Website        www.easou.com
 centre in Beijing, it has over 300 employees.
                                                                                    Year founded   2005
 Easou is a leading wireless search service provider that uses today’s most
                                                                                    Location       China
 advanced wireless data applications, powerful technology, intelligent search
 systems and wireless search products.

 The company provides mobile users with high quality and easy-to-use search-
 based information services. It also offers targeted marketing and advertisement
 services to SMEs.


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9. Young Fast Optoelectronics Co Ltd
Young Fast Optoelectronics Co Ltd is one of the leading manufacturers of small      CEO            TJ Lin
to medium-sized touch-panel sensor products, ranging from 1.2 to 12 inches.
                                                                                    Website        www.yfo.com.tw

When Young Fast was established in 2000, all the touch-screen manufacturers         Year founded   1999
of the time focused on large display applications, ignoring the development
                                                                                    Location       Taiwan
potential of small to medium-sized touch screens. Seeing opportunity in this
market, Young Fast was the first to devote its resources and efforts on the
research, mass production and marketing of this emerging technology. As a
result, Young Fast has become one of the dominating technology leaders in this
market, within just eight years.




10. Moreens Co Ltd
Moreens co.,Ltd is a Korea-based company mainly engaged in the manufacture          CEO            Song Gon SUK
and sale of touch panels for mobile phones. The company’s product portfolio
                                                                                    Website        www.moreens.com/v3/kr/
consists of windows all-in-one touch panels, plastic touch panels and glass touch
panels, which are mainly used in mobile phones, digital multimedia broadcasting     Year founded   2003
(DMB) systems and navigation equipment.
                                                                                    Location       South Korea




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Deloitte Technology Fast 500
Asia Pacific 2009 Ranking



The 500 companies of the Technology Fast 500
Asia Pacific 2009 ranking achieved an average
361 percent revenue growth over the past             Soar high with the Deloitte Technology Fast 500
three years, about half the growth rate of last
year. Vancl, the winning Internet company from       Asia Pacific Ranking—a global platform for
China, led the pack with a remarkable growth
rate of 29,577 percent.
                                                     measuring, recognizing and analyzing the growth
Again this year, the Software sector dominated
                                                     of the fastest-growing technology companies in
the ranking with 163 companies. Internet
companies moved into second place with 78
                                                     the region. Five hundred companies are ranked
companies, two of which placed in the top 10,        according to revenue growth rates over the past
while the Semiconductors, Components and
Electronics sector contributed 76 companies to       three years.
rank third by sector representation.



How does the DTT TMT Industry Group determine the winners?

This ranking is compiled from nominations and public company database research conducted by Deloitte. Technology Fast 500 Asia Pacific award
winners for 2009 are selected based on percentage fiscal year revenue growth over three years. In order to be eligible for Technology Fast 500
recognition, companies must own proprietary intellectual property or proprietary technology that contributes to a significant portion of the company’s
operating revenues. Technology Fast 500 Asia Pacific award eligibility requirements also include base-year operating revenues of at least USD50,000
and companies must be in business for a minimum of three years.


                                                                                                                                         3 year %
 Rank      Company name                                                 Location        Industry sector
                                                                                                                                         growth
     1     Vancl (Beijing) Technology Co Ltd                            China           Internet                                         29,576.860
     2     High Power Opto Inc                                          Taiwan          Semiconductors, Components and Electronics        7,239.950
     3     Xueda Education Technology Co Ltd                            China           Internet                                          2,738.339
     4     Gintech Energy Corp                                          Taiwan          Green Technology                                  2,708.587
     5     Gree Inc                                                     Japan           Telecommunications / Networking                   2,636.107
     6     Neo Solar Power Corp                                         Taiwan          Green Technology                                  2,576.455
     7     Shanghai ChemPartner Co Ltd                                  China           Biotech / Pharmaceutical / Medical Equipment      2,448.326
     8     Shenzhen Easou Technology Co Ltd                             China           Media and Entertainment                           2,401.591
     9     Young Fast Optoelectronics Co Ltd                            Taiwan          Semiconductors, Components and Electronics        2,055.981
     10    Moreens Co Ltd                                               South Korea     Computers / Peripherals                           2,002.455
     11    Solar Gate Technology Co Ltd                                 Taiwan          Green Technology                                  1,850.150
     12    Enzen Global Solutions Pvt Ltd                               India           Software                                          1,846.837
     13    Heguang International Ltd                                    China           Internet                                          1,771.021
     14    Emantra Pty Ltd                                              Australia       Internet                                          1,756.287
           Beijing Biaoqi Century Data Communication Technology
     15                                                                 China           Software                                          1,366.685
           Co Ltd
     16    nSynergy Pty Ltd                                             Australia       Software                                          1,221.587

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                                                                                                                         3 year %
Rank    Company name                                        Location      Industry sector
                                                                                                                         growth
 17     Solartech Energy Corp                               Taiwan        Green Technology                                1,097.941
 18     China Talent Group Ltd                              China         Internet                                        1,056.783
 19     Canadian Solar Inc                                  China         Green Technology                                1,033.548
 20     Universtar Science & Technology (Shenzhen) Co Ltd   China         Green Technology                                1,011.642
 21     LatentView Analytics Pvt Ltd                        India         Software                                         987.015
 22     ChipSip Technology Co Ltd                           Taiwan        Semiconductors, Components and Electronics       889.928
 23     Kuliza Technologies Pvt Ltd                         India         Software                                         889.630
 24     Utilibill Pty Ltd                                   Australia     Software                                         886.942
 25     Mint Wireless Ltd                                   Australia     Telecommunications / Networking                  885.414
 26     L&F Material Co Ltd                                 South Korea   Computers / Peripherals                          838.089
 27     NextWindow Ltd                                      New Zealand   Computers / Peripherals                          828.839
 28     Ku6.com (Cool 6 Network)                            China         Internet                                         826.810
 29     Oasys Solution Inc                                  Japan         Green Technology                                 812.878
 30     JF Microtechnology Sdn Bhd                          Malaysia      Semiconductors, Components and Electronics       808.685
 31     ShareHope Medicine Co Ltd                           Taiwan        Biotech / Pharmaceutical / Medical Equipment     796.611
 32     China Finance Online Co Ltd                         China         Internet                                         788.780
 33     Devices World Sdn Bhd                               Malaysia      Internet                                         759.062
 34     China Resources Powtech (Shanghai) Co Ltd           China         Semiconductors, Components and Electronics       738.531
 35     Raydium Semiconductor Corp                          Taiwan        Semiconductors, Components and Electronics       731.395
 36     Trina Solar Ltd                                     China         Green Technology                                 726.553
 37     Telesmart Ltd                                       New Zealand   Telecommunications / Networking                  725.813
 38     Union Mobile Pay Ltd                                China         Software                                         722.564
 39     China Information Security Technology Inc           China         Software                                         721.697
 40     Sonar6 Ltd                                          New Zealand   Internet                                         703.800
 41     Wondershare Software Co Ltd                         China         Software                                         702.066
 42     Ocimum Biosolutions (India) Ltd                     India         Biotech / Pharmaceutical / Medical Equipment     663.433
 43     Cambridge Technology Enterprises Ltd                India         Software                                         662.051
 44     Eka Software Solutions Pvt Ltd                      India         Software                                         631.000
45      HappiGo (Happy Shopping Co Ltd)                     China         Media and Entertainment                          596.077
46      Stack Devices Corp                                  Taiwan        Semiconductors, Components and Electronics       589.642
47      Wuxi Qiaolian (Group) Inc                           China         Green Technology                                 586.535
48      Dalian Port Logistics Technology Co Ltd             China         Software                                         573.973
49      Grandhope Biotech Co Ltd                            China         Biotech / Pharmaceutical / Medical Equipment     565.398
50      TracMap NZ Ltd                                      New Zealand   Computers / Peripherals                          560.813
51      ProMD Bitoech Co Ltd                                Taiwan        Biotech / Pharmaceutical / Medical Equipment     559.269
52      Krawler Information Systems Pvt Ltd                 India         Software                                         553.774
53      Yashco Systems Inc                                  India         Software                                         552.165
54      Jiangyin Jetion Science and Technology Co Ltd       China         Green Technology                                 550.055
55      Ramp Holdings Pty Ltd                               Australia     Software                                         548.261
56      PhytoHealth Corp                                    Taiwan        Biotech / Pharmaceutical / Medical Equipment     544.597
57      ATMU Inc                                            China         Software                                         533.158
58      Beijing 99view Technology Ltd                       China         Media and Entertainment                          520.552
59      Ansarada Pty Ltd                                    Australia     Internet                                         516.098
60      UPEC Electronic Corp                                Taiwan        Other                                            510.976
61      InHand Electronics Inc                              China         Telecommunications / Networking                  508.711
62      Bictown Corp Inc                                    Japan         Internet                                         500.160
63      Adrenalin Media Pty Ltd                             Australia     Internet                                         498.835
64      O-Rid Co Ltd                                        Japan         Software                                         495.862
65      Optis Co Ltd                                        South Korea   Computers / Peripherals                          493.695
66      Gamma Optical Co Ltd                                Taiwan        Semiconductors, Components and Electronics       493.191


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                                                                                                                                    3 year %
 Rank       Company name                                               Location      Industry sector
                                                                                                                                    growth
     67     Beijing Sound-Puhua Tech Co Ltd                            China         Green Technology                                 480.602
     68     Tella Inc                                                  Japan         Biotech / Pharmaceutical / Medical Equipment     479.935
     69     Fast Technologies Inc                                      Taiwan        Other                                            476.721
     70     Fractalist Inc                                             Japan         Internet                                         470.029
     71     Beijing Fastweb Technology Co Ltd                          China         Internet                                         468.280
     72     Azion Co Ltd                                               Taiwan        Software                                         457.089
     73     Cookpad Inc                                                Japan         Internet                                         457.070
     74     Shenzhen Launch Digital Technology Co Ltd                  China         Semiconductors, Components and Electronics       456.000
     75     One Click Solutions Pty Ltd                                Australia     Software                                         448.319
     76     Novatium Solutions (P) Ltd                                 India         Computers / Peripherals                          446.063
     77     Bleum Inc                                                  China         Software                                         442.992
     78     One97 Communications Pvt Ltd                               India         Software                                         435.347
     79     Star World Technology Co Ltd                               Taiwan        Semiconductors, Components and Electronics       430.770
     80     Geneious (Biomatters Ltd)                                  New Zealand   Software                                         430.177
     81     Sinfor Technology Co Ltd                                   China         Telecommunications / Networking                  428.447
     82     Full Speed Inc                                             Japan         Internet                                         426.141
     83     NextBit Computing Pvt Ltd                                  India         Semiconductors, Components and Electronics       425.592
     84     Beijing LeTV Mobile Media & Technology Co Ltd              China         Media and Entertainment                          422.545
     85     ASR Ltd                                                    New Zealand   Software                                         416.648
     86     Microqual Techno Pvt Ltd                                   India         Telecommunications / Networking                  416.554
     87     Elements Innovation Co Ltd                                 Taiwan        Semiconductors, Components and Electronics       413.358
     88     China TransInfo Technology Corp                            China         Software                                         409.229
     89     Ideavate Solutions Pvt Ltd                                 India         Software                                         405.747
     90     M2 Telecommunications Group Ltd                            Australia     Telecommunications / Networking                  393.791
     91     E-Ton Solar Tech Co Ltd                                    Taiwan        Green Technology                                 392.742
     92     Revolution IT Pty Ltd                                      Australia     Software                                         390.367
     93     Alliance Material Co Ltd                                   Taiwan        Semiconductors, Components and Electronics       387.095
     94     AMG Agency Ltd                                             New Zealand   Media and Entertainment                          385.421
     95     Yingli Green Energy Holding Co Ltd                         China         Green Technology                                 379.656
     96     Kreateevee Sdn Bhd                                         Malaysia      Software                                         373.491
     97     Vtion Technology (China) Co Ltd                            China         Software                                         363.320
     98     WuXi AppTec Co Ltd                                         China         Biotech / Pharmaceutical / Medical Equipment     362.400
     99     Assurity Consulting Ltd                                    New Zealand   Software                                         355.283
     100    VanceInfo Technologies Inc                                 China         Software                                         353.389
     101    MacromatiX Australia Pty Ltd                               Australia     Software                                         352.433
     102    Lintec Korea Inc                                           South Korea   Semiconductors, Components and Electronics       351.130
     103    Beijing Penghua Xintong Network Technology Service Co Ltd China          Telecommunications / Networking                  345.590
     104    Sinovac Biotech Co Ltd                                     China         Biotech / Pharmaceutical / Medical Equipment     342.920
     105    ILI Technology Corp                                        Taiwan        Semiconductors, Components and Electronics       337.162
     106    Green Energy Technology Inc                                Taiwan        Green Technology                                 336.688
     107    EverFirst Wisefund Technology Co Ltd                       China         Biotech / Pharmaceutical / Medical Equipment     331.013
     108    Union Cable TV Co Ltd                                      Taiwan        Semiconductors, Components and Electronics       330.967
     109    Strand Life Sciences Pvt Ltd                               India         Biotech / Pharmaceutical / Medical Equipment     324.496
     110    Supa Technology Co Ltd                                     Taiwan        Internet                                         322.320
     111    Suntech Power Holdings Co Ltd                              China         Green Technology                                 321.172
     112    iSoftStone Information Technology (Group) Co Ltd           China         Software                                         318.736
     113    Adicon Clinical Laboratories Inc                           China         Biotech / Pharmaceutical / Medical Equipment     318.040
     114    Shanghai Chaori Solar Energy Science & Technology Co Ltd   China         Green Technology                                 316.583
     115    Ateam Inc                                                  Japan         Software                                         313.966
     116    OncoTherapy Science Inc                                    Japan         Biotech / Pharmaceutical / Medical Equipment     313.625


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                                                                                                                              3 year %
Rank    Company name                                             Location      Industry sector
                                                                                                                              growth
117     Platinum Safety Ltd                                      New Zealand   Software                                         312.493
118     Outsell                                                  China         Biotech / Pharmaceutical / Medical Equipment     312.279
119     LGS Global Ltd                                           India         Software                                         311.073
120     Nutrichem Laboratory Co Ltd                              China         Biotech / Pharmaceutical / Medical Equipment     307.595
121     Outpost Central Ltd                                      New Zealand   Internet                                         305.604
122     NetComm Ltd                                              Australia     Telecommunications / Networking                  299.426
123     Thomas Duryea Consulting Pty Ltd                         Australia     Other                                            295.981
124     VeriSilicon Holdings Co Ltd                              China         Semiconductors, Components and Electronics       291.878
125     CTI                                                      China         Software                                         290.603
126     CogState Ltd                                             Australia     Software                                         290.323
127     Bison Electronics Inc                                    Taiwan        Semiconductors, Components and Electronics       288.888
128     Vitzrocell Co Ltd                                        South Korea   Computers / Peripherals                          285.983
129     iPanel CMS (Robust Network Co Ltd)                       China         Software                                         284.441
130     Delsolar Co Ltd                                          Taiwan        Green Technology                                 283.854
131     Dr Chip Biotechnology Inc                                Taiwan        Biotech / Pharmaceutical / Medical Equipment     283.021
132     Geodesic Ltd                                             India         Software                                         282.803
133     Get Price Pty Ltd                                        Australia     Internet                                         279.099
134     Viteknologies Pty Ltd                                    Australia     Internet                                         278.238
135     ChinaSoft International Ltd                              China         Software                                         276.822
136     Ultr@power                                               China         Software                                         276.797
137     Tong Ren Tang Group Co Ltd                               China         Biotech / Pharmaceutical / Medical Equipment     275.599
138     Trais Co Ltd                                             South Korea   Semiconductors, Components and Electronics       274.311
139     Farmside Ltd                                             New Zealand   Telecommunications / Networking                  274.251
140     TaiDoc Technology Corp                                   Taiwan        Biotech / Pharmaceutical / Medical Equipment     274.148
141     Consim Info Pvt Ltd                                      India         Internet                                         273.092
142     ECS Telecom Co Ltd                                       South Korea   Internet                                         271.350
143     Entire Technology Co Ltd                                 Taiwan        Semiconductors, Components and Electronics       270.110
144     San Chih Semiconductor Co Ltd                            Taiwan        Semiconductors, Components and Electronics       269.852
145     Sundia MediTech Co Ltd                                   China         Biotech / Pharmaceutical / Medical Equipment     268.717
146     SuperMap Software Co Ltd                                 China         Software                                         268.301
147     Futrix Ltd                                               New Zealand   Software                                         266.840
148     Shanghai Hotmed Sciences Co Ltd                          China         Biotech / Pharmaceutical / Medical Equipment     266.312
149     Salmat Interactive Pty Ltd                               Australia     Telecommunications / Networking                  266.038
150     Cellestis Ltd                                            Australia     Biotech / Pharmaceutical / Medical Equipment     265.913
151     Tat Fook (Shenzhen) Technology Co Ltd                    China         Telecommunications / Networking                  265.220
152     Riteq Pty Ltd                                            Australia     Software                                         265.013
153     Distribution Central Pty Ltd                             Australia     Software                                         263.160
154     A8 Digital Music Holdings Ltd                            China         Media and Entertainment                          263.032
155     Activate Technologies Ltd                                New Zealand   Software                                         262.652
156     Paladion Networks Pvt Ltd                                India         Software                                         260.945
157     Instra Corp                                              Australia     Internet                                         260.448
158     21ViaNet (China) Inc                                     China         Telecommunications / Networking                  259.190
159     Brennan VDI Pty Ltd                                      Australia     Software                                         256.799
160     China Business News (Shanghai First Finance Media Ltd)   China         Media and Entertainment                          256.303
161     Tencent Inc                                              China         Internet                                         255.479
162     Bionime Corp                                             Taiwan        Biotech / Pharmaceutical / Medical Equipment     254.380
163     Enztec Ltd                                               New Zealand   Biotech / Pharmaceutical / Medical Equipment     253.108
164     3i Infotech Ltd                                          India         Software                                         248.788
165     S7 Software Solutions Pvt Ltd                            India         Software                                         248.335
166     Beyondsoft (Beijing) Co Ltd                              China         Software                                         247.982


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                                                                                                                              3 year %
 Rank       Company name                                         Location      Industry sector
                                                                                                                              growth
     167    Biosensors International Group Ltd                   Singapore     Biotech / Pharmaceutical / Medical Equipment     246.270
     168    Beijing TeamSun Technology Co ltd                    China         Software                                         246.229
     169    SBR Information Inc                                  China         Software                                         245.050
     170    Geong International Ltd                              China         Software                                         243.322
     171    My Net Fone Australia Pty Ltd                        Australia     Telecommunications / Networking                  242.354
     172    NanoCarrier Co Ltd                                   Japan         Biotech / Pharmaceutical / Medical Equipment     241.920
     173    Kavveri Telecom Products Ltd                         India         Telecommunications / Networking                  237.074
     174    Light House Technology Co Ltd                        Taiwan        Semiconductors, Components and Electronics       235.878
     175    Aeria Inc                                            Japan         Internet                                         233.930
     176    xQuant Co Ltd                                        China         Software                                         233.716
     177    Linical Co Ltd                                       Japan         Biotech / Pharmaceutical / Medical Equipment     231.879
     178    ICSA (India) Ltd                                     India         Semiconductors, Components and Electronics       230.977
     179    Beijing Shiji Information Technology Co Ltd          China         Software                                         229.266
     180    Beijing NineStar Technology Joint-Stock Co Ltd       China         Software                                         229.211
     181    Systex Corp                                          Taiwan        Software                                         228.661
     182    Fractalist China Inc                                 China         Media and Entertainment                          228.094
     183    RCG Holdings Ltd                                     China         Semiconductors, Components and Electronics       226.319
     184    Landray Managment Consulting Support System Co Ltd   China         Software                                         225.302
     185    Torpedo7 Ltd                                         New Zealand   Internet                                         224.550
     186    Eyemagnet Ltd                                        New Zealand   Internet                                         224.021
     187    Tovis Co Ltd                                         South Korea   Computers / Peripherals                          223.171
     188    BrainPad Inc                                         Japan         Software                                         222.405
     189    Myungmin System Inc                                  South Korea   Semiconductors, Components and Electronics       220.397
     190    Phoeton Corp                                         Japan         Semiconductors, Components and Electronics       219.862
     191    Sintronic Technology Inc                             Taiwan        Semiconductors, Components and Electronics       218.891
     192    E-Web Marketing Pty Ltd                              Australia     Internet                                         218.197
     193    Lepu Medical Technology (Beijing) Co Ltd             China         Biotech / Pharmaceutical / Medical Equipment     217.960
     194    CS-Vue (Resource Management Technology Group Ltd)    New Zealand   Internet                                         217.774
     195    Velocity Networks Ltd                                New Zealand   Telecommunications / Networking                  217.682
     196    Pera Global Holdings Ltd                             China         Software                                         217.289
     197    RateGain IT Solutions Pvt Ltd                        India         Software                                         216.938
     198    LB Semicon Inc                                       South Korea   Semiconductors, Components and Electronics       216.898
     199    Ways Technical Corp                                  Taiwan        Other                                            216.463
     200    Viocorp International Pty Ltd                        Australia     Internet                                         212.847
     201    Initio Corp                                          Taiwan        Semiconductors, Components and Electronics       212.285
     202    Proteans Software Solutions Pvt Ltd                  India         Software                                         212.228
     203    IPscape Pty Ltd                                      Australia     Telecommunications / Networking                  212.105
     204    VroomVroomVroom Pty Ltd                              Australia     Internet                                         211.176
     205    Tanla Solutions Ltd                                  India         Software                                         210.000
     206    Catch Ltd                                            New Zealand   Other                                            209.849
     207    Lockon Co Ltd                                        Japan         Software                                         209.559
     208    Harbinger Systems Pvt Ltd                            India         Software                                         208.471
     209    Dahua Technology Co Ltd                              China         Computers / Peripherals                          206.968
     210    Tejas Networks Ltd                                   India         Telecommunications / Networking                  205.827
     211    OnMobile Global Ltd                                  India         Software                                         205.596
     212    Newmax Technology Co Ltd                             Taiwan        Semiconductors, Components and Electronics       204.581
     213    Techpool Bio-Pharma Co Ltd                           China         Biotech / Pharmaceutical / Medical Equipment     204.389
     214    TigerSpike Pty Ltd                                   Australia     Telecommunications / Networking                  203.994
     215    Pony Testing International Group                     China         Biotech / Pharmaceutical / Medical Equipment     203.658
     216    Sense of Security Pty Ltd                            Australia     Internet                                         202.359


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                                                                                                                          3 year %
Rank    Company name                                         Location      Industry sector
                                                                                                                          growth
217     Observatory Crest Ltd                                New Zealand   Telecommunications / Networking                  202.257
218     Shenzhen Sunlord Electronics Co Ltd                  China         Semiconductors, Components and Electronics       201.562
219     Maction Technologies Inc                             Taiwan        Software                                         200.905
220     Manthan Software Services Pvt Ltd                    India         Software                                         200.493
221     Hinduja Global Solutions Ltd                         India         Software                                         200.422
222     CADgile Pty                                          Australia     Software                                         200.246
223     Glodyne Technoserve Ltd                              India         Software                                         198.576
224     Vision 6 Pty Ltd                                     Australia     Software                                         196.927
225     Telemetry Research Ltd                               New Zealand   Biotech / Pharmaceutical / Medical Equipment     196.572
226     Beijing Origin Water Technology Co                   China         Green Technology                                 194.104
227     pcPhase Corp                                         Japan         Software                                         193.820
228     Irisa ID Co Ltd                                      South Korea   Computers / Peripherals                          193.512
229     Mobile Mentor Ltd                                    New Zealand   Telecommunications / Networking                  192.475
230     RimuHosting Ltd                                      New Zealand   Internet                                         191.562
231     UniData Communication Systems Inc                    South Korea   Telecommunications / Networking                  191.236
232     Beijing DHC Digital Technology Co Ltd                China         Computers / Peripherals                          191.119
233     Mindray Medical International Ltd                    China         Biotech / Pharmaceutical / Medical Equipment     190.763
234     Crucialtec Co Ltd                                    South Korea   Computers / Peripherals                          190.672
235     SilverStripe Ltd                                     New Zealand   Internet                                         190.530
236     IP Payments Pty Ltd                                  Australia     Software                                         190.135
237     SMX Ltd                                              New Zealand   Software                                         189.524
238     Quinntessential Marketing Consulting Pty Ltd         Australia     Internet                                         188.964
239     ProjectCentre.net (Cadx Pty Ltd)                     Australia     Software                                         188.708
240     AVG (AU/NZ) Pty Ltd                                  Australia     Software                                         188.621
241     ispONE Pty Ltd                                       Australia     Telecommunications / Networking                  188.313
242     Indusface Consulting Pvt Ltd                         India         Software                                         183.929
243     Join Well Technology Co Ltd                          Taiwan        Semiconductors, Components and Electronics       183.257
244     Camson Bio Technologies Ltd                          India         Biotech / Pharmaceutical / Medical Equipment     182.988
245     Mindteck (India) Ltd                                 India         Software                                         182.817
246     Golden Biotechnology Corp                            Taiwan        Biotech / Pharmaceutical / Medical Equipment     182.651
247     Intelenet Global Services Pvt Ltd                    India         Software                                         182.511
248     G-Cube Solutions (G-Cube Webwide Software Pvt Ltd)   India         Software                                         182.057
249     Union Microsystems Inc                               China         Telecommunications / Networking                  181.926
250     Gio Optoelectronics Corp                             Taiwan        Semiconductors, Components and Electronics       181.796
251     Digital Island Ltd                                   New Zealand   Telecommunications / Networking                  179.478
252     Motech Industries Inc                                Taiwan        Green Technology                                 178.199
253     Mildex Optical Inc                                   Taiwan        Semiconductors, Components and Electronics       177.861
254     SBI Net Systems Co Ltd                               Japan         Software                                         177.294
255     NeoFidelity Inc                                      South Korea   Computers / Peripherals                          176.785
256     Global Unichip Corp                                  Taiwan        Semiconductors, Components and Electronics       176.355
257     Srishti Software Applications Pvt Ltd                India         Software                                         175.819
258     E Square Technologies Co Ltd                         South Korea   Green Technology                                 174.781
259     Atlassian Pty Ltd                                    Australia     Software                                         174.653
260     MessageMedia NZ Ltd                                  Australia     Telecommunications / Networking                  174.479
261     Unitel High Technology Corp                          Taiwan        Semiconductors, Components and Electronics       172.909
262     Insyde Software Corp                                 Taiwan        Software                                         171.115
263     Bsmart Technology Sdn Bhd                            Malaysia      Software                                         169.760
264     AurionPro Solutions Ltd                              India         Software                                         168.231
265     Beijing Join-Cheer Software Co Ltd                   China         Software                                         167.949
266     Universal Microwave Technology Inc                   Taiwan        Internet                                         167.354
267     DeNA Co Ltd                                          Japan         Internet                                         165.178
                                                                                                                                     19
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                                                                                                                                     3 year %
 Rank       Company name                                                Location      Industry sector
                                                                                                                                     growth
     268    Seesaa Inc                                                  Japan         Internet                                         164.678
     269    Sinosoft Technology Plc                                     China         Software                                         164.218
     270    Rexor Co Ltd                                                South Korea   Green Technology                                 162.912
     271    Harbinger Knowledge Products Pvt Ltd                        India         Software                                         161.667
     272    InfoSoft Global Pvt Ltd                                     India         Software                                         160.657
     273    China High Precision Automation Group Ltd                   China         Computers / Peripherals                          159.248
     274    Runge Ltd                                                   Australia     Software                                         159.051
     275    MIA Technologies Inc                                        Australia     Telecommunications / Networking                  158.370
     276    Symbio Networks Pty Ltd                                     Australia     Telecommunications / Networking                  157.276
     277    China Wireless Technologies Ltd                             China         Telecommunications / Networking                  157.155
     278    Inovia Holdings Pty Ltd                                     Australia     Internet                                         156.528
     279    e-Channel Online Pty Ltd                                    Australia     Software                                         155.473
     280    NeoPhotonics Corp                                           China         Telecommunications / Networking                  154.909
     281    BlueStar SecuTech Inc                                       China         Software                                         154.150
     282    Prithvi Information Solutions Ltd                           India         Software                                         154.142
     283    Sobha Renaissance Information Technology Pvt Ltd            India         Software                                         153.851
     284    ITX Security Co Ltd                                         South Korea   Computers / Peripherals                          153.653
     285    CVC Technologies Inc                                        Taiwan        Biotech / Pharmaceutical / Medical Equipment     153.617
     286    Carry Technology Co Ltd                                     Taiwan        Computers / Peripherals                          153.436
     287    UVAT Technology Co Ltd                                      Taiwan        Other                                            151.933
     288    Drecom Co Ltd                                               Japan         Internet                                         151.560
     289    Argosy Research Inc                                         Taiwan        Computers / Peripherals                          151.439
     290    Kuen Chaang Uppertech Corp                                  Taiwan        Other                                            151.197
     291    QuEST (Quality Engineering & Software Technologies Pvt Ltd) India         Software                                         150.888
     292    Golden Meditech Co Ltd                                      China         Biotech / Pharmaceutical / Medical Equipment     150.319
     293    BookIt Ltd                                                  New Zealand   Internet                                         149.770
     294    AniPark Co Ltd                                              South Korea   Software                                         148.759
     295    Wellnet Corp                                                Japan         Internet                                         148.370
     296    RT Outsourcing Services Ltd                                 India         Software                                         148.000
     297    Raccoon Co Ltd                                              Japan         Internet                                         147.367
     298    OzForex Pty Ltd                                             Australia     Internet                                         145.878
     299    Bahwan CyberTek Pvt Ltd                                     India         Software                                         145.703
     300    DaouXilicon Inc                                             South Korea   Computers / Peripherals                          144.476
     301    NHN Games Corp                                              South Korea   Software                                         143.684
     302    Gala Inc                                                    Japan         Internet                                         141.902
     303    Tarena Technologies Inc                                     China         Computers / Peripherals                          141.534
     304    KnJ Co Ltd                                                  South Korea   Semiconductors, Components and Electronics       141.206
     305    UEPI                                                        China         Green Technology                                 140.740
     306    Emendo Ltd                                                  New Zealand   Software                                         138.960
     307    Sino-American Silicon Products Inc                          Taiwan        Semiconductors, Components and Electronics       138.591
     308    Chen Full International Co Ltd                              Taiwan        Other                                            138.534
     309    Wafer Works Corp                                            Taiwan        Semiconductors, Components and Electronics       138.415
     310    Sirtex Medical Ltd                                          Australia     Biotech / Pharmaceutical / Medical Equipment     138.103
     311    Fifth Generation Technologes India (P) Ltd                  India         Software                                         137.975
     312    Leap Legal Software Pty Ltd                                 Australia     Software                                         137.259
     313    Wooriro Optical Telecom Co Ltd                              South Korea   Telecommunications / Networking                  137.116
     314    WooriNet Inc                                                South Korea   Telecommunications / Networking                  136.324
     315    Western Superconducting Technologies Co Ltd                 China         Semiconductors, Components and Electronics       135.192
     316    United Electronics Co Ltd                                   China         Computers / Peripherals                          134.169




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                                                                                                                3 year %
Rank    Company name                               Location      Industry sector
                                                                                                                growth
317     BrickRed Technologies Pvt Ltd              India         Software                                         134.123
318     Boost New Media Ltd                        New Zealand   Internet                                         133.747
319     AbsolutData Research & Analytics Pvt Ltd   India         Software                                         132.212
320     Cormax Taiwan Corp                         Taiwan        Biotech / Pharmaceutical / Medical Equipment     131.776
321     Korea Hosiden Electronics Co Ltd           South Korea   Semiconductors, Components and Electronics       131.416
322     Currency Online Ltd                        New Zealand   Internet                                         130.747
323     Genesis Photonics Inc                      Taiwan        Semiconductors, Components and Electronics       129.942
324     Mediscience Planning Inc                   Japan         Biotech / Pharmaceutical / Medical Equipment     129.340
325     Prosperity Dielectrics Co Ltd              Taiwan        Semiconductors, Components and Electronics       127.539
326     Web Drive Ltd                              New Zealand   Internet                                         126.427
327     Digital Hearts Co Ltd                      Japan         Software                                         125.299
328     Mototech Inc                               Taiwan        Internet                                         124.854
329     SLI Systems Inc                            New Zealand   Internet                                         124.721
330     TM Technology Inc                          Taiwan        Semiconductors, Components and Electronics       124.620
331     Airtec System Co Ltd                       South Korea   Green Technology                                 124.165
332     Skymedi Corp                               Taiwan        Semiconductors, Components and Electronics       124.069
333     51Job Inc                                  China         Internet                                         123.295
334     Doosung Industrial Co Ltd                  South Korea   Computers / Peripherals                          123.053
335     QuieTek Corp                               Taiwan        Other                                            122.731
336     MicroPort Scientific Corp                  China         Biotech / Pharmaceutical / Medical Equipment     121.647
337     Microbio Co Ltd                            Taiwan        Biotech / Pharmaceutical / Medical Equipment     121.392
338     Snap Internet Ltd                          New Zealand   Internet                                         121.315
339     Omnitech InfoSolutions Ltd                 India         Software                                         120.896
340     Chernan Technology Co Ltd                  Taiwan        Semiconductors, Components and Electronics       119.366
341     Access Testing Pty Ltd                     Australia     Telecommunications / Networking                  118.330
342     Connexionz Ltd                             New Zealand   Software                                         117.668
343     Aconex Pty Ltd                             Australia     Internet                                         117.651
344     FreeBit Co Ltd                             Japan         Internet                                         117.457
345     I-Freek Co Inc                             Japan         Telecommunications / Networking                  116.641
346     Chillisoft Ltd                             New Zealand   Software                                         116.410
347     Linco Technology Co Ltd                    Taiwan        Semiconductors, Components and Electronics       116.097
348     Micro Technologies (India) Ltd             India         Software                                         116.030
349     Sunline                                    China         Software                                         115.883
350     Iris Corp Bhd                              Malaysia      Software                                         115.616
351     IDimension MSC Sdn Bhd                     Malaysia      Software                                         115.445
352     China TravelSky Holding Co                 China         Software                                         115.335
353     C-net Co Ltd                               South Korea   Semiconductors, Components and Electronics       115.243
354     Maveric Systems Ltd                        India         Software                                         114.657
355     Amtran Technology Co Ltd                   Taiwan        Semiconductors, Components and Electronics       114.424
356     Abnova (Taiwan) Corp                       Taiwan        Biotech / Pharmaceutical / Medical Equipment     114.376
357     Talentica Software (I) Pvt Ltd             India         Software                                         114.267
358     Primeworks Corp                            Japan         Software                                         113.959
359     Mobile Tracking & Data Pty Ltd             Australia     Telecommunications / Networking                  113.814
360     Avalue Technology Inc                      Taiwan        Computers / Peripherals                          113.787
361     Nga.net Pty Ltd                            Australia     Software                                         113.645
362     Webjet Ltd                                 Australia     Internet                                         112.794
363     MetricStream Inc                           India         Software                                         112.397
364     Paru Co Ltd                                South Korea   Green Technology                                 112.380
365     PanJit International Inc                   Taiwan        Semiconductors, Components and Electronics       112.254
366     Buzz Channel Ltd                           New Zealand   Internet                                         111.594


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                                                                                                                       3 year %
 Rank       Company name                                    Location      Industry sector
                                                                                                                       growth
     367    Ant Precision Industry Co Ltd                   Taiwan        Semiconductors, Components and Electronics     111.075
     368    Digital Stream Technology Inc                   South Korea   Internet                                       110.932
     369    UBIC Inc                                        Japan         Internet                                       110.900
     370    Exa Bytes Network Sdn Bhd                       Malaysia      Internet                                       110.712
     371    iQ Toys Ltd                                     New Zealand   Internet                                       110.591
     372    Voltage Inc                                     Japan         Software                                       109.774
     373    MindTree Ltd                                    India         Software                                       109.615
     374    Ace Digitech Co Ltd                             South Korea   Computers / Peripherals                        109.423
     375    FiBest Ltd                                      Japan         Semiconductors, Components and Electronics     109.265
     376    Clevo Co                                        Taiwan        Computers / Peripherals                        109.218
     377    Zeald Ltd                                       New Zealand   Internet                                       109.101
     378    Insprit Inc                                     South Korea   Telecommunications / Networking                108.975
     379    Suprema Inc                                     South Korea   Computers / Peripherals                        108.876
     380    Teletron Inc                                    South Korea   Telecommunications / Networking                108.822
     381    E-Cmos Corp                                     Taiwan        Semiconductors, Components and Electronics     108.727
     382    Future Focus Infotech Pvt Ltd                   India         Software                                       108.192
     383    Dynapack International Technology Corp          Taiwan        Computers / Peripherals                        108.079
     384    Thintech Material Technology Co Ltd             Taiwan        Semiconductors, Components and Electronics     106.656
     385    AVY Precision Technology Inc                    Taiwan        Semiconductors, Components and Electronics     105.328
     386    Nex Display Technology Co Ltd                   South Korea   Semiconductors, Components and Electronics     105.017
     387    Mitake Information Corp                         Taiwan        Semiconductors, Components and Electronics     104.906
     388    Cyberpower Systems Inc                          Taiwan        Other                                          104.738
     389    Direct Payment Solutions Ltd                    New Zealand   Telecommunications / Networking                104.446
     390    Speedwell eBusiness Solutions Pty Ltd           Australia     Internet                                       104.368
     391    AussiePay / ePayroll                            Australia     Software                                       103.711
     392    NHN Services Co Ltd                             South Korea   Internet                                       103.688
     393    Leo Systems Inc                                 Taiwan        Software                                       103.110
     394    Cinlan Tech                                     China         Software                                       102.765
     395    Ferret Software Ltd                             New Zealand   Software                                       102.729
     396    Foxconn Technology Co Ltd                       Taiwan        Other                                          102.501
     397    Inteliment Technologies (India) Pvt Ltd         India         Software                                       102.083
     398    Netcat.biz Pty Ltd                              Australia     Software                                       102.017
     399    Aura Interactive Pty Ltd                        Australia     Telecommunications / Networking                101.710
     400    Korea Eleccom Co Ltd                            South Korea   Telecommunications / Networking                101.624
     401    Wistron Corp                                    Taiwan        Computers / Peripherals                        101.362
     402    OKWave Corp                                     Japan         Internet                                       101.055
     403    Next Co Ltd                                     Japan         Internet                                       100.166
     404    Provoke Solutions Ltd                           New Zealand   Internet                                       100.162
     405    Digen Co Ltd                                    South Korea   Computers / Peripherals                        100.068
     406    AeroVision Avionics Inc                         Taiwan        Semiconductors, Components and Electronics      99.959
     407    Streamtime Software Ltd                         New Zealand   Software                                        99.892
     408    Ndoors Corp                                     South Korea   Software                                        99.350
     409    S-Energy Co Ltd                                 South Korea   Green Technology                                99.012
     410    MatrixGroup (CMS) Pty Ltd                       Australia     Software                                        98.983
     411    IMImobile Pvt Ltd (formerly IMI Software Ltd)   India         Software                                        98.572
     412    Sunpower Group Ltd                              Singapore     Green Technology                                97.930
     413    Hotron Precision Electronic Industrial Co Ltd   Taiwan        Semiconductors, Components and Electronics      97.733
     414    New Optics Ltd                                  South Korea   Computers / Peripherals                         97.517
     415    UB Cell Co Ltd                                  South Korea   Semiconductors, Components and Electronics      97.459
     416    Sqware Peg Pty Ltd                              Australia     Software                                        96.856


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                                                                                                                               3 year %
Rank    Company name                                              Location      Industry sector
                                                                                                                               growth
417     PartsTrader (Sproket Markets Ltd)                         New Zealand   Internet                                          96.762
418     RedBalloon Pty Ltd                                        Australia     Internet                                          96.605
419     D-networks Co Ltd                                         South Korea   Computers / Peripherals                           95.712
420     Sunrex Technology Corp                                    Taiwan        Computers / Peripherals                           95.534
421     Edison Opto Corp                                          Taiwan        Semiconductors, Components and Electronics        95.452
422     NeosemiTech Corp                                          South Korea   Green Technology                                  95.391
423     Comviva Technologies Ltd (formerly Bharti Telesoft Ltd)   India         Software                                          95.091
424     Tyntek Corp                                               Taiwan        Semiconductors, Components and Electronics        94.403
425     Tong Hsing Electronic Industries Ltd                      Taiwan        Semiconductors, Components and Electronics        94.295
426     Enustech Inc                                              South Korea   Computers / Peripherals                           93.829
427     Eyang Holdings (Group) Co Ltd                             China         Computers / Peripherals                           93.690
428     Silicon Works Co Ltd                                      South Korea   Computers / Peripherals                           93.091
429     David Electronics Co Ltd                                  Taiwan        Semiconductors, Components and Electronics        92.870
430     Korea Electronic Banking Technology Co Ltd                South Korea   Computers / Peripherals                           92.856
431     Interspace Co Ltd                                         Japan         Internet                                          92.702
432     GoerTek Inc                                               China         Computers / Peripherals                           92.366
433     Cosmo Electronics Corp                                    Taiwan        Semiconductors, Components and Electronics        92.248
434     Asix Electronics Co Ltd                                   Taiwan        Semiconductors, Components and Electronics        92.048
435     Huga Optotech Inc                                         Taiwan        Semiconductors, Components and Electronics        92.013
436     Taiwan PCB Techvest Co Ltd                                Taiwan        Semiconductors, Components and Electronics        91.967
437     Redvespa Consultants Ltd                                  New Zealand   Internet                                          91.530
438     Exetel Pty Ltd                                            Australia     Telecommunications / Networking                   91.307
439     Jet Reports Australia New Zealand Ltd                     New Zealand   Software                                          91.269
440     Sterlite Technologies Ltd                                 India         Telecommunications / Networking                   91.053
441     Walsin Technology Corp                                    Taiwan        Semiconductors, Components and Electronics        90.906
442     Apex Science & Engineering Corp                           Taiwan        Other                                             90.861
443     Xeonics Co Ltd                                            South Korea   Computers / Peripherals                           90.785
444     Xpec Entertainment Inc                                    Taiwan        Software                                          90.701
445     24x7 Learning Pvt Ltd                                     India         Software                                          90.667
446     Sisnet Co Ltd                                             South Korea   Telecommunications / Networking                   90.004
447     Soft-World International Corp                             Taiwan        Software                                          89.717
448     Internode Pty Ltd                                         Australia     Telecommunications / Networking                   89.303
449     Neilsoft Ltd                                              India         Software                                          89.276
450     A-Care Systems Inc                                        Japan         Software                                          89.145
451     Neople Inc                                                South Korea   Software                                          89.128
452     Magic Pulse Ltd                                           New Zealand   Software                                          89.113
453     Berna Biotech Korea Corp                                  South Korea   Biotech / Pharmaceutical / Medical Equipment      88.881
454     Nowcom Co Ltd                                             South Korea   Internet                                          88.701
455     Joymax Co Ltd                                             South Korea   Software                                          88.540
456     Neo-Morgan Laboratory Inc                                 Japan         Biotech / Pharmaceutical / Medical Equipment      88.349
457     Sea Sonic Electronics Co Ltd                              Taiwan        Semiconductors, Components and Electronics        88.316
458     Estel Technologies Pvt Ltd                                India         Software                                          88.151
459     Persistent Systems Ltd                                    India         Software                                          88.143
460     J Touch Corp                                              Taiwan        Semiconductors, Components and Electronics        88.139
461     Aces Electronic Co Ltd                                    Taiwan        Semiconductors, Components and Electronics        88.086
462     Upside Learning Solutions Pvt Ltd                         India         Software                                          87.965
463     Impetus Infotech (India) Pvt Ltd                          India         Software                                          87.836
464     ValueLabs Pvt Ltd                                         India         Software                                          87.809
465     VarioSecure Networks Inc                                  Japan         Internet                                          87.371
466     InterGlobe Technologies (IGT Solutions Pvt Ltd)           India         Software                                          87.356


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                                                                                                                 3 year %
 Rank       Company name                            Location      Industry sector
                                                                                                                 growth
     467    eMemory Technology Inc                  Taiwan        Other                                             87.035
     468    Daemyung Engineering Co Ltd             South Korea   Computers / Peripherals                           86.066
     469    e-System Corp                           Japan         Software                                          85.048
     470    WeMade Entertainment Co Ltd             South Korea   Software                                          84.980
     471    Take Solutions Ltd                      India         Software                                          84.083
     472    SmartPayroll Ltd                        New Zealand   Internet                                          84.010
     473    Riskk.com Sdn Bhd                       Malaysia      Software                                          83.628
     474    Lintec Speciality Films Korea Inc       South Korea   Semiconductors, Components and Electronics        83.401
     475    Justek Inc                              South Korea   Computers / Peripherals                           83.095
     476    Opt Inc                                 Japan         Internet                                          82.602
     477    PSC Inc                                 Japan         Software                                          82.554
     478    Gcrest Inc                              Japan         Software                                          81.451
     479    Lepro                                   China         Green Technology                                  81.361
     480    Eyede Ltd                               New Zealand   Semiconductors, Components and Electronics        81.020
     481    Ilshin HiTech Co Ltd                    South Korea   Computers / Peripherals                           80.319
     482    Lutronic Corp                           South Korea   Biotech / Pharmaceutical / Medical Equipment      80.178
     483    I&C Technology Co Ltd                   South Korea   Semiconductors, Components and Electronics        79.823
     484    SoftRun Inc                             South Korea   Software                                          79.481
     485    Hairy Lemon Web Solutions Ltd           New Zealand   Internet                                          79.206
     486    Vega Industries Ltd                     New Zealand   Telecommunications / Networking                   78.957
     487    Real Image Media Technologies Pvt Ltd   India         Software                                          78.476
     488    Sonata Software Ltd                     India         Software                                          77.881
     489    Smart Card Laboratory Inc               South Korea   Telecommunications / Networking                   77.588
     490    DNC Engineering Corp                    South Korea   Semiconductors, Components and Electronics        77.473
     491    Simplex Technology Inc                  Japan         Software                                          77.123
     492    Nepro IT Co Ltd                         Japan         Internet                                          76.906
     493    Actoz Soft Co Ltd                       South Korea   Software                                          76.852
     494    Infovine Co Ltd                         South Korea   Telecommunications / Networking                   76.846
     495    Start Today Co Ltd                      Japan         Internet                                          76.265
     496    Inkwang Optec Co Ltd                    South Korea   Computers / Peripherals                           75.957
     497    Zephyr Consulting Ltd                   New Zealand   Telecommunications / Networking                   75.505
     498    Logix Microsystems Ltd                  India         Software                                          75.089
     499    Anydata.net Inc                         South Korea   Telecommunications / Networking                   74.408
     500    WebMoney Corp                           Japan         Internet                                          74.280




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Deloitte Technology Fast 500
Asia Pacific 2009 CEO Survey



About the survey                                     All graph data is sourced from the Deloitte Technology Fast 500 Asia Pacific 2009 CEO Survey.

Every year since 2002, the CEOs of the
nominated fastest-growing technology                 CEO survey participation by location
companies in Asia Pacific for the current year       (Total responses: 230)
are surveyed as part of the overall Deloitte
Technology Fast 500 Asia Pacific program.
These CEOs are asked about their hopes and
                                                            India                                                              65
fears for their sector, their views on the secrets
of success and other key leadership issues.
                                                           China                                                       56
This survey was undertaken in the fourth
quarter of 2009 by 230 CEOs from across the          New Zealand                                28
Asia Pacific region. It provides insight into the
issues that these CEOs expect will drive the
                                                           Japan                          21
industry forward in 2009 and beyond.

                                                     South Korea                     18
In the shadow of economic turbulence

This year, with economic issues driving the               Taiwan                     17
global business landscape, the Deloitte
Technology Fast 500 Asia Pacific survey
                                                        Australia           9
examined how fast-growing companies were
faring in the downturn. The DTT TMT group
asked how their growth strategies were                  Malaysia            8

impacted and sought to understand their
changing competitive environment. How had              Singapore        5
their access to capital altered? Were they able
to maintain the status quo on R&D spend?
                                                        Thailand 3
We also checked in on whether their green
initiatives and talent programs had been
                                                                    0           10         20        30   40      50        60      70   80   90   100
scaled back as a result. The responses to these
questions and more, from 230 CEOs, are                                                                     Number of surveys
revealed in these pages.




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Surviving and thriving
Growth is still in the cards                    1. Have you revised your growth targets for 2009, in light of economic conditions?

CEOs of fast-growing companies in Asia
Pacific are steadfast in their confidence for                     No change                                                    49%

growth. Most (49 percent) are maintaining
the status quo for growth with targets                                    Up                                30%
unchanged, despite the global financial
downturn, while a further 30 percent
                                                                      Down                      21%
have set even more aggressive targets.
This follows two years of sustained high                                        0          10    20           30        40           50
confidence in their company’s growth,
which stood at 86 percent in 2008 and
91 percent in 2007, according to previous
Deloitte Technology Fast 500 Asia Pacific       2. Has the economic environment caused you to change your choice for company growth?
surveys.

                                                           More focused on
                                                                                                                                           56%
Keeping it close to home                                    organic growth


With unstinting growth plans for most                             No change                                 31%
companies, the survey reveals an even
greater emphasis being placed on an                 More focused on growth
                                                                                         11%
                                                             by acquisitions
organic strategy for growth, as reported by
56% of respondent CEOs. Korea stands out                     Less focused on
                                                                                    1%
as the only country where firms are mainly                   organic growth
focused on growth by acquisitions.
                                                     Less focused on growth
                                                                                    1%
                                                              by acquisitions
No experience necessary
                                                                                0          10    20           30        40           50

Opinion is virtually split on whether the
previous technology recession better
prepared this sector for the most recent
global recession.                               3. Do you think the tech sector’s recent and prior experience of a recession has enabled
                                                   the sector to be relatively well-prepared for this recession?




                                                                                         No           Yes
                                                                                         53%          47%




                                                                                                                                          27
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Secrets of success
Innovation by the yard                            4. Which type of innovation is generating the biggest returns for your
                                                     company in the recession?
The biggest returns for this year’s fast-
growing companies are being generated
                                                  New products / services with incremental
by incremental innovation releases in both                 innovation in existing markets
                                                                                                                               31%

existing (31 percent) and new (17 percent)
markets. Breakthrough innovation releases              Breakthrough innovative products /
                                                               services in existing markets
                                                                                                                         25%
account for 25 percent of returns in existing
markets and 13 percent in new markets.            New products / services with incremental
                                                               innovation in new markets
                                                                                                              17%


Customer appeal                                                 Cost reduction on existing
                                                                        products / services
                                                                                                         14%

Most CEOs of fast-growing companies
                                                       Breakthrough innovative products /
believe their customers (55 percent among                        services in new markets
                                                                                                        13%
all sizes of customers) prefer them to
established organizations because of the                                                       0        10          20          30          40   50

economic environment, although a large
group (36 percent) see no change. Only 9
percent think customers are less willing to try   5. Has the economic environment in your main target markets made customers
new solutions.                                       more willing to work with fast-growing, emerging companies, rather than
                                                     established companies?


                                                                                No change                                             36%



                                                          Yes, across all sizes of customers                                         35%



                                                              Yes, among large customers            11%



                                                              Yes, among small customers           9%



                                                         No, it has made them less willing
                                                                                                   9%
                                                                      to try new solutions


                                                                                               0        10          20          30          40   50




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The silver lining                                6. What are the key positive outcomes you have experienced as a result of the
                                                    economic downturn?
The greatest upside to the economic
downturn, according to this year’s survey,
has been a reduction in staff turnover for                   Staff turnover has fallen                             22%

22 percent of companies, which has been
a singular operational concern in previous                  Our workers work harder                          16%
years. In fact, 16 percent of CEOs report that
their staff are now working harder. Expenses
                                                              Cost of labor has fallen                       16%
have decreased in many areas as well,
with companies reporting drops in labor
                                                                Our customer base is
(16 percent), machinery and infrastructure               unaffected by the downturn
                                                                                                   10%
(10 percent) and raw materials (9 percent).
                                                               Cost of machinery and
                                                              infrastructure has fallen
                                                                                                   10%


                                                      Cost of raw materials has fallen             9%

                                                         Competitive pressures have
                                                        declined, due to competitors           8%
                                                               going out of business


                                                                                 None         6%



                                                                                Other         3%


                                                                                          0             10         20    30   40   50




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Sizing the market
Market faith prevails                           7. How do you expect the economies across your main target markets will fare in 2009?

There is an overall confidence in the
economies of the target markets for survey                                           Grow by over 3%                                      59%

respondents. Seventy-seven percent project
growth in 2009 for their main target                                                Grow by up to 3%              18%
markets, with another 9 percent expecting
their economies to remain flat.
                                                                                  Decline by up to 3%              10%


On the pursuit of customers
                                                                                                Remain flat        9%

Consistent with findings that growth targets
haven’t changed much in the economic                                               Decline by over 3%             4%
downturn, nearly half the CEOs surveyed
(45 percent) are also not changing their main                                                                 0         20          40          60   80         100

target customer. (The exceptions are firms in
India and Taiwan who find they now need to
predominantly target larger customers and       8. Has the economic environment in your main target markets caused you to change
other geographies.) For the remaining CEOs,        your target customer at all?
26 percent are targeting customers in other
geographies, 20 percent are now focusing                                      No change                                                                   45%
on larger companies and 9 percent are
aiming at smaller companies.                                Yes, have targeted customers
                                                                                                                                   26%
                                                                    in other geographies


Competitive forces                                      Yes, have changed target size of
                                                                                                                        20%
                                                   company to focus on larger companies
For 45 percent of companies in this year’s
                                                Yes, have changed target size of company
survey, the number of competitors hasn’t                    to focus on smaller companies
                                                                                                      9%
changed greatly, while 30 percent note a
reduction. China bucks this trend, however,                                                 0              10                20            30        40               50

with nearly half the 55 respondents
indicating an increase in competitors because
of the economic environment.                    9. Has the economic environment caused:


                                                                           No change?                                                                     45%


                                                               A net reduction in the
                                                                                                                                         30%
                                                             number of competitors?

                                                       An increase in the number of
                                                                                                                                  25%
                                                        competitors in your sector?

                                                                                            0              10                20            30        40               50




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What the market will bear                       10. Has the economic environment caused:

Over half (55 percent) of the fast-growing                              Prices to fall,
companies surveyed have taken a hit at              eg due to customers’ reluctance                                                55%
                                                     to buy at previous price points?
the cash register, because of the current
financial situation. They say their customers    No change in prices in your sector?                                 42%
are reluctant to buy at previous price
points. Another 42 percent have not seen                 Prices in your sector to rise,
                                                eg due to a reduction in the number 3%
any changes to prices, and despite less               of competitors in your sector?

competition for 30 percent (see previous                                                  0   10   20         30         40   50
graph), only 3 percent note a price increase.

                                                11. Are customers less concerned about environmental issues?
How green will customers go?

According to nearly one third of CEOs           They only care about price, and
                                                                                                                   39%
                                                  green aspects are not factors
(32 percent), customers are more green
than ever. That leaves a significant                     They are focusing more
                                                                                                          32%
proportion of customers (68 percent) who                         on green issues
are not as concerned about environmental          They see some value in green
issues. Of this, 29 percent are simply less          issues, but much less than                         29%
                                                             they did a year ago
focused on it today than a year ago, while
                                                                                          0   10   20         30         40   50
for 39 percent, price trumps all.




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Business as usual
Still banking on capital                         12. Has the company had trouble raising funds in the last six months?

The majority of fast-growing companies
(66 percent) continue to be able to access                                                         No                                 66%

capital. For 34 percent of companies having
difficulty raising funds because of size,                   Yes, it has been a significant challenge,
                                                                                                               19%
                                                                       in terms of size or availability
availability or price factors, the challenge
areas are equity issuance (47 percent), debt                Yes, it has been a significant challenge,
                                                                                                              15%
(42 percent) and bonds (11 percent).                                                in terms of price

                                                                                                          0          20    40         60          80          100

More people please

Hiring in the technology sector continues        13. If you have had challenges raising funds, in which areas have they been?
unabated. The ongoing attrition of people
was forecast last year by 96 percent of                             Equity issuance                                                                     47%
respondent CEOs, and they saw it through.
In this year’s survey, 95 percent report
                                                                               Debt                                                           42%
workforce growth. In fact, 39 percent have
even accelerated hiring.
                                                                             Bonds               11%

The best and the brightest                                                             0             10               20         30               40            50

Attracting and retaining top talent has been
a consistent focus for CEO respondents in        14. Have you changed your hiring policy?
past years, and it continues to be so, despite
the downturn in the economic environment.
Fast-growing companies (45 percent) declare            We have accelerated hiring                                                           39%

no change in their talent retention programs.
In fact, 40 percent concede that turnover                   We have slowed hiring                                          28%
would be problematic at this time.

                                                                        No change                                          28%


                                                 We are downsizing staffing levels         5%


                                                                                       0             10               20         30               40            50



                                                 15. Is talent retention more important?


                                                                        No change                                                                      45%


                                                 Yes, employee turnover would be
                                                                                                                                            40%
                                                              difficult at this time

                                                  No, due to the economy, we can
                                                                                                          15%
                                                  easily replace any lost employees

                                                                                       0            10                20         30               40            50

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R&D momentum                                      16. Has the economic environment affected your company’s spend on R&D?

For 54 percent of technology firms in Asia
Pacific, R&D budgets have not been affected                             No change                                                                                 54%

by the economy. In fact, 32 percent indicate
an increase. For companies spending less on                  Yes, it has increased                                                      32%
R&D, the decision was overwhelmingly driven
by internal management (85 percent).
                                                            Yes, it has decreased                      14%

                                                                                        0            10                     20              30         40        50
In or out?

Most R&D is kept in-house (66 percent)
despite the economic environment, although        17. If you are spending less, what is the reason for this?
27 percent of those surveyed cite the
economy as causing them to outsource R&D
                                                                        Internal management decision                                                    85%
on a project basis, and 6 percent now work
in partnership with other companies on R&D.
                                                                                                   Other               8%
However, in China, the majority of firms say
they now outsource R&D on a project basis.
                                                                               External investor request           7%

Risk appetite drops in R&D                                                                                    0             20         40        60         80   100

Asked how they are approaching R&D in
this economy, the majority (55 percent) are
                                                  18. Has the economic environment caused you to outsource any of your R&D?
eliminating riskier R&D projects that have less
chance of realizing a return on investment.
Another 27 percent are choosing specific                                                              No                                         66%
programs to cut.
                                                                                        On a project basis              27%


                                                                In partnership with other companies                6%


                                                                                                  All of it       1%

                                                                                                              0             20         40        60         80   100




                                                  19. If you are spending less, what is your approach (select all that apply)?

                                                     Eliminating riskier R&D projects
                                                        with a less certain chance of                                                                                 55%
                                                   providing a return on investment

                                                       Eliminating specific programs
                                                   rather than across the board cuts
                                                                                                                                 27%


                                                  Deferring a portion of R&D spend                                18%

                                                                                        0            10                     20              30         40        50

                                                                                                                                                                       33
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Uncharted waters
Innovation challenges                           20. In the current economic climate, what are the biggest challenges you encounter
                                                    when pursuing growth through innovation?
When it comes to pursuing growth through
innovation, technology firms in Asia Pacific
                                                             Risk-adverse culture
are confronted by a myriad of obstacles in                                                                               43%
                                                                 in the downturn
today’s economic climate. At the top of their
list is a risk-adverse culture for 43 percent        Insufficient customer insight                        22%
of respondents, followed by insufficient
customer insight (22 percent) and a lack of
                                                               Lack of new ideas                    13%
new ideas (13 percent).

                                                               Reduced product
                                                                                                   11%
Supply chain dominos                                       development capacity


Technology firms are seeing a range of             Reduced supply chain capacity                   11%
impacts to their supply chain in 2009.
Notably, for 34 percent, payments are slower                                         0               10    20    30       40          50

to come in the door. Meanwhile, 15 percent
are burdened with the worry over whether        21. What, if any, have been the impacts on your supply chain:
their suppliers may fail and leave the market
altogether.
                                                                      No change                                         42%


Out to market                                                Payments are taking
                                                                                                                 34%
                                                                longer to receive
It’s taking longer to close the deal because
of the economic climate, according to                    Minor suppliers may fail
                                                                                                   11%
                                                            and exit the market
48 percent of the CEOs of fast-growing
companies in Asia Pacific. Conversely, for 9             Major suppliers may fail
                                                                                         4%
percent, the sales cycle is actually shorter.               and exit the market


                                                                            Other        4%


                                                    Some minor customers have
                                                                                              3%
                                                      lost trade insurance cover

                                                     Some major customers have
                                                                                          2%
                                                       lost trade insurance cover

                                                                                     0              10    20    30       40          50


                                                22. Has the economic environment in your main target market(s) caused


                                                    Your sales cycle to lengthen?                                              48%


                                                                     No change?                                          43%


                                                     Your sales cycle to shorten?              9%

                                                                                     0              10    20    30       40          50

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Conclusions
Stirred, not shaken                                                            Balance and moderation

Last year, there was much speculation about the impact of the                  It appears that balance and moderation are the new key tones for
economic downturn on the historic confidence of fast-growing                   growth. There is much opportunity—all sizes of customers are claimed
technology companies. At that time, many CEOs were reviewing their             to be being willing to work with fast-growing, emerging companies.
growth strategies and taking a cautious look-and-see approach. Still,          And much to take stock of, like how to maintain innovation as a pillar
their confidence sailed almost as high as the record-breaking year             for growth within a growing risk-adverse culture.
before, in 2007.
                                                                               One thing is certain: technology companies in Asia Pacific are not
This year, although we didn’t ask CEOs outright about their confidence,        resting on their laurels waiting for good times to return. As always, the
it shone through loud and clear in their approach to growth targets,           ranking technology companies are positioning themselves to be even
markets and customers. Indeed, their positive attitudes are prevalent          more competitive in the future.
throughout the survey results. They appear cautiously confident and
protective of their organizations, but not willing to compromise their
long-term game plan. They’ve kept growth alive with a robust 361
percent average revenue growth rate over three years across 500
companies, not a record-breaking year by any measure, but comparable
to earlier years in the Technology Fast 500 rankings.


Adapting to the winds of change

That is not to say that the weakened global economy hasn’t impacted
technology companies in the Asia Pacific region. It has caused sales
cycles to lengthen as they adapt to meet their customers’ needs. Over
half (55 percent) say their customers are reluctant to buy at previous
price points. Financial factors are beginning to override the focus on
green for their customers, for which we have yet to see the implications
for technology firms. And there is reason for concern, as customers are
slower to mail in their cheques, while some suppliers may leave
the market.

Yet respondents also seized the opportunities of the downturn, keeping
a strong emphasis on what they could control. Talent and R&D are still
priority areas; a welcome and reassuring confirmation about the level of
CEO commitment to basic business strategies. In fact, 39 percent have
even accelerated hiring and 32 percent have increased spending in R&D.
Some companies, in open-ended responses, cited the economic climate
as a chance to stress-test their business plans, or to strategically rethink
their go-to-market strategy and redefine priorities.




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Technology Fast 500 Asia Pacific
smart companies:
Clare Howden, CEO, Futrix


Being a small fish in a big pond
presents its own set of challenges on
an average year. For a technology
business trying to grow its top line
and expand operations around the
globe during a recession, the waters
can be particularly choppy.

Yet for New Zealand-based Futrix Ltd, a company in the business
intelligence market since 1997, the course for growth was set.

With its unique software targeting the market’s need for information-
based decision making, Futrix focused its sales and marketing
strategies to put itself squarely on the radar of the right people at large
organizations—and landed back in the Deloitte Technology Fast 500
Asia Pacific Ranking for the second year.

CEO Clare Howden ascribes much of her company’s substantial growth
over the past year to product performance, attested to by exceptional
customer feedback and recurring sales; outstanding employees; and a
focused approach to sales and marketing.

“The recession made it imperative for companies to run more
efficiently, and to do so, they needed to get smarter about their
business. Our software holds an appealing promise for businesses
during tough times, because it enables them to better leverage the
information they already have and make important decisions, whether           “Being recognized as a leading
they need to cut costs, identify risk, find new opportunities or improve
the bottom line.”
                                                                              growth company makes us all very
Still, without visibility, recession or not, Futrix would be a hidden gem.
                                                                              proud, not only from the market
That’s why creating a strong sales model is essential, something that
Clare believes passionately in. In fact, her drive to install an advanced
                                                                              credibility it bestows, but also
sales and marketing strategy, along with a robust business plan for           because it affirms Futrix as an
growth, gained her the CEO title in 2006, after three years running the
company’s financial side.                                                     integral part of the New Zealand
                                                                              business community.”
                                                                              Clare Howden, CEO, Futrix



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As CEO and one of the major shareholders, Clare holds a strong
vision to realize her company’s potential as a globally competitive
business. “We are a very close-knit team and we all understand
that Futrix can revolutionize how businesses operate.” Clare
initially trained as a psychologist and once ran her own recruitment
consultancy in London, and although this kind of background may
be atypical of a CEO, she credits it for fine-tuning her ability to
understand and motivate people.

She hits the same inspirational tone for start-up software
companies. “Keep going, keep knocking on those doors and listen
to anyone that can spare the time to talk to you.” And equally
important, “invest in sales and marketing,” she adds.

For the future, Clare acknowledges that continued excellent
software development will keep customers coming back, and
attract new ones. She places innovation as a central part of
her growth plan: “We’re constantly monitoring our software;
understanding our customers’ changing needs; employing a top-
notch team across New Zealand, Australia and the USA to identify
and adapt our models. The list goes on.”



The prevailing drive to innovate—
an essential value of a Technology
Fast 500 company.




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Foreword




Over the past nine years, we’ve watched fast-growing technology         companies are featured in these pages. Giga CEO Ji-Rei Chen discusses
companies in Asia Pacific flex their muscle to achieve incredible       how a key product innovation grabbed market share, while Vocus CEO
growth, and we’ve watched them slow their pace through a                James Spenceley describes his company’s climb from a Rising Star in the
worldwide economic recession. Through the seasons of change,            2009 Deloitte Technology Fast 50 Australia program to second spot.
the Deloitte Touche Tohmatsu Limited (DTTL) Global Technology,
Media & Telecommunications (TMT) Industry Group’s annual Deloitte       In the DTTL TMT group’s annual Technology Fast 500 Asia Pacific CEO
Technology Fast 500 Asia Pacific Ranking and CEO Survey has             survey, we probed deeply into the impact of the world’s economic
become their record of achievement and performance, marking the         recession on Asia Pacific companies. Read what 245 CEOs have to say
distance of the fittest.                                                about shifts in their business. Clearly, economy pressures are taking a
                                                                        toll, but they affirm the tradition of adaptability and flexibility seen in
As one of the region’s most comprehensive and respected rankings        previous years.
of fast-growing technology companies, key data is obtained from
companies in nine locations in Asia Pacific—Australia, China (Hong      Congratulations to all the winning companies on their remarkable
Kong), India, Japan, Korea, Malaysia, New Zealand, Singapore and        achievements.
Taiwan. The ranking recognizes the top 500 technology companies,
both public and private, according to their revenue performance over
the past three years.

The top five companies this year averaged a three-year revenue
growth rate of 10,338 percent, slightly higher than last year’s 8,980
                                                                                                    Jolyon Barker
percent, but nowhere near record-breaking years of the past when
                                                                                                    DTTL Managing Director, Global Technology,
average rates for the top five climbed over 30,000 percent. Overall,
                                                                                                    Media & Telecommunications (TMT)
the average percentage growth rate for all 500 ranked companies
                                                                                                    Industry Group
was 374 percent, up slightly from 361 percent in 2009.

On the winner’s podium is Giga Solar Materials, a Semiconductors,
Components and Electronics firm from Taiwan specializing in film
metallization pastes. With an impressive growth rate of 24,694
percent over three years, they outran the pack by more than double                                  Yoshitaka Asaeda
the second-ranked company Vocus Communications from Australia,                                      Deloitte Japan Partner in charge,
who achieved a 11,306 percent growth rate. The stories of both                                      Technology Fast 500 Asia Pacific program




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DTTL TMT at a glance




Services

Companies in the TMT sector confront a swiftly changing marketplace    DTTL TMT keeps abreast of
and Deloitte member firm TMT practices are helping companies adapt
quickly, with extensive services across the following functions:       TMT trends and makes significant
• Integrated Market Offerings (IMOs)                                   investment in producing
• Audit & Enterprise Risk Services (AERS)
                                                                       cutting-edge thought leadership.
• Tax advisory

• Consulting
                                                                       We are deeply committed to
• Financial Advisory Services (FAS) and Corporate Finance
                                                                       providing insights that keep
                                                                       clients on the forefront of critical
People
                                                                       trends. The DTTL TMT Group’s
The Deloitte Touche Tohmatsu Limited (DTTL) Global Technology, Media
& Telecommunications (TMT) Industry Group consists of TMT practices    innovative thinking is highly
organised in the various member firms of DTTL. It includes more than
7,000 member firm partners and professionals from around the world
                                                                       valuable to, and sought by, a range
dedicated to helping their clients evaluate complex issues, develop
fresh approaches to problems and implement practical solutions.
                                                                       of stakeholders—business schools,
                                                                       trade organizations, government
                                                                       agencies and companies of all sizes.


                                                                       Member firms

                                                                       There are dedicated TMT member firm practices in 45 countries in the
                             Our services
                                                                       Americas, EMEA and Asia Pacific.


                                                                       TMT clients

                                                                       Clients of Deloitte member firms’ TMT practices include:

                                 TMT                                   • Ninety-two percent of the TMT companies in the Fortune Global 500®.
                                clients
                                                                       • Twenty-one of the 24 largest technology companies worldwide.

           Our people                         Member firm              • All seven of the largest global media companies.
                                               practices
                                                                       • Twenty-one of the 22 largest telecommunications companies
                                                                          worldwide.




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Selected TMT thought leadership


Predictions 2010
The 2010 edition of Global TMT’s Predictions was launched this year in
48 countries around the world, and as of June 2010, has been presented
to thousands of member firm clients around the world. It is based on a
year-round research process involving member firm practitioners, clients,
industry analysts and hundreds of thousands of proprietary data points
generated by quantitative research.




State of the Media Democracy Survey 2010
DTTL TMT’s multinational fourth edition of the State of the Media
Democracy Survey discusses how digitization is radically transforming: the
way content is consumed; consumer behavior across generations; and
what future media preferences are likely to be.




2010 TMT Global Security Study—Key findings: Bounce Back
The fourth TMT Global Security Study benchmarks IT security and privacy
in the technology, media and telecommunications industry. The 2010
report finds that spend on security appears to be bouncing back in
anticipation of renewed economic growth.




Global Trends in Venture Capital 2010: Outlook for the Future
This annual survey is conducted by the DTTL TMT Group in conjunction
with venture capital associations in the Americas, Asia Pacific, Europe
and Israel, measuring the opinions of more than 700 venture capitalists
worldwide.




Additional TMT thought leadership: www.deloitte.com/tmtpublications




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Fast facts file




By location                                       Ranked companies by location

China has been steadily adding companies to
the Fast 500 ranking and this year leads with                          China                                                                          147

147 contributions—up from 97 companies
in 2009, 72 in 2008 and 53 in 2007. Taiwan                            Taiwan                                                   86
now appears in second place, after two years
in the lead, offering 86 companies to the
                                                                    Australia                                    62
ranking of the fastest-growing technology
companies in Asia Pacific.
                                                                        India                                    60



                                                                 New Zealand                                50
    Top 20

    Half of the companies in the top 20                          South Korea                           41
    ranking hail from China, while three are
    from Taiwan. India, New Zealand and
                                                                       Japan                 29
    Australia each offer two companies, and
    Japan provides one. Seven of the firms in
    the top 20 are Internet companies.                              Malaysia         15



                                                                   Singapore        10


                                                                                0                 30             60                 90          120     150

                                                                                                                 Number of companies




By revenue growth                                 Ranked companies by revenue growth

The top five companies grew 10,338 percent
in average revenue growth over the past three                          Top 5                                                               10,338%
years, up from last year’s top-five performance
rate of 8,980 percent. Across all 500                                 Top 10                                          6,300%
companies, the three-year average revenue
growth rate came in at 374 percent, similar to
                                                                      Top 50             2,131%
last year’s 361-percent rate.

                                                                     Top 100                1,288%


                                                                     All 500         374%


                                                                                0                 3000                 6000              9000         12000

                                                                                                             Percentage revenue growth




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Ranked companies by industry sector                                                                           By industry sector

                                                                                                              For the fourth year in a row, Software
                                                                                                              outranked all other sectors, with 145
                                                                                                              companies in the Fast 500 ranking—a
                      Software                                                      145                       decrease from 163 companies in 2009.
                                                                                                              Yet, despite its numbers, not one software
  Semiconductors, Components                                                                                  company made the top 20 list.
                                                             77
               and Electronics
                                                                                                              At nearly half that number, the
                                                                                                              Semiconductors, Components and
                        Internet                             75
                                                                                                              Electronics sector placed second with
                                                                                                              77 companies, similar to last year’s 76
          Telecommunications /
                                                        60                                                    contributions, and it boasts the winning
                  Networking
                                                                                                              company: Giga Solar Materials from Taiwan.
        Computer / Peripherals                         56                                                     Internet companies slipped back to third place
                                                                                                              with 75 companies, three companies less than
      Biotech / Pharmaceutical /                                                                              in 2009 when the sector ranked second. Four
                                                  46
            Medical Equipment                                                                                 Internet companies made the top ten list,
                                                                                                              doubling last year’s count.
             Green Technology               26



      Media and Entertainment          15


                                   0             40               80         120          160           200

                                                              Number of companies




Ranked companies' final-year revenue (in USD)                                                                 By revenue

                                                                                                              As in previous years, the majority of the
                  Over 1 billion 7
                                                                                                              ranked companies—345 in 2010—have
                                                                                                              revenues of less than USD50 million. 148
                100m–1 billion                                    85                                          companies have between USD50 million and
                                                                                                              USD1 billion final-year earnings, while
                    50m–100m                            63                                                    seven companies recorded more than USD1
                                                                                                              billion in revenues.

                     10m–50m                                                                170


                    Under 10m                                                                   175


                               0            20   40     60        80   100   120   140    160     180   200

                                                              Number of companies




                                                                                                                                                           5
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By sector and location

The dominant Software sector saw most of its contributions from China (40) and India (33), although the
latter provided only half the number it offered in 2009. Again, Taiwan supplied the most Semiconductors,
Components and Electronics companies (50)—as in the previous three years—while Australia boasted the
most Internet companies (23). Green Technology was represented mostly by China (15) and Taiwan (5),
while South Korea supplied the most companies in the Computers / Peripherals sector (23).



    Ranked companies by sector and location

                                                                                                 New                   South
                              Australia   China         India        Japan        Malaysia                 Singapore           Taiwan
                                                                                                Zealand                Korea

    Software                     23        40            33            11            7            13          3         4       11

    Semiconductors,
    Components and               0          9             2            2             1             1          1         11      50
    Electronics

    Internet                     23         13            9            10            3            15          1         1        0

    Telecommunications /
    Networking                   11        22             8            1             3            11          2         0        2


    Computers / Peripherals      2          16            1            0             1             7          0         23       6

    Biotech /
    Pharmaceutical /             3          25            3            2             0             1          1         0       11
    Medical Equipment

    Green Technology             0          15            0            1             0             1          2         2        5

    Media and
    Entertainment                0          7             4            2             0             1          0         0        1




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Public or private

The number of private companies in this year’s ranking climbed to 298,
a slight increase from the 291 private companies in last year’s ranking.


 Public versus private companies in the past three years

                        2010              2009              2008

 Public                  202               209               280

 Private                 298               291               220




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View from the top:
Interview with Ji-Rei Chen,
CEO of Giga Solar Materials




Deloitte: Your company reported 24,694-percent revenue growth over        Ji-Rei Chen: Our differentiation strategy is focused on service
three years. What are the most important factors that contributed to      excellence and technical innovation. Customers demand quality,
this growth?                                                              efficiency and variation in solar conductive pastes. Our ability to resolve
                                                                          problems on time for customers has put us in a very competitive
Ji-Rei Chen: Since 2004, we’ve focused on the development of
                                                                          position against foreign companies who have lower business-response
solar conductive pastes to support the energy conservation industry
in Taiwan. Three years ago, we embarked on mass production and            capacity. Plus, our investment in R&D facilities (such as a recent high-

sold our products to the biggest domestic solar cells firm in Taiwan—     temperature reaction-fritting furnace) has enabled us to innovate in
Gintech Energy Corporation. Due to the financial crisis and the demand    customized products and is another chief competitive factor.
for solar cells sides, we had more and more opportunity to send
samples to solar cells firms for testing and qualification. Our market    Deloitte: Product innovation has played a key role in your company’s
share and reputation grew rapidly, turning us into the largest supplier   growth in aluminum pastes. What inspired this innovation?
of solar conductive pastes in Taiwan. Because of our technological
advantages and price competitiveness, we were able to enter the Asian     Ji-Rei Chen: There is no gray area in the development of aluminum
and European markets and our revenue growth rate has increased            pastes—it’s a winner-takes-all market—so we embraced innovation
remarkably since.                                                         within our organization. We elevated our R&D team’s scope; increased
                                                                          the number of R&D professionals and budget; and gradually upgraded
Deloitte: How did you attract market share previously held by foreign     and renewed our R&D equipment. We also collaborated with schools
and Chinese companies—what differentiated Giga?                           to open up the source of intelligence and technology.


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Deloitte: How will you sustain your growth in the future?

Ji-Rei Chen: In addition to developing innovative products for our
current client base, our short-term goal is to further leverage our solar
                                                                            Deloitte: Can you describe your
conductive pastes beyond our client base. In the midterm, our goal is
to step into another stage of material development, such as N-Type
                                                                            company’s culture in one sentence?
silver paste or transmission aluminum paste. By strengthening the solar
conductive paste series and developing more specialized materials
for the energy conservation industry overall, we plan to extend and
                                                                            Ji-Rei Chen: To know our clients
strengthen our business.                                                    better than they know themselves.
Deloitte: What unique factors set your leadership team apart?

Ji-Rei Chen: The executive team at Giga Solar Materials all have solid
technical backgrounds and management experience. The success of
our product techniques and R&D programs are attributed to their
efforts. Persistence is their motto—they instill discipline and focus in
product innovation and high-quality service delivery.




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Peak performers:
The top five companies



    Top five at a glance
                                                                           In the winner’s circle are five companies
                                                                           at the top of their game. They surged
    • Three-year average growth of 10,338%                                 ahead in the second year of the global
    • Two Green Technology companies
                                                                           financial setback to achieve an average
    • Two Internet companies
                                                                           revenue growth over three years of
    • Two from China
                                                                           10,338 percent, a climb from the 2009
    • One repeat entry: GREE Inc
                                                                           group who averaged 8,980 percent.

Leading the pack is Giga Solar Materials Corp, a semiconductors company
from Taiwan, with a three-year revenue growth rate of 24,694 percent,
nearly as steep as last year’s winner who rang in at 29,577 percent.

Who are these companies and what do they do?
The top five answer in their own words:


1. Giga Solar Materials Corp
                                                                                         Location            Taiwan

                                                                                         Sector              Semiconductors,
                                                                                                             Components and Electronics

                                                                                         Founded             2005

                                                                                         CEO                 Ji-Rei Chen

 Giga Solar Materials Corp (GSMC) offers a line of thick film-metallization pastes       Three-year growth   24,694%
 specifically designed for use in the construction of photovoltaic solar cells. The
                                                                                         Website             www.gigasolar.com.tw
 pastes offered include: silver (Ag) paste suitable for use as a front-side conductor;
 aluminum (Al) paste for use as the back electrode; and silver/aluminum (AgAl)
 paste for use as a back-side conductor on an aluminum back-surface field. These
 pastes were developed with the understanding that the physical and functional
 requirements of the front- and back-side of the photovoltaic substrates require
 significant differences in the properties of the metallization pastes.

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 2. Vocus Communications
                                                                                           Location            Australia

                                                                                           Sector              Internet

                                                                                           Founded             2007

                                                                                           CEO                 James Spenceley

                                                                                           Three-year growth   11,306%

 Vocus Communications provides wholesale voice and IP transit to                           Website             www.vocus.com.au
 telecommunications companies and ISPs across Australia, NZ and the US.
 The company provides high performance, high availability and highly scalable
 communications solutions, which allow a service provider to quickly and easily
 deploy new services for their own customer base. The company has over 120
 customers, including some of the biggest internet brands such as Vodafone, iiNet,
 Internode, Yahoo and BigAir.




 3. China United Cleaning Technology Co Ltd
                                                                                           Location            China

                                                                                           Sector              Green Technology

                                                                                           Founded             2004

                                                                                           CEO                 Liangxin Sun

                                                                                           Three-year growth   7,744%

 China United Cleaning Technology Co Ltd (CUC) is a joint-venture company                  Website             www.cuckwd.com
 founded by the top companies in the semiconductors, TFT-LCD and advanced
 cleaning fields, with the investment of SAIF Partners. CUC focuses on the whole
 production-line turnkey service of crystal-silicon solar cells, and also supplies high-
 efficiency PV cells, modules and applications. CUC’s products are widely applied
 in the fields of PV new energy, semiconductors and TFT-LCD etc.




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4. GREE Inc
                                                                                       Location            Japan

                                                                                       Sector              Internet

                                                                                       Founded             2004

                                                                                       CEO                 Yoshikazu Tanaka

                                                                                       Three-year growth   4,210%

GREE Inc is an internet-media business engaged in social networking services           Website             www.gree.co.jp
(SNS), offering users functions such as profiles, diaries, communities, photos and
mail. In addition to basic SNS functions, GREE also provides mobile-phone users
with functions including social games, flash games, fortune-telling, dictionary
services, question-and-answer services and news and music functions.




5. Guodian United Power Technology Company Ltd
                                                                                       Location            China

                                                                                       Sector              Green Technology

                                                                                       Founded             2007

                                                                                       CEO                 Dongyuan Liu

                                                                                       Three-year growth   3,738%

Guodian United Power Technology Co Ltd (GDUPC) is China’s largest wind-power           Website             www.gdupc.com.cn
generation operator. GDUPC owns four wholly-owned subsidiaries and three
holding companies. It has five production bases focusing on the manufacturing
and R&D of wind-power equipment, and also innovates independently, as
demonstrated by its invention of low and ordinary temperature 1.5 MW series
fans. Currently, the company is developing large-scale 3 MW and 5 MW wind
turbines with independent intellectual property rights. GDUPC is making
substantial efforts to develop China’s green energy capabilities by encouraging a
low-carbon society, as well as making itself a reliable domestic wind-turbine brand.




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Deloitte Technology Fast 500
Asia Pacific 2010 Ranking



The 500 companies in the 2010 ranking
achieved an average 374-percent growth
over the past three years, similar to last year’s
                                                        A league of its own.
366-percent rate, but not nearly as impressive as
earlier years in the ranking. The fastest company
puts Taiwan in the winner’s spotlight: Giga Solar
                                                        The Deloitte Technology Fast 500 Asia Pacific
Materials grew a remarkable 24,694 percent.             Ranking is a global platform for measuring,
Once again, Software companies dominated the            recognizing and analyzing growth of the fastest-
ranking with 145 companies, although their first
appearance is in 29th place. The Semiconductors,
                                                        growing technology companies in the region.
Components and Electronics sector contributed
77 companies, while Internet companies retained
                                                        Five hundred companies are ranked according to
their third-place position with 75 companies, four      revenue growth rates over the past three years.
of which placed in the top ten.



How does the DTTL TMT Industry Group determine the winners?

The Deloitte Technology Fast 500 Asia Pacific 2010 winners consist of the 500 public and private technology, media and telecommunications
companies headquartered in Asia Pacific, that have achieved the highest rates of revenue growth over the past three years. In order to be eligible for
Technology Fast 500 recognition, companies must have base-year operating revenues of at least USD50,000.

The DTTL TMT Industry Group assumes that all information provided by each company is accurate and does not independently verify such information.


  Rank    Company                                                        Location        Industry sector                                3-year % growth

    1     Giga Solar Materials Corp                                      Taiwan          Semiconductors, Components and Electronics          24,694.097
    2     Vocus Communications Ltd                                       Australia       Internet                                            11,305.603
    3     China United Cleaning Technology Co Ltd                        China           Green Technology                                     7,744.267
    4     GREE Inc                                                       Japan           Internet                                             4,210.151
    5     Guodian United Power Technology Co Ltd                         China           Green Technology                                     3,738.076
    6     AdChina Ltd                                                    China           Media and Entertainment                              2,743.696
    7     Beijing LOIT Technology Ltd                                    China           Telecommunications / Networking                      2,514.570
    8     Xero Ltd                                                       New Zealand     Internet                                             2,250.260
    9     Hotels Combined Pty Ltd                                        Australia       Internet                                             1,925.685
   10     Microview Technology Corp                                      Taiwan          Semiconductors, Components and Electronics           1,876.611
   11     Beijing Jingdong Century Trading Co Ltd                        China           Internet                                             1,813.046
   12     Beijing GPMedical Technologies Co Ltd                          China           Biotech / Pharmaceutical / Medical Equipment         1,804.187
   13     Young Fast Optoelectronics Co Ltd                              Taiwan          Semiconductors, Components and Electronics           1,773.397
   14     FatPipe Networks India Ltd                                     India           Telecommunications / Networking                      1,765.226
   15     Beijing Xueda Information Technology Co Ltd                    China           Internet                                             1,747.125
   16     Shenzhen Easou Technology Co Ltd                               China           Computers / Peripherals                              1,701.050
   17     Beijing NetQin Technology Co Ltd                               China           Telecommunications / Networking                      1,686.701
   18     Ad2Pro Media Solutions Pvt Ltd                                 India           Media and Entertainment                              1,648.978
   19     Touch Media International Holdings                             China           Media and Entertainment                              1,579.241
   20     Gopher Ltd                                                     New Zealand     Internet                                             1,456.325
   21     iYogi Technical Services Pvt Ltd                               India           Internet                                             1,437.595


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 Rank      Company                                               Location      Industry sector                                3-year % growth

     22    Bioduro (Beijing) Co Ltd                              China         Biotech / Pharmaceutical / Medical Equipment         1,416.943
     23    MOL AccessPortal Berhad                               Malaysia      Internet                                             1,181.500
     24    Nature Shop Ltd                                       New Zealand   Internet                                             1,106.388
     25    Mobilis Networks Ltd                                  New Zealand   Telecommunications / Networking                      1,078.870
     26    Moreens Co Ltd                                        South Korea   Computers / Peripherals                              1,039.273
     27    Pilani Soft Labs Pvt Ltd                              India         Internet                                             1,024.506
     28    Nishoku Technology Inc                                Taiwan        Semiconductors, Components and Electronics           1,000.597
     29    Baofeng Network Technology Co Ltd                     China         Software                                              990.244
     30    Guangzhou Best-study Education Group                  China         Internet                                              982.168
     31    Vancl (Beijing) Technology Co Ltd                     China         Internet                                              942.898
     32    Next Window Ltd                                       New Zealand   Computers / Peripherals                               904.981
     33    TD Tech Ltd                                           China         Telecommunications / Networking                       903.339
     34    Emantra Pty Ltd                                       Australia     Internet                                              856.404
     35    Clearpoint Ltd                                        New Zealand   Telecommunications / Networking                       831.937
     36    Force Mos Technology Co Ltd                           Taiwan        Semiconductors, Components and Electronics            823.437
     37    Ozsale Pty Ltd                                        Australia     Internet                                              821.212
     38    Pollenizer Pty Ltd                                    Australia     Internet                                              818.766
     39    Win Win Precision Technology Co Ltd                   Taiwan        Green Technology                                      807.129
     40    Beijing EVOC Intelligent Technology Co Ltd            China         Computers / Peripherals                               726.538
     41    Beijing Sound-Puhua Technology Co Ltd                 China         Green Technology                                      724.138
     42    Wondershare Software Co Ltd                           China         Software                                              714.423
     43    UC Mobile Ltd                                         China         Telecommunications / Networking                       711.504
     44    Stateless Systems                                     Australia     Internet                                              698.114
     45    Livesense Inc                                         Japan         Internet                                              695.484
     46    Vriti Infocom Pvt Ltd                                 India         Internet                                              686.797
     47    UBright Optronics Corp                                Taiwan        Semiconductors, Components and Electronics            676.921
     48    Ramp Holdings Pty Ltd                                 Australia     Telecommunications / Networking                       666.739
     49    58.com                                                China         Internet                                              663.673
     50    Beijing Brainaire Storage Technology Co Ltd           China         Computers / Peripherals                               654.140
     51    The Website Marketing Group Pty Ltd                   Australia     Internet                                              650.000
     52    Sysware Technology Co Ltd                             China         Software                                              635.122
     53    switched on media                                     Australia     Internet                                              629.335
     54    Orenda Sdn Bhd                                        Malaysia      Software                                              621.081
     55    Appotech Ltd                                          China         Semiconductors, Components and Electronics            578.394
     56    Christchurch City Networks Ltd                        New Zealand   Telecommunications / Networking                       565.750
     57    Ads it! Media Corp                                    China         Computers / Peripherals                               563.683
     58    AsiaTelco Technologies Co Ltd                         China         Telecommunications / Networking                       543.694
     59    Hutchison MediPharma Ltd                              China         Biotech / Pharmaceutical / Medical Equipment          543.508
     60    Leader Kings Environment Security Technology Co Ltd   China         Green Technology                                      541.513
     61    China Transinfo Technology Corp                       China         Telecommunications / Networking                       536.773
     62    Qihoo Technology Co Ltd                               China         Computers / Peripherals                               527.192
     63    Megabuy Group                                         Australia     Computers / Peripherals                               519.139
     64    Adimmune Corp                                         Taiwan        Biotech / Pharmaceutical / Medical Equipment          512.834
     65    LandOcean Energy Services Co Ltd                      China         Software                                              498.526
     66    AnaPass Inc                                           South Korea   Semiconductors, Components and Electronics            493.968
     67    Beijing AKEC Medical Co Ltd                           China         Biotech / Pharmaceutical / Medical Equipment          482.473
     68    Online Ventures Pty Ltd (trading as SiteMinder)       Australia     Software                                              478.245
     69    uniDap Solutions Pty Ltd                              Australia     Software                                              473.362
     70    Shenzhen TINNO Mobile Technology Co Ltd               China         Telecommunications / Networking                       471.684
     71    Arclite Optronics Corp                                Taiwan        Semiconductors, Components and Electronics            449.023
     72    Nexsus Techno Solutions Pvt Ltd                       India         Software                                              432.988
     73    nSynergy                                              Australia     Software                                              430.412
     74    Pony Testing International Group (Shanghai) Co Ltd    China         Semiconductors, Components and Electronics            426.943
     75    Yangwoo Co Ltd                                        South Korea   Computers / Peripherals                               423.151
     76    Nitor Infotech Pvt Ltd                                India         Software                                              419.849
     77    Mobien Technologies Pvt Ltd                           India         Software                                              415.541
     78    Telemetry Research                                    New Zealand   Biotech / Pharmaceutical / Medical Equipment          403.253
     79    Forest Interactive Sdn Bhd                            Malaysia      Telecommunications / Networking                       401.249
     80    iCreate Software Pvt Ltd                              India         Software                                              399.892
     81    Rubik Financial Ltd                                   Australia     Telecommunications / Networking                       395.839


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Rank    Company                                                 Location      Industry sector                                3-year % growth

 82     Le Shi Internet Information & Technology Corp Beijing   China         Media and Entertainment                               394.762
 83     Beijing Zhonghangshixin Assemble Project Ltd            China         Green Technology                                      391.973
 84     Golden Spring Internet of Things Inc                    China         Internet                                              387.859
 85     Times-7 Research Ltd                                    New Zealand   Computers / Peripherals                               381.468
 86     Mindwave Solutions Pte Ltd                              Singapore     Software                                              376.430
 87     Microbio Co Ltd                                         Taiwan        Biotech / Pharmaceutical / Medical Equipment          374.072
 88     Anittel                                                 Australia     Software                                              373.003
 89     Kuliza Technology Pvt Ltd                               India         Software                                              361.232
 90     Beijing Unifly Scientific and Technology Co Ltd         China         Green Technology                                      357.877
 91     IDenizen Smartware Pvt Ltd                              India         Software                                              353.100
 92     Observatory Crest Ltd                                   New Zealand   Telecommunications / Networking                       352.288
 93     Excelsior Medical Co Ltd                                Taiwan        Biotech / Pharmaceutical / Medical Equipment          350.347
 94     GEONG Information Technology (Beijing) Ltd              China         Software                                              341.308
 95     iDimension MSC Sdn Bhd                                  Malaysia      Software                                              338.951
 96     Beijing PDE Information Technology Co Ltd               China         Software                                              338.757
 97     Shanghai Times Bright China                             China         Software                                              334.457
 98     Tencent Inc                                             China         Internet                                              325.654
 99     Sonar Ltd                                               New Zealand   Internet                                              324.398
100     Beijing Yicheng Bioelectronics Technology Co Ltd        China         Biotech / Pharmaceutical / Medical Equipment          313.878
101     Platinum Safety Ltd                                     New Zealand   Software                                              312.722
102     Sunext Technology Co Ltd                                Taiwan        Semiconductors, Components and Electronics            312.149
103     inTechnology Distribution Pty Ltd                       Australia     Telecommunications / Networking                       311.901
104     PK Online Ventures Pvt Ltd                              India         Media and Entertainment                               309.981
105     Phoeton corp                                            Japan         Semiconductors, Components and Electronics            306.258
106     JustCommodity Software Solutions Pte Ltd                Singapore     Software                                              302.571
107     Biomatters Ltd                                          New Zealand   Software                                              297.754
108     Marops Ltd                                              New Zealand   Software                                              297.545
109     UNISITS Technology Co Ltd                               China         Software                                              296.104
110     Hiconics Drive Technology Co Ltd                        China         Semiconductors, Components and Electronics            296.002
111     2C Light Co Ltd                                         New Zealand   Green Technology                                      295.528
112     Grandhope Biotech Co Ltd                                China         Biotech / Pharmaceutical / Medical Equipment          293.040
113     SMS Country Networks Pvt Ltd                            India         Internet                                              292.427
114     Kyland Technology Co Ltd                                China         Telecommunications / Networking                       290.655
115     Stack Devices Corp                                      Taiwan        Semiconductors, Components and Electronics            290.524
116     ROWIN Co Ltd                                            South Korea   Computers / Peripherals                               289.909
117     Chi Mei Materials Technology Corp                       Taiwan        Semiconductors, Components and Electronics            288.666
118     AutoNavi Software Co Ltd                                China         Software                                              288.175
119     Union Mobile Pay Ltd                                    China         Telecommunications / Networking                       287.511
120     CDC Global Services Corp                                China         Telecommunications / Networking                       280.676
121     UFO Moviez India Ltd                                    India         Media and Entertainment                               278.259
122     Beijing Fastweb Technology Co Ltd                       China         Telecommunications / Networking                       273.881
123     M2 Telecommunications Group Ltd                         Australia     Internet                                              272.794
124     China Information Technology Inc                        China         Software                                              269.219
125     Vtion Technology (China) Co Ltd                         China         Telecommunications / Networking                       269.132
126     ZNet Technologies Pvt Ltd                               India         Internet                                              267.956
127     Gvitech Technologies                                    China         Media and Entertainment                               267.298
128     Morpho Inc                                              Japan         Software                                              266.371
129     TSC Auto ID Technology Co Ltd                           Taiwan        Computers / Peripherals                               263.013
130     tella Inc                                               Japan         Biotech / Pharmaceutical / Medical Equipment          262.002
131     Get Price Pty Ltd                                       Australia     Telecommunications / Networking                       257.774
132     Asia Electronic Material Co Ltd                         Taiwan        Semiconductors, Components and Electronics            256.944
133     Shanghai Chempartner Co Ltd                             China         Biotech / Pharmaceutical / Medical Equipment          256.491
134     Guokang Healthcare Co Ltd                               China         Biotech / Pharmaceutical / Medical Equipment          255.459
135     Beijing HaitaiFangyuan High Technology Co Ltd           China         Semiconductors, Components and Electronics            251.758
136     Sinovac Biotech CoO Ltd                                 China         Biotech / Pharmaceutical / Medical Equipment          251.026
137     Beijing NineStar Technology Joint-Stock Co Ltd          China         Software                                              250.512
138     Ability Opto-Electronics Technology Co                  Taiwan        Semiconductors, Components and Electronics            248.743
139     SINFOR Technologies Co Ltd                              China         Telecommunications / Networking                       248.713
140     Hanwang Technology Co Ltd                               China         Computers / Peripherals                               248.526
141     iSoftStone Information Technology (Group) Co Ltd        China         Computers / Peripherals                               247.438


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 Rank       Company                                             Location      Industry sector                                3-year % growth

     142    Global Data Solutions Ltd                           China         Software                                              245.906
     143    Bleum Inc                                           China         Software                                              245.238
     144    Crucialtec Co Ltd                                   South Korea   Computers / Peripherals                               245.134
     145    Quick Heal Technologies Pvt Ltd                     India         Software                                              243.763
     146    Beijing Irtouch Systems Co Ltd                      China         Computers / Peripherals                               243.215
     147    Beijing Leyard Electronic Technology Co Ltd         China         Semiconductors, Components and Electronics            242.408
     148    Kern Technologies Ltd                               New Zealand   Internet                                              241.441
     149    Ansarada Pty Ltd                                    Australia     Software                                              240.073
     150    Eyede Ltd                                           New Zealand   Semiconductors, Components and Electronics            237.782
     151    Entire Technology Co Ltd                            Taiwan        Semiconductors, Components and Electronics            236.315
     152    Dnion Technology Shanghai Co Ltd                    China         Internet                                              235.392
     153    SmarTrak Ltd                                        New Zealand   Computers / Peripherals                               232.570
     154    China Enfi Engineering Corp                         China         Green Technology                                      230.228
     155    Feitian Technologies Co Ltd                         China         Software                                              229.772
     156    High Power Opto Inc                                 Taiwan        Semiconductors, Components and Electronics            229.392
     157    SGA Co Ltd                                          South Korea   Software                                              228.717
     158    Beijing Zhengdong Electronic Power Group Co Ltd     China         Green Technology                                      227.671
     159    Nazara Technologies Pvt Ltd                         India         Telecommunications / Networking                       227.023
     160    Mobile Tracking & Data Pty Ltd                      Australia     Software                                              226.968
     161    Lee's Pharmaceutical Holdings Ltd                   China         Biotech / Pharmaceutical / Medical Equipment          226.610
     162    ADICON Holding Ltd                                  China         Biotech / Pharmaceutical / Medical Equipment          225.710
     163    Wistron Information Technology & Service            Taiwan        Software                                              225.389
     164    Beijing Acctue Technology Co Ltd                    China         Software                                              223.927
     165    WARDY IT Solutions                                  Australia     Software                                              223.762
     166    Pony Testing International Group (Beijing) Co Ltd   China         Semiconductors, Components and Electronics            222.734
     167    Beijing InHand Networking Technology Co Ltd         China         Telecommunications / Networking                       222.421
     168    RosterLive                                          Australia     Software                                              221.890
     169    Utilibill Pty Ltd                                   Australia     Software                                              221.873
     170    Manipal Universal Learning Pvt Ltd                  India         Software                                              220.585
     171    Shenzhen Kingdee Middleware Co Ltd                  China         Software                                              218.801
     172    DIOSTECH Co Ltd                                     South Korea   Computers / Peripherals                               214.751
     173    MacroWell OMG Digital Entertainment Co              Taiwan        Software                                              214.744
     174    OASYS solution Inc                                  Japan         Green Technology                                      214.060
     175    Velocity Networks Ltd                               New Zealand   Telecommunications / Networking                       213.017
     176    ShareHope Medicine Co Ltd                           Taiwan        Biotech / Pharmaceutical / Medical Equipment          211.794
     177    Chia Chang Co Ltd                                   Taiwan        Semiconductors, Components and Electronics            210.162
     178    Shenzhen Rapoo Technology Co Ltd                    China         Computers / Peripherals                               208.452
     179    China Finance Online Co Ltd                         China         Software                                              206.948
     180    Zhejiang Dahua Technology Co Ltd                    China         Computers / Peripherals                               206.308
     181    China GZT Technology lnc                            China         Internet                                              205.508
     182    Beijing TONSAN Adhesive Holdings Co Ltd             China         Semiconductors, Components and Electronics            205.390
     183    China Wireless Technologies Ltd                     China         Telecommunications / Networking                       203.877
     184    e-channel Online Pty Ltd                            Australia     Internet                                              203.586
     185    Maction Technologies Inc                            Taiwan        Software                                              200.228
     186    Beijing Sinotmt Communications Technology Co Ltd    China         Telecommunications / Networking                       200.024
     187    Beijing Highlander Digital Technology Co Ltd        China         Software                                              197.612
     188    AzureWave Technologies Inc                          Taiwan        Telecommunications / Networking                       196.424
     189    Kidspot.com.au Pty Ltd                              Australia     Telecommunications / Networking                       195.358
     190    DHC Software Co Ltd                                 China         Software                                              194.062
     191    Cayenne Entertainment Technology Co Ltd             Taiwan        Software                                              193.838
     192    SuperMap Software Co Ltd                            China         Software                                              193.465
     193    Happigo Home Shopping Co Ltd                        China         Media and Entertainment                               193.423
     194    Spirit Telecom (Australia) Pty Ltd                  Australia     Internet                                              192.141
     195    Shenzhen Tat Fook Technology Co Ltd                 China         Telecommunications / Networking                       191.919
     196    NRL Pharma Inc                                      Japan         Biotech / Pharmaceutical / Medical Equipment          190.489
     197    Channelsoft Holdings Ltd                            China         Telecommunications / Networking                       189.230
     198    YUDO-SUNS Co Ltd                                    South Korea   Computers / Peripherals                               189.100
     199    Beijing Peraglobal Technology Co Ltd                China         Software                                              188.587
     200    Doubledot Media Ltd                                 New Zealand   Software                                              185.817
     201    IndiaIdeas.com Ltd                                  India         Internet                                              185.178


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Rank    Company                                                     Location      Industry sector                                3-year % growth

202     Shanghai Chaori Solar Energy Science & Technology Co Ltd    China         Green Technology                                      184.796
203     Meiya Pico Information Co Ltd                               China         Software                                              182.700
204     V-Technology Co Ltd                                         Japan         Semiconductors, Components and Electronics            181.345
205     Neo Solar Power Corp                                        Taiwan        Green Technology                                      181.290
206     Fin-e-ssential Infotech (India) Ltd                         India         Software                                              180.889
207     Sai InfoSystem (India) Ltd                                  India         Computers / Peripherals                               180.566
208     Green Web Sdn Bhd                                           Malaysia      Telecommunications / Networking                       179.840
209     Paladion Networks Pvt Ltd                                   India         Software                                              179.330
210     Watchdata System Co Ltd                                     China         Software                                              179.174
211     catchoftheday.com.au                                        Australia     Software                                              179.127
212     Fractalist China Inc                                        China         Media and Entertainment                               176.794
213     Internet Technology Group Ltd                               Singapore     Internet                                              175.483
214     Beijing Tianshun Greatwall Hydraulic Technology Co Ltd      China         Semiconductors, Components and Electronics            175.304
215     JME Engineering Co Ltd                                      China         Green Technology                                      175.028
216     Eka Software Solutions Pvt Ltd                              India         Software                                              174.997
217     MacromatiX Holdings                                         Australia     Software                                              174.241
218     Aiotec Ltd                                                  New Zealand   Computers / Peripherals                               173.722
219     Beijing Wanger Biotechnology Co Ltd                         China         Biotech / Pharmaceutical / Medical Equipment          173.680
220     NeoPhotonics (China) Co Ltd                                 China         Telecommunications / Networking                       173.611
221     Beijing Capitek Co Ltd                                      China         Software                                              173.572
222     Beijing Ultrapower Software Co Ltd                          China         Software                                              173.181
223     DIGEN Co Ltd                                                South Korea   Computers / Peripherals                               172.990
224     Hyflux Ltd                                                  Singapore     Green Technology                                      172.226
225     ValueMomentum Software Services Pvt Ltd                     India         Software                                              171.173
226     Activate Technologies Ltd                                   New Zealand   Software                                              171.017
227     TigerSpike Pty Ltd                                          Australia     Software                                              170.698
228     RCG Holding Ltd                                             China         Computers / Peripherals                               170.294
229     BlueFocus Communication Group                               China         Media and Entertainment                               169.680
230     Beijing GeoEnviron Engineering & Technology Inc             China         Green Technology                                      168.892
231     NextBiT Computing Pvt Ltd                                   India         Semiconductors, Components and Electronics            168.836
232     Beijing Hisign Technology Co Ltd                            China         Software                                              168.593
233     Sinosoft Co Ltd                                             China         Software                                              168.223
234     Beijing Forestry University Forest Science Co Ltd           China         Biotech / Pharmaceutical / Medical Equipment          167.919
235     Jeng Shiang Precision Ind Co Ltd                            Taiwan        Semiconductors, Components and Electronics            167.834
236     Winlight Co Ltd                                             Japan         Software                                              167.545
237     Adways Co Ltd                                               Japan         Internet                                              167.517
238     Senztek Holdings Ltd                                        New Zealand   Computers / Peripherals                               165.804
239     Hybio Pharmaceutical Co Ltd                                 China         Biotech / Pharmaceutical / Medical Equipment          164.962
240     Beijing Zhizhen Video Communication Science & Tech Co Ltd   China         Telecommunications / Networking                       164.553
241     Diksha Technologies Pvt Ltd                                 India         Telecommunications / Networking                       164.472
242     Siltrontech Electronics Corp                                Taiwan        Semiconductors, Components and Electronics            163.900
243     I&C Technology Co Ltd                                       South Korea   Semiconductors, Components and Electronics            162.655
244     Seclore Technology Pvt Ltd                                  India         Software                                              162.164
245     Biosensors International Group Ltd                          Singapore     Biotech / Pharmaceutical / Medical Equipment          162.147
246     Promapp Solutions Ltd                                       New Zealand   Software                                              161.543
247     Sproket Markets Ltd                                         New Zealand   Internet                                              161.318
248     Moneual Inc                                                 South Korea   Computers / Peripherals                               160.873
249     Trauson Holdings Co Ltd                                     China         Biotech / Pharmaceutical / Medical Equipment          160.725
250     Userjoy Technology Co Ltd                                   Taiwan        Media and Entertainment                               160.310
251     AZION Corp                                                  Taiwan        Software                                              159.183
252     SETi Co Ltd                                                 South Korea   Semiconductors, Components and Electronics            159.010
253     Tricubes Berhad                                             Malaysia      Computers / Peripherals                               158.383
254     Optra Systems Pvt Ltd                                       India         Biotech / Pharmaceutical / Medical Equipment          157.837
255     Test and Tag International                                  New Zealand   Computers / Peripherals                               156.305
256     Online Growth Solutions                                     Australia     Internet                                              155.743
257     Torpedo7 Ltd                                                New Zealand   Internet                                              155.570
258     Baycity Communications Ltd                                  New Zealand   Telecommunications / Networking                       154.549
259     G-Cube Webwide Software Pvt Ltd                             India         Software                                              153.007
260     Beijing Forever Technology Co Ltd                           China         Software                                              151.901
261     Silverstripe Ltd                                            New Zealand   Internet                                              151.365


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 Rank       Company                                                    Location      Industry sector                                3-year % growth

     262    BISON Electronics Inc                                      Taiwan        Semiconductors, Components and Electronics            151.101
     263    Beijing Thunisoft Co Ltd                                   China         Software                                              150.739
     264    CogState Ltd                                               Australia     Biotech / Pharmaceutical / Medical Equipment          150.694
     265    Beijing Huahuan Electronics Co Ltd                         China         Telecommunications / Networking                       150.327
     266    Mobile Mentor Ltd                                          New Zealand   Telecommunications / Networking                       150.218
     267    PSC Inc                                                    Japan         Software                                              150.106
     268    Beijing Teamsun Technology Co Ltd                          China         Software                                              149.518
     269    Medical Net Communications Inc                             Japan         Internet                                              149.417
     270    CapitalBio Corp                                            China         Biotech / Pharmaceutical / Medical Equipment          148.677
     271    Kreateevee Sdn Bhd                                         Malaysia      Software                                              148.024
     272    IPscape Pty Ltd                                            Australia     Telecommunications / Networking                       146.953
     273    Creative Distribution Automation Co Ltd                    China         Computers / Peripherals                               146.315
     274    FreeBit Co Ltd                                             Japan         Internet                                              145.573
     275    Sundia MediTech Co Ltd                                     China         Biotech / Pharmaceutical / Medical Equipment          145.413
     276    Shenzhen Sunline Tech Co Ltd                               China         Computers / Peripherals                               145.307
     277    Shanghai TianYa Information Technology Co Ltd              China         Internet                                              145.246
     278    8 Telecom International Holdings Co Ltd                    Singapore     Telecommunications / Networking                       144.354
     279    Carry Technology Co Ltd                                    Taiwan        Computers / Peripherals                               144.146
     280    OzForex Pty Ltd                                            Australia     Internet                                              144.037
     281    Insyde Software Corp                                       Taiwan        Software                                              143.456
     282    Beijing CoSci Med-Tech Co Ltd                              China         Biotech / Pharmaceutical / Medical Equipment          143.447
     283    Manthan Software Services Pvt Ltd                          India         Software                                              142.564
     284    Aura Software Security Ltd                                 New Zealand   Software                                              142.563
     285    The Sleep Store Ltd                                        New Zealand   Internet                                              142.551
     286    MEDIAFLAG Inc                                              Japan         Internet                                              141.787
     287    Sumavision Technologies Co Ltd                             China         Software                                              140.460
     288    CABR Technology Co Ltd                                     China         Software                                              140.370
     289    Bionime Corp                                               Taiwan        Biotech / Pharmaceutical / Medical Equipment          139.761
     290    Konruns Pharmaceutical Co Ltd                              China         Biotech / Pharmaceutical / Medical Equipment          139.685
     291    Ninestars Information Technologies Ltd                     India         Media and Entertainment                               138.833
     292    Beijing Shinetech China Software Inc                       China         Software                                              138.302
     293    Snap Internet Ltd                                          New Zealand   Internet                                              137.989
     294    Valueplus Inc                                              South Korea   Computers / Peripherals                               137.544
     295    Telesmart Ltd                                              New Zealand   Telecommunications / Networking                       137.144
     296    Beijing Asia-Eastbio-Pharmaceutical Co Ltd                 China         Biotech / Pharmaceutical / Medical Equipment          137.050
     297    Epileds Technologies Inc                                   Taiwan        Semiconductors, Components and Electronics            136.272
     298    ChinaSoft International Ltd                                China         Software                                              136.110
     299    Shinjiru Technology Sdn Bhd                                Malaysia      Internet                                              135.838
     300    Sincere Pharmaceutical Group                               China         Biotech / Pharmaceutical / Medical Equipment          135.677
     301    Everfirst Wisefund Technology Co Ltd                       China         Green Technology                                      134.842
     302    Enlighten Design Ltd                                       New Zealand   Internet                                              134.665
     303    Glodyne Technoserve Ltd                                    India         Software                                              134.438
     304    Beijing Siasun Electronic systematic Inc                   China         Computers / Peripherals                               133.236
     305    Stock & Investment of NARI Technology Development Co Ltd   China         Software                                              132.462
     306    Distribution Central Pty Ltd                               Australia     Software                                              130.963
     307    Gintech Energy Corp                                        Taiwan        Green Technology                                      130.218
     308    Shanghai Aowei Technology Development Co Ltd               China         Green Technology                                      129.982
     309    Barun Electronics Co Ltd                                   South Korea   Semiconductors, Components and Electronics            129.334
     310    Verve Portraits Pty Ltd                                    Australia     Computers / Peripherals                               128.703
     311    SMX Ltd                                                    New Zealand   Software                                              127.195
     312    OSUNG LST Co Ltd                                           South Korea   Semiconductors, Components and Electronics            127.163
     313    Semi-Materials Co Ltd                                      South Korea   Semiconductors, Components and Electronics            127.063
     314    Ace Digitech Co Ltd                                        South Korea   Computers / Peripherals                               126.766
     315    Ateam Inc                                                  Japan         Software                                              126.730
     316    AMG Agency Ltd                                             New Zealand   Media and Entertainment                               126.453
     317    ispONE Pty Ltd                                             Australia     Telecommunications / Networking                       125.247
     318    TaiDoc Technology Corp                                     Taiwan        Biotech / Pharmaceutical / Medical Equipment          125.144
     319    YEONHO ST Co Ltd                                           South Korea   Semiconductors, Components and Electronics            125.081
     320    Jade Bird Software Co Ltd                                  China         Software                                              125.046
     321    Hermes Microvision Inc                                     Taiwan        Semiconductors, Components and Electronics            123.858


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Rank    Company                                                 Location      Industry sector                                3-year % growth

322     ForceTEC Co Ltd                                         South Korea   Software                                              123.309
323     E-Ton Solar Tech Co Ltd                                 Taiwan        Green Technology                                      123.081
324     Shenzhen Boton Flavors & Fragrances Co Ltd              China         Biotech / Pharmaceutical / Medical Equipment          122.004
325     Panasonic Electric Works Shin Dong-A Co Ltd             South Korea   Computers / Peripherals                               121.790
326     XPEC Entertainment Inc                                  Taiwan        Software                                              119.972
327     Beijing iTowNet Cyber Technology Ltd                    China         Software                                              119.336
328     VeriSilicon Holdings Co Ltd                             China         Semiconductors, Components and Electronics            118.662
329     Abnova (Taiwan) Corp                                    Taiwan        Biotech / Pharmaceutical / Medical Equipment          118.422
330     AVACO Co Ltd                                            South Korea   Computers / Peripherals                               118.229
331     AsiaPay Ltd                                             China         Internet                                              118.130
332     RateGain IT Solutions Pvt Ltd                           India         Software                                              117.291
333     TIS-KOREA Co Ltd                                        South Korea   Semiconductors, Components and Electronics            116.408
334     Win Semiconductors Corp                                 Taiwan        Semiconductors, Components and Electronics            116.302
335     LatentView Analytics Pvt Ltd                            India         Software                                              116.064
336     Baycom Opto-Electronics Technology Co                   Taiwan        Telecommunications / Networking                       115.718
337     Cellestis Ltd                                           Australia     Biotech / Pharmaceutical / Medical Equipment          114.472
338     OPTIS Co Ltd                                            South Korea   Computers / Peripherals                               114.106
339     Food & Commodity Brokers 2008 Ltd                       New Zealand   Internet                                              112.901
340     China Cord Blood Corp                                   China         Biotech / Pharmaceutical / Medical Equipment          112.208
341     Huanding Energy Services                                China         Green Technology                                      110.897
342     Ferret Software Ltd                                     New Zealand   Software                                              110.716
343     Mobile Commerce Ltd                                     New Zealand   Telecommunications / Networking                       110.667
344     RACCOON Co Ltd                                          Japan         Internet                                              110.463
345     Beijing Blue Sky Technologies Inc                       China         Software                                              109.621
346     VITZROTECH Co Ltd                                       South Korea   Computers / Peripherals                               109.317
347     Lien Chang Electronic Enterprise Co Ltd                 Taiwan        Semiconductors, Components and Electronics            109.213
348     Funmobile Holdings Ltd                                  China         Internet                                              108.505
349     Beijing elong Technology Co Ltd                         China         Internet                                              108.065
350     MIA Technology Pty Ltd                                  Australia     Telecommunications / Networking                       107.558
351     MELFAS Inc                                              South Korea   Computers / Peripherals                               107.028
352     Crestech Software Systems Pvt Ltd                       India         Software                                              106.784
353     Jiangsu Nandasoft Technology Co Ltd                     China         Telecommunications / Networking                       106.133
354     MyEG Services Berhad                                    Malaysia      Internet                                              105.965
355     Experience Networks Ltd                                 New Zealand   Internet                                              105.920
356     Beijing King-Top science and technology Inc             China         Computers / Peripherals                               104.622
357     Syncmold Enterprise Corp                                Taiwan        Semiconductors, Components and Electronics            104.228
358     Hanjin Ind Co Ltd                                       South Korea   Green Technology                                      103.674
359     3i Infotech Ltd                                         India         Software                                              103.154
360     LEO Systems Inc                                         Taiwan        Software                                              102.780
361     Beijing Beida Software Engineering Development Co Ltd   China         Software                                              102.673
362     Stratatel Ltd                                           Australia     Software                                              101.736
363     Woosoo Electronic Co Ltd                                South Korea   Computers / Peripherals                               101.705
364     PropertyIQ NZ Ltd                                       New Zealand   Internet                                              101.623
365     Geodesic Ltd                                            India         Software                                              101.420
366     Viocorp International Pty Ltd                           Australia     Software                                              101.069
367     Anantara Solutions Pvt Ltd                              India         Software                                              100.822
368     Emendo Ltd                                              New Zealand   Software                                              100.712
369     Start Today Co Ltd                                      Japan         Internet                                               99.890
370     Strand Life Sciences Pvt Ltd                            India         Biotech / Pharmaceutical / Medical Equipment           99.883
371     IP Payments                                             Australia     Software                                               99.394
372     Chunghwa Chemical Synthesis & Biotech Co                Taiwan        Biotech / Pharmaceutical / Medical Equipment           98.815
373     C.C.P. Contact Probes Co Ltd                            Taiwan        Semiconductors, Components and Electronics             98.500
374     Controlnet International Inc                            Taiwan        Software                                               98.418
375     Quality Engineering and Software Technologies Pvt Ltd   India         Software                                               98.330
376     Sunrex Technology Corp                                  Taiwan        Computers / Peripherals                                98.301
377     Trust-Search Corp                                       Taiwan        Semiconductors, Components and Electronics             98.080
378     Apex Science & Engineering Corp                         Taiwan        Semiconductors, Components and Electronics             97.894
379     BK LCD Co Ltd                                           South Korea   Computers / Peripherals                                97.807
380     IMImobile Pvt Ltd                                       India         Telecommunications / Networking                        97.534
381     O-RID Co Ltd                                            Japan         Software                                               97.468


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 Rank       Company                                                                    Location      Industry sector                                3-year % growth

     382    Sedania Corp Sdn Bhd                                                       Malaysia      Software                                                97.129
     383    Viteknolgoies Pty Ltd                                                      Australia     Internet                                                96.875
     384    Valuefirst Messaging Pvt Ltd                                               India         Telecommunications / Networking                         96.837
     385    Wayi International Digital Entertainment                                   Taiwan        Software                                                96.599
     386    Beijing Join-Cheer Software Co Ltd                                         China         Software                                                96.312
     387    Vista Entertainment Solutions Ltd                                          New Zealand   Software                                                96.286
     388    Beijing Mainone Zhida Technology Co Ltd                                    China         Computers / Peripherals                                 95.354
     389    Edison Opto Corp                                                           Taiwan        Semiconductors, Components and Electronics              94.706
     390    TracMap NZ Ltd                                                             New Zealand   Computers / Peripherals                                 94.368
     391    Capella Microsystems (Taiwan) Inc                                          Taiwan        Semiconductors, Components and Electronics              94.026
     392    Sense of Security Pty Ltd                                                  Australia     Internet                                                93.718
     393    CNA Group Ltd                                                              Singapore     Software                                                92.047
     394    Aemulus Corp Berhad                                                        Malaysia      Semiconductors, Components and Electronics              91.279
     395    aurionPro Solutions Ltd                                                    India         Software                                                91.254
     396    Camson Bio Technologies Ltd                                                India         Biotech / Pharmaceutical / Medical Equipment            90.822
     397    Wistron Corp                                                               Taiwan        Computers / Peripherals                                 90.639
     398    iiNet                                                                      Australia     Internet                                                89.444
     399    EC Navi Co                                                                 Japan         Internet                                                89.275
     400    Raydium Semiconductor Corp                                                 Taiwan        Semiconductors, Components and Electronics              88.262
     401    DataPro Solutions Ltd                                                      New Zealand   Software                                                88.152
     402    inTarvo Technologies Ltd (formerly known as RT Outsourcing Services Ltd)   India         Telecommunications / Networking                         87.594
     403    MNC Wireless Berhad                                                        Malaysia      Telecommunications / Networking                         87.532
     404    UDE Corp                                                                   Taiwan        Semiconductors, Components and Electronics              87.401
     405    Neople Inc                                                                 South Korea   Software                                                86.424
     406    Revolution IT                                                              Australia     Software                                                85.802
     407    Praemium Ltd                                                               Australia     Software                                                85.665
     408    Sound Global Ltd                                                           Singapore     Green Technology                                        85.487
     409    Cross-Tab Marketing Services Pvt Ltd                                       India         Internet                                                84.661
     410    ICSA (India) Ltd                                                           India         Semiconductors, Components and Electronics              84.504
     411    Atlassian Corp Pty Ltd                                                     Australia     Software                                                84.422
     412    Beijing Guangyao Electricity Equipment Co Ltd                              China         Green Technology                                        83.960
     413    Chinese Gamer International Corp                                           Taiwan        Software                                                82.550
     414    Learning Seat                                                              Australia     Internet                                                82.210
     415    Beijing Yuan De Biomedicine project Ltd                                    China         Biotech / Pharmaceutical / Medical Equipment            81.805
     416    Silver Egg Technology Co Ltd                                               Japan         Internet                                                81.660
     417    Beyonics Technology Ltd                                                    Singapore     Semiconductors, Components and Electronics              80.830
     418    Mindteck (India) Ltd                                                       India         Software                                                80.775
     419    Micro Technologies (India) Ltd                                             India         Software                                                80.388
     420    S-ENERGY Co Ltd                                                            South Korea   Green Technology                                        79.959
     421    Direct Payment Solutions Ltd                                               New Zealand   Telecommunications / Networking                         79.694
     422    NOWCOM Co Ltd                                                              South Korea   Internet                                                79.620
     423    Meere Co Inc                                                               South Korea   Semiconductors, Components and Electronics              79.177
     424    Generation-e                                                               Australia     Telecommunications / Networking                         79.067
     425    J Touch Corp                                                               Taiwan        Semiconductors, Components and Electronics              78.935
     426    CBS MSC Sdn Bhd                                                            Malaysia      Software                                                78.656
     427    CADX Pty Ltd (trading as ProjectCentre.net)                                Australia     Internet                                                78.375
     428    Fortune Semiconductor Corp                                                 Taiwan        Semiconductors, Components and Electronics              77.896
     429    TechnoDex Solutions Sdn Bhd                                                Malaysia      Software                                                77.644
     430    My Net Fone                                                                Australia     Telecommunications / Networking                         77.590
     431    Bulletproof Networks                                                       Australia     Internet                                                77.556
     432    RITEQ Pty Ltd                                                              Australia     Software                                                77.511
     433    Tung Thih Electronic Co Ltd                                                Taiwan        Semiconductors, Components and Electronics              77.489
     434    Primeworks Corp                                                            Japan         Software                                                76.988
     435    Green Energy Technology Inc                                                Taiwan        Green Technology                                        76.473
     436    MphasiS Ltd                                                                India         Software                                                75.970
     437    Chillisoft Ltd                                                             New Zealand   Software                                                75.729
     438    BrainPad Inc                                                               Japan         Software                                                75.503
     439    Hanu Software Solutions Indis Pvt Ltd                                      India         Software                                                75.226
     440    Ugam Solutions Pvt Ltd                                                     India         Internet                                                74.996
     441    Aptos Technology Inc                                                       Taiwan        Semiconductors, Components and Electronics              74.801


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Rank    Company                                   Location      Industry sector                                3-year % growth

442     eMemory Technology Inc                    Taiwan        Semiconductors, Components and Electronics              74.660
443     Silicon Works Co Ltd                      South Korea   Computers / Peripherals                                 74.605
444     Walsin Technology Corp                    Taiwan        Semiconductors, Components and Electronics              74.536
445     RedBalloon                                Australia     Internet                                                74.277
446     Singatron Enterprise Co Ltd               Taiwan        Semiconductors, Components and Electronics              73.731
447     OnMobile Global Ltd                       India         Telecommunications / Networking                         73.558
448     KHVatec Co Ltd                            South Korea   Computers / Peripherals                                 73.215
449     Voltage Inc                               Japan         Software                                                72.562
450     Dynacard Co Ltd                           Taiwan        Semiconductors, Components and Electronics              72.562
451     Message4U Pty Ltd                         Australia     Telecommunications / Networking                         72.466
452     Indus Net Technologies                    India         Internet                                                72.463
453     Solar Applied Materials Technology Corp   Taiwan        Semiconductors, Components and Electronics              72.373
454     Bahwan CyberTek Pvt Ltd                   India         Software                                                71.972
455     Simplex Technology Inc                    Japan         Software                                                71.866
456     Tri-Stage Inc                             Japan         Media and Entertainment                                 71.373
457     Moshtix                                   Australia     Internet                                                71.322
458     Harbinger Knowledge Products Pvt Ltd      India         Software                                                70.907
459     Pilot Electronics Corp                    Taiwan        Computers / Peripherals                                 70.849
460     Polygon Pictures Inc                      Japan         Media and Entertainment                                 70.826
461     Joyin Co Ltd                              Taiwan        Semiconductors, Components and Electronics              70.661
462     E-Web Marketing Pty Ltd                   Australia     Internet                                                70.601
463     I-FREEK Inc                               Japan         Software                                                70.358
464     Beijing Northland Biotech Co Ltd          China         Biotech / Pharmaceutical / Medical Equipment            70.325
465     Viking Tech Corpoaration                  Taiwan        Semiconductors, Components and Electronics              70.284
466     Vision 6 Pty Ltd                          Australia     Software                                                69.914
467     InfoSoft Global Pvt Ltd                   India         Software                                                69.839
468     LuxNet Corp                               Taiwan        Semiconductors, Components and Electronics              69.674
469     Inventec Corp                             Taiwan        Computers / Peripherals                                 69.668
470     Quinntessential Marketing                 Australia     Software                                                69.614
471     LB Semicon Inc                            South Korea   Semiconductors, Components and Electronics              69.419
472     Fitipower Integrated Technology Inc       Taiwan        Semiconductors, Components and Electronics              69.047
473     Stampede Solution Sdn Bhd                 Malaysia      Software                                                68.946
474     MAG Layers Scientific-Technics Co Ltd     Taiwan        Semiconductors, Components and Electronics              68.721
475     SmarTeam Corp                             Taiwan        Semiconductors, Components and Electronics              68.605
476     Sirtex Medical Ltd                        Australia     Biotech / Pharmaceutical / Medical Equipment            68.449
477     NatureWise Biotech & Medicals Corp        Taiwan        Biotech / Pharmaceutical / Medical Equipment            68.060
478     Talentica Software (India) Pvt Ltd        India         Software                                                67.768
479     Hengxin Technology Ltd                    Singapore     Telecommunications / Networking                         67.763
480     SmartPayroll Ltd                          New Zealand   Internet                                                67.476
481     Yahoo!Xtra New Zealand Ltd                New Zealand   Telecommunications / Networking                         67.304
482     LEAP Legal Software                       Australia     Software                                                67.242
483     eChem Solutions Corp                      Taiwan        Semiconductors, Components and Electronics              66.778
484     Patron Co Ltd                             South Korea   Semiconductors, Components and Electronics              66.650
485     Digitech Systems Co Ltd                   South Korea   Computers / Peripherals                                 66.178
486     Microqual Techno Pvt Ltd                  India         Telecommunications / Networking                         66.159
487     QuieTek Corp                              Taiwan        Semiconductors, Components and Electronics              65.871
488     Grape King Inc                            Taiwan        Biotech / Pharmaceutical / Medical Equipment            65.786
489     Woojin Industrial Systems Co Ltd          South Korea   Computers / Peripherals                                 65.068
490     ORO Co Ltd                                Japan         Software                                                64.618
491     Taiwan Panbiotic Laboratories Co Ltd      Taiwan        Biotech / Pharmaceutical / Medical Equipment            64.597
492     Omnitech InfoSolutions Ltd                India         Software                                                64.557
493     Sino-American Silicon Products Inc        Taiwan        Semiconductors, Components and Electronics              64.094
494     Interspace Co Ltd                         Japan         Telecommunications / Networking                         64.006
495     Actoz Soft Co Ltd                         South Korea   Software                                                63.749
496     San Chih Semiconductor Co Ltd             Taiwan        Semiconductors, Components and Electronics              63.098
497     Mitake Information Corp                   Taiwan        Semiconductors, Components and Electronics              62.914
498     Digital Innovation Display Corp           South Korea   Computers / Peripherals                                 62.890
499     Powernet Technologies Corp                South Korea   Computers / Peripherals                                 62.215
500     Net Starter                               Australia     Internet                                                62.173




                                                                                                                             23
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Deloitte Technology Fast 500
Asia Pacific 2010 CEO Survey



About the survey                              All graph data is sourced from the Deloitte Technology Fast 500 Asia Pacific 2010 CEO Survey.

Every year since 2002, the 500 CEOs of
the fastest-growing technology companies
                                              CEO Survey participation by location
in Asia Pacific for the current year are
surveyed as part of the overall Deloitte      (Total responses: 245)
Technology Fast 500 Asia Pacific program.
These CEOs are asked about their growth
experiences and challenges. We look for
                                                                 India                                                               65
their perspectives on new trends and we ask
them to forecast their company’s journey
into the future.                                               China                                                       57


This survey was undertaken in the fourth                     Australia                                32
quarter of 2010 by 245 CEOs across the
Asia Pacific region.
                                                                Japan                            25


Geographic distinctions set companies
                                                         New Zealand                       20
in Asia Pacific apart

With another year in the shadow of the                    South Korea                 16
global financial downturn, the Deloitte
Technology Fast 500 Asia Pacific survey
                                                             Malaysia                 16
probed deeply into the issues facing fast-
growing companies. The DTTL TMT group
sought to understand how governments                           Taiwan            13

were playing a role in mitigating financial
pressures—both in terms of stimulus                         Singapore        1
spending and forms of taxation.
                                                                         0                  20               40                 60        80
We queried about sources of financing,
and sought to understand how a few
                                                                                                       Number of surveys
key industry trends—future markets in
carbon credits and cloud-based application
services—were making an impact on
revenue performance. The 245 CEOs who
participated gave a clear message that
geography matters. See how their answers
shape up in the next pages.




                                                                                                                                               25
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Economy pressures today and tomorrow
Distinctions by market                           In the past 12 months, how have the economies fared in the key geographies in which
                                                 your company sells its products or services?
Almost half of the surveyed CEOs claimed
overall growth drove the economies where
they sold products and services. Of this half,
                                                             Overall growth                                                  49%
70% hailed from India and China. The 35%
who cited mixed performance and the 10%
who experienced decline were mainly from                 Mixed performance                                    35%
other Asia Pacific regions.
                                                             Overall decline        10%


                                                                No change          6%


                                                                               0          10   20        30          40         50




Mixed outlook                                    In the next 12 months, how do you think the economy will perform in your company’s
                                                 primary markets?
By far, the majority of the 54% of CEOs
believing in a strong growth outlook are
from India and China. Notably, the opposite
                                                             Strong growth                                                           54%
is true for CEOs from New Zealand, Japan
and South Korea where they see weak
economic performance in the next                              Weak growth                                           41%
12 months.
                                                                  Negative
                                                                                   2%
                                                                   growth


                                                                No change          3%


                                                                             0          10     20        30          40         50




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Next year, it will get better and                            In the next 12 months, what are the key external factors that you expect to improve
this is why                                                  your company’s outlook?

The respondent CEOs believe the                                       Acceleration of growth in
                                                                                                                                                                         177
                                                              industry markets we are selling to
growth potential of industry markets
(177); economic recovery (145); and                                                      Economic
                                                                                                                                                            145
diversification into new geographical                                                     recovery
markets (135) will be the top three
                                                                         Diversification into new
drivers for their companies’ improved                                      geographical markets
                                                                                                                                                          135
outlook next year.
                                                                Increased demand as customers
                                                                                                                                62
                                                                        rebuild their inventories


                                                                  Growing availability of capital                               61


                                                                          Growing availability of
                                                                                                                            58
                                                                        suitably qualified recruits


                                                                               Lower input prices               28


                                                                            Lower cost of capital          20


                                                                                                       0              40                  80        120            160          200


But take caution                                             In the next 12 months, what are the key external factors that you expect to negatively
                                                             affect your company’s outlook?
Concern over rising input costs
plagues 110 CEOs, while talent woes
                                                                               Rising input prices                                                                        110
cast a shadow for 93 CEOs who have
difficulty finding qualified recruits.
India is most concerned about talent             Falling availability of suitably qualified recruits                                                              93

than any other factor. Meanwhile,
Japan’s greatest fears are taxes,                Other forms of tax rise, eg social security levy,
                                                                                                                                               61
                                                       which increase our cost of employment
whether corporate tax, income tax
or other tax forms.
                                                                       Rising corporate tax rates                                         49


                                                                            Higher cost of capital                                   42


                                                                        Growing regulation and
                                                                                                                                 41
                                                                       compliance requirements


                                                                          Rising income tax rates                                40


                                                                           Political instability in
                                                                                                                                38
                                                                       markets we are selling to


                                                                     Falling availability of capital                 23

NB: Multiple-choice answers were requested for
the above two survey questions.                                                                    0                       30                  60                 90            120
                                                                                                                                                                                27
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The downturn sets in
Nearly half (45%) of the 245 CEOs surveyed reported the economy had declined or experienced mixed performance in their primary markets.
We asked what effect this had on eight factors of growth and the responses showed both positive and negative spin-offs. First, the negative…


Revenue growth rate slows                            Has the economic downturn affected your company's revenue growth rate?

Of the 45% of companies reporting mixed
                                                                     Yes, a little                                                                  51%
growth or decline in their key geographies,
51% said the economy had a minor impact                                Yes, a lot                                     27%
on reducing their revenue growth rate; 27%
                                                                              No                     16%
reported a major impact; while 16% cited
no impact.                                                        Not applicable          6%


                                                                                     0         10               20          30           40         50



Profitability declines                               Has the economic downturn affected your company's gross margin?

Nearly two-thirds of respondent companies
                                                                     Yes, a little                                                                  52%
(73%) indicate that they are less profitable
as a result of the declining economy.                                         No                                22%

                                                                       Yes, a lot                           21%

                                                                  Not applicable         5%


                                                                                     0         10               20          30           40         50




Financing costs more                                 Has the economic downturn affected the cost of finance / capital?

There are more hurdles to accessing capital
                                                                     Yes, a little                                                            47%
for growth companies, with 65% saying the
cost of finance/capital is more expensive.                                    No                                                 35%

                                                                       Yes, a lot                         18%


                                                                                     0         10               20          30           40         50




Price points depreciate                              Has the economic downturn caused you to lower average sales prices?

The majority of respondents (81%) have had
                                                                     Yes, a little                                                     60%
to adjust to economic pressures by lowering
their average sales prices.                                            Yes, a lot                   21%

                                                                              No               19%


                                                                                     0         10               20          30           40         50


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The upside of the downside
On the flip side of the coin, the downturned economy has provided some financial bright spots for the 45% of companies who experienced mixed or
depreciated performance in the past 12 months—related mainly to human resources and operational expenses.


Recruitment advantages                              Have you seen an increase in the availability of labour?

It is easier to hire employees for 58% of the
                                                                     Yes, a little                                                        50%
Asia Pacific companies surveyed, yet 33%
are not seeing a recruiting benefit.                                          No                                     33%

                                                                  Not applicable         9%

                                                                       Yes, a lot        8%


                                                                                     0        10         20          30        40           50


Labour costs down                                   Have you seen a decrease in the cost of labour?

Payroll costs have decreased for 52% of
                                                                     Yes, a little                                                  44%
respondents: 44% saw a minor impact
and 8% saw a major impact on their cost                                       No                                           39%
of labour.
                                                                  Not applicable         9%

                                                                       Yes, a lot        8%


                                                                                     0        10         20          30        40           50



Material matters less                               Have you seen a decrease in the cost of physical inputs?

The cost of physical inputs has significantly
                                                                     Yes, a little                                            41%
decreased for only 10% of respondent
companies, and slightly decreased for 41%.                                    No                                 31%

                                                                  Not applicable                   18%

                                                                       Yes, a lot        10%


                                                                                     0        10         20          30        40           50



More purchasing power                               Have you seen a decrease in the cost of target acquisitions?

For half of the surveyed companies in Asia
                                                                  Not applicable                               29%
Pacific, acquisition costs have declined due
to economic factors.                                                 Yes, a little                             28%

                                                                       Yes, a lot                        22%

                                                                              No                     21%


                                                                                     0        10         20          30        40           50

                                                                                                                                            29
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Industry trends
Two of the key industry trends observed in other markets are slowly impacting on the growth of technology companies in Asia Pacific.




Carbon credits                                            In the next 12 months, is your company going to be adjusting its strategy in
                                                          anticipation of future markets in carbon credits?
While 47% of Asia Pacific CEOs claim
that future markets in carbon credits are
not relevant, 13% of CEOs will be
                                                                          No, not relevant                                                  47%
actively adjusting their strategy in the
next year—mostly those running
China-based companies.                       We are aware of carbon credits, but have not
                                            evaluated its potential impact on our company                          28%


                                                                Yes, this is a major part of
                                                                                                   13%
                                                                     our strategic thinking


                                                We have evaluated the possible impact of
                                                carbon credits, but have not implemented           12%
                                                           any changes as a result of this

                                                                                               0   10        20           30           40         50




Cloud-based applications                                  Considering cost of inputs, has the availability of cloud-based application services
                                                          had an impact on your company’s growth?
A healthy number of companies are
seeing the growth impact of cloud-based
application services. Twenty-three percent of
CEOs say these services have helped them                                    Not applicable                                      30%

grow more quickly; another 21% say their
growth has been achieved at a lower cost,                            It has had no impact                                 26%
as a result.

                                                                It has helped us to grow /
                                                                        scale more quickly                          23%


                                                                It has allowed us to grow
                                                                            at a lower cost
                                                                                                                  21%


                                                                                               0        10         20             30              40




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                                                                                    31
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The power of a good product
Products are credited for growth, past and present.




Key factors influencing growth                          Over the last five years, what are the key factors that have enabled your company to
                                                        attain its fastest growth?
Looking back over the last five years,
CEOs say that a strong product line
(143); quality of top management (123);
selling skills (117); and developing                                 Strong product line                                                             143
proprietary intellectual property (115)
have been the key factors contributing                      Quality of top management                                                          123
to their fast growth.

                                                                       Selling capabilities                                              117


                                                               Investment in developing
                                                                                                                                         115
                                                         proprietary intellectual property


                                                                           Singular focus                                              108



                                                      Starting from a small revenue base                                       93



                                                                                   Timing                                     92


                                                                 Changing focus to new
                                                                                                                              91
                                                                 product(s) / service lines


                                                                Changing target market                      45



                                                                            M&A activity               31



                                                                       Lean procurement           20
NB: Multiple-choice answers.
                                                                                              0        30        60           90             120           150


                                                                                                                 Number of responses




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Key changes to spur growth                    Over the next 12 months, what are the key changes that you will implement to
                                              increase your company’s growth?
Next year, CEOs in Asia Pacific are placing
their company’s growth prospects in the
hands of new product launches (175),
new staff (165) and new geographical                  Launch new product(s)                                                             175
markets (152).
                                                               Hire new staff                                                         165



                                              Enter new geographical markets                                                   152



                                                                Increase R&D                                                   149



                                                    Enter new vertical sectors                              93



                                                      Engage in M&A activity                        73



                                                                 Raise capital                 66



                                              Augment our board of directors         32



                                                        Improve procurement          32


                                                                                 0        50                     100            150           200


                                                                                                         Number of responses




                                                                                                                                              33
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Location matters
The role of government and national debt levels are not reported as playing a major role in revenue performance.




Stimulus spending                                                   Over the past 12 months, has stimulus spending affected your company’s
                                                                    revenue performance?
Stimulus spending is playing a small role
in revenue performance of the respondent
companies, with the exception of Taiwan
                                                                                No                                              41%
where half of the surveyed CEOs say the
impact has been major.
                                                                       Yes, a little                                      34%


                                                                    Not applicable                     20%


                                                                         Yes, a lot        5%


                                                                                       0         10       20         30          40         50




National debt                                                       Over the next 12 months, do you expect concerns about national debt
                                                                    levels in your primary markets will affect your sales?
National debt levels will not impact sales for
48% of CEOs surveyed, while another 20%
do not view the national debt to be relevant.
                                                                                No                                                    48%


                                                                       Yes, a little                               29%


                                                                    Not applicable                     20%


                                                                         Yes, a lot         3%


                                                                                       0         10       20         30          40         50




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Where is the money?
Sources of finance are found close to home and most companies have no plans, or modest plans, to raise capital.




Operational income brings home                   To date, what have been your company’s principal / most important sources of financing?
the bacon


Money is primarily flowing in from
operations for almost all companies, with                  Cash flow from operations                                                            218
218 of the 245 CEOs citing cash flow from
operations as their principal source of
                                                      Founders' personal investment                            87
finance. One-third relied on their founders’
personal debt for financing.
                                                                     Commercial debt                     50



                                                                       Venture capital                   48



                                                     Public offering of securities / IPO            34



                                                                         Private equity    21



                                                                      Angel financing      18



                                                                    Strategic partners     18


                                                     Private placement of securities /
                                                                                                13
                                                                  follow-on offering


                                                         Friends and family financing           8
NB: Multiple-choice answers.
                                                                                       0                  50        100         150       200         250


                                                                                                                    Number of responses




                                                                                                                                                      35
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Future financing needs rely on             In the next 12 months, what do you expect will be your company’s principal / most
operations                                 important sources of financing?

Cash will be king in the next 12 months
too. More than any other source, CEOs
                                                  Cash flow from operations                                                                 221
expect operations (221) to meet their
future financing needs, followed by
commercial debt (51), strategic partners                    Commercial debt                         51
(43) and venture capital (37).
                                                           Strategic partners                  43



                                                              Venture capital              37



                                                                Private equity            35



                                            Public offering of securities / IPO           32


                                             Private placement of securities /
                                                                                               24
                                                          follow-on offering


                                              Founders’ personal investment                    23



                                                             Angel financing          6



                                                Friends and family financing          2
NB: Multiple-choice answers.
                                                                                  0                 50           100         150      200         250


Raising capital                            In the next 12 months, if your company is planning to raise capital (equity or debt),
                                           what amount do you expect to raise?
While over one-third of the 245 surveyed
companies are not planning to raise
capital next year, 40% will seek over
USD5 million and 26% will seek under                     Over USD25 million                         11%

USD5 million.
                                                      USD10–USD25 million                                 14%



                                                        USD5–USD10 million                                 15%



                                                         USD0–USD5 million                                                    26%



                                                Not planning to raise capital                                                             34%


                                                                              0                      10%               20%          30%           40%


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Conclusions
Reality sets in                                                                Seizing opportunities in a shifting industry

Over the nine years of this survey, the prevailing attitude of participating   In a world where change is the only constant, the Asia Pacific technology
CEOs has been one of optimism and an expectation of fast and                   sector appears to be closely monitoring new business paradigms shaping
sustainable growth. Even last year, as the global business landscape           the industry. Cloud computing, while receiving attention for its potential
turned downwards, the Asia Pacific CEOs questioned in the Deloitte             to shift the fundamental business model of delivering and consuming IT
Technology Fast 500 CEO Survey saw the silver lining and predicted             services, is making a quiet appearance on the Asia Pacific scene. Of the
positive outlooks in their future.                                             245 CEOs who participated in the annual survey, 23 percent indicated
                                                                               that cloud-based application services have helped them grow more
It seems that over the past 12 months, the optimism has waned and              quickly, while 21 percent say it brought costs down.
reality has set in. Nearly half (45 percent) of CEOs reported mixed
performance or an overall decline in the economies where they sell             The same cautious approach is apparent in another industry trend—
products and services. As for the future, 43 percent predict weak or           future markets in carbon credits. Among the Asia Pacific companies
negative growth. These statistics are a stark contrast to last year’s          surveyed, 13 percent are early adopters who will be including carbon
confidence, which loomed large in their approach to growth targets,            strategies in their business planning. Another 12 percent have evaluated
markets and customers.                                                         the impact of carbon credits, but will not be implementing changes,
                                                                               while 28 percent are aware, but are taking a “wait-and-see” approach.
That is not to say growth is not alive and well. The average growth rate
for the 500 ranking companies in 2010 was 374 percent, slightly up             With global warming debates shaping the political and business
from last year. The top 28 companies had growth over 1,000 percent.            landscape; major potential restructuring of the IT business model; and
This is an improvement from 2009, when only the top 20 companies               the residual effects of a bruised economy, it is a significant vote of
experienced growth over 1,000 percent.                                         confidence to see growing technology companies embracing
                                                                               new opportunities and positioning for change—even with
                                                                               undertones of watchfulness.
Geography matters

India and China are clearly in a category of their own. Most CEOs from
these countries experienced overall growth in their markets and expect
to do likewise in the next 12 months. In fact, only 14 percent of CEOs
from India and China did not see growth and only 12 percent do not
predict growth for the future.

The numbers paint a different picture elsewhere in the Asia Pacific
region, where CEOs are generally feeling the sting of the financial
downturn. In Australia, Malaysia, Taiwan and Japan, over 50 percent
of CEOs cited mixed performance in the past year. Overall decline was
keenly felt by CEOs reporting for New Zealand and South Korea. And
CEOs generally do not take a reverse position for the next 12 months—
overwhelmingly, they see the economies continuing to be weak.

Yet, all hope is not lost for the steadfastly confident and ambitious Asia
Pacific CEOs. More than half of CEOs say they are going where the
growth is—the majority cite the potential of industry markets and new
geographical markets as top drivers for improving their companies'
outlook next year.




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Technology Fast 500 faces:
Vocus in focus



Australia has a star performer:
new-kid-on-the-block Vocus
Communications—an independent
wholesale internet operator, which
has experienced an incredible
11,306% growth in revenue over
the past three years. In the 2009
Deloitte Technology Fast 50
Australia program, Vocus was
named a Rising Star…and it has not                                          Case in point
disappointed for 2010. Vocus ranks
number two across Asia Pacific.                                             In August 2008, Vocus committed
                                                                            to providing IPv6 transit services
From Rising Star to the top ten
                                                                            to all ISPs and telecommunications
In 2010, Vocus’ ascent was shaped by key milestones:
                                                                            companies with a 100% service
• Becoming an ASX-listed company in July 2010.

• Signing a NZD11.3 million multi-year contract to supply Vodafone
                                                                            level agreement—no catches and
     New Zealand’s international internet access in August 2010.            no contracts. This allows any
• Announcing a 501% increase in profitability in its first annual report
     as a listed company in 2010.
                                                                            provider access to IPv6 at no cost.
What’s behind its success? CEO James Spenceley discloses two things
                                                                            More importantly, providers could
about his company’s philosophy.                                             offer these services to corporate
1. It’s about the customer                                                  and residential customers. Few
"The secret is to stay true to your initial goals and promises, and to      companies even sell an IPv6
always treat each customer equally and with respect," says James. "We
started with the ethos of delivering exceptional customer service and
                                                                            service; no one provides the service
going above and beyond to satisfy individual needs. No matter how
rapidly you grow or how many extra customers you acquire, it is essential
                                                                            at zero cost.
to maintain and spread your values throughout your organization."




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2. Disrupt the market
                                                                                    Advice to new start-ups
Although "think outside the box" has been said before, Vocus
approaches business differently. "As a young, innovative company,                   • Do not be afraid to be different.
Vocus strives to do things the way they should be done, rather than                 • Identify a niche where you can excel.
copy the way they have always been done. Essentially, we’ve disrupted
                                                                                    • Assemble a skilled team.
the market in a positive way," says James.
                                                                                    • Develop a strong business model and execute it well.

As the only independent wholesale internet-transit operator in New                  James Spenceley, CEO, Vocus Communications
Zealand, Vocus has identified a niche in which to excel. Sure, its bread
and butter comes from the long-term contracts and steady income
of IP transit services. But they have used innovation and challenged         Horizons
market assumptions to differentiate themselves as a premium,
customer-centric operator.                                                   While its biggest challenge in recent years has been to move from
                                                                             being a small, private company to a mid-size, listed company, James
"This is our niche and we aim to excel within it by providing vastly         concedes that growing at such exceptional speed is uppermost in his
superior customer service compared to our competitors," says James.          mind for the future. To that end, Vocus is positioning itself for its next
Not surprisingly, Vocus is responsible for routing almost all IPv6           stage of development with the recent announcement of its reverse
connectivity in Australia.                                                   listing to provide the much-needed capital it needs to grow.

                                                                             With its collaborative leadership team in place and a dynamic,
Challenging beginnings
                                                                             innovative cohort of 23 employees, it is hard not to expect big things
                                                                             from this small, growing company that consistently punches above
Every start-up has its stories of pain. The Vocus team cut its teeth on a
                                                                             its weight.
well-funded, conceptually-sound company that ultimately failed due to
a poor business plan and cost-control problems. With experience and
                                                                             "In the early days, one of the toughest challenges is making people
contacts gained, however, it: timed its re-emergence in 2008 just right;
                                                                             believe you are as good as you know you are," says James. This is
paid staff with options; and kept costs under tight control.
                                                                             unlikely to be the case anymore. Winning the Australian Deloitte Rising
                                                                             Star award in 2009 confirmed that they had "made it" in the industry,
"We worked very hard to reach scale and did this through
                                                                             adds James.
differentiation in customer service. With this approach, we reached
profitability in our first year and were cash-flow positive in 14 months,"
says James.

"Difficult as this time was, we matured as a company and today we
welcome any new challenges that push us to think outside the box and
do better," says James.

It is second nature for James to seek opportunities in the face of
challenges. Here is a man who set up his first ISP at the age of 20
and designed and deployed the COMindico (later to be known as
Soul) network—at the time regarded as the single largest and only
converged voice and data network in Australian history. He is credited
with not being able to "just do his job", because he is constantly
looking for a better, smarter, quicker and cheaper way of doing things.




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                                Exhibit E
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Connect. Grow. Inspire.
Technology Fast500™
Asia Pacific 2011
Winners Report
and Ranking
                                                                                       Case: 1:16-cv-11099 Document #: 45-1 Filed: 01/06/17 Page 124 of 201 PageID #:881


Contents                                                                                                                              Foreword
Foreword                                                                                            1                                 This is the tenth year of the Deloitte Touche Tohmatsu Limited (DTTL)       grocery and basic household-items franchise of choice for China’s
                                                                                                                                      Global Technology, Media & Telecommunications (TMT) Industry                newly net-savvy consumers. The Store Corporation realized a
DTTL TMT at a glance                                                                                2                                 Group’s annual Technology Fast 500 Asia Pacific Ranking. We’ve seen         remarkable 19,218 percent three-year revenue growth, almost in
                                                                                                                                      Asia Pacific’s most dynamic and highest-growth companies power              a league of its own when compared to this year’s second highest
Fast facts file                                                                                     4                                 through the global financial crisis, with the leaders actually increasing   performer, South Korean semiconductor company Silicon Mitus,
                                                                                                                                      their revenue growth rate, despite the world’s economic woes and            which managed just under 9,336 percent. In these pages, The Store
China’s greatest growth story: Interview with Gang Yu, CEO of The Store Corporation                 8                                 the contraction in the region’s traditional Western export markets.         Corporation chairman and co-founder Gang Yu talks about the
                                                                                                                                      That is a truly impressive achievement and we’re proud that the             company’s core competencies and the values that have taken it from
Masters of their game: The top five companies                                                       10                                Technology Fast 500 Asia Pacific Ranking remains a benchmark of             its initial base in China’s major metropolitan regions to cover the whole
                                                                                                                                      their performance.                                                          country. We also talk to Yang Berbahagia Datuk Azrin Mohd Noor,
Deloitte Technology Fast 500 Asia Pacific 2011 Ranking                                              14                                                                                                            Group CEO of Malaysia’s Sedania Group, about its unique and very
                                                                                                                                      To maintain the comprehensiveness and quality of the rankings of            Asian approach to online media and mobile services and solutions,
Technology Fast 500 faces: Yang Berbahagia Datuk Azrin Mohd Noor, Group CEO of Sedania Group        26                                high-growth tech companies, key data is sourced from qualifying             including its Shariah-compliant banking trading system and its highly
                                                                                                                                      enterprises in the nine key locations of Asia Pacific—Australia, China      regarded 'Green Billing' online payment service.
Contacts at Deloitte Touche Tohmatsu Limited (DTTL) and its member firms                            28
                                                                                                                                      (including Hong Kong), India, Japan, Korea, Malaysia, New Zealand,
                                                                                                                                      Singapore and Taiwan. The resulting ranking tracks and testifies to         We congratulate the winners on their outstanding achievements,
                                                                                                                                      the achievement of the fastest-growing 500 technology companies             surmounting all adversity.
                                                                                                                                      in the region, private or public, as gauged by their revenue
                                                                                                                                      performance over the past three years.

                                                                                                                                      In this crisis year, the top five companies did show a slight slowdown
                                                                                                                                                                                                                                          Jolyon Barker
                                                                                                                                      in average three-year revenue growth to just over 9,910 percent,
                                                                                                                                                                                                                                          DTTL Managing Director,
                                                                                                                                      compared to 10,338 percent last year. Of course, this is all still far
                                                                                                                                                                                                                                          Global Technology,
                                                                                                                                      short of the 30,000+ percent averages seen in the winners’ quintet,
                                                                                                                                                                                                                                          Media & Telecommunications (TMT)
                                                                                                                                      in the heyday of the pre-crisis boom years. However, it is still a
                                                                                                                                      respectable result when considering the gloomy macroeconomic
                                                                                                                                      environment and the dislocations in Asia Pacific, as the region
                                                                                                                                      shifts away from its traditional Western-oriented export focus to a
                                                                                                                                      more intra-regional and domestic demand model. And the average
                                                                                                                                      percentage growth rate for all 500 of the ranked companies showed                                   Yoshitaka Asaeda
                                                                                                                                      an even more impressive advance on the previous year’s total, at                                    DTTL Leader,
                                                                                                                                      almost 476 percent, up from 374 percent in 2010—testament to the                                    Technology Fast 500 Asia Pacific program
                                                                                                                                      strength and depth of Asia Pacific’s regional growth economy.

                                                                                                                                      First of the three top companies in this year’s ranking is The
                                                                                                                                      Store Corporation (Yihaodian), a mainland-Chinese, B2C, online
                                                                                                                                      e-commerce platform that has set out to be the default internet


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DTTL TMT at a glance
Services                                                                                                                                              Selected TMT thought leadership

Companies in the TMT sector confront a swiftly changing marketplace      DTTL TMT keeps abreast of                                                    TMT Predictions 2011                                                        2011 TMT Global Security Survey
and Deloitte member firms’ TMT practices are helping companies adapt
quickly, with extensive services across the following functions:         TMT trends and makes significant                                                                      TMT Predictions 2011 celebrated its 10 th
                                                                                                                                                                                                                                                         This study is based on in-depth research and
                                                                                                                                                                               edition this year and was launched in nearly                              detailed survey interviews with 138 TMT
• Deloitte Analytics                                                     investments in producing cutting-edge                                                                 90 countries around the world. It is valued                               organizations around the world. The way
• Mergers and Acquisitions
• Governance and Risk Management
                                                                         thought leadership. We are deeply                                                                     for its perceptive insights concerning the                                TMT organizations approach and manage
                                                                                                                                                                               major trends over the next 12 to 18 months,                               information security has not undergone
• International Financial Reporting Standards                            committed to providing insights that                                                                  that are likely to have significant medium- to                            significant changes in 2011. However, the
• Finance Transformation
• Strategic Leadership
                                                                         keep Deloitte member firms’ clients                                                                   long-term impact for companies in TMT and
                                                                                                                                                                               other industries. The report is based on a year-
                                                                                                                                                                                                                                                         threat landscape has changed significantly, as
                                                                                                                                                                                                                                                         well as the public attitude towards information
• Sustainability and Climate Change                                      on the forefront of critical trends.                                                                  round research process involving member firm                              security. The report reveals what leading
                                                                                                                                                      practitioners, member firm clients, industry analysts and hundreds of       companies are doing to protect their most important assets.
People
                                                                         The DTTL TMT Group’s innovative                                              thousands of proprietary data points generated by quantitative research.

The DTTL Global TMT Industry Group consists of professionals from        thinking is highly valuable to, and
Deloitte member firms’ TMT practices and includes more than 15,000
member firm partners, directors and senior managers, supported by
                                                                         sought by, a range of stakeholders—                                          Perspectives on the global mobile consumer 2011                             The State of the Media Democracy Survey 2011
                                                                                                                                                                                DTTL TMT surveyed over 34,000 users of                                             The 5th edition of DTTL TMT’s State of
thousands of other member firm professionals dedicated to helping        business schools, trade organizations,                                                                 mobile telephones in 17 countries across                                           the Media Democracy Survey offers an
their clients evaluate complex issues, develop fresh approaches to                                                                                                              five continents, to find out just how they are
problems and implement practical solutions. The Global TMT executive
                                                                         government agencies and companies of                                                                   ‘addicted to connectivity’. The survey's scope
                                                                                                                                                                                                                                                                   in-depth look at the ever-changing
                                                                                                                                                                                                                                                                   digital consumer, serving up some
committee is led by Jolyon Barker, DTTL global industry leader. He and   all sizes.                                                                                             ranges from quantifying ownership of multiple                                      interesting twists on established trends,
the executive committee are supported by function leaders, sector                                                                                                               mobile-enabled devices to a ranking of the                                         as well as a few important surprises.
leaders, regional leaders, client program leaders and marketing and                                                                                                             most popular mobile Internet applications. It                                      The report has been used to pro-
eminence leaders.                                                                                                                                                               also focuses on forthcoming revenue streams,      actively build relationships, adding value to existing relationships and
                                                                         Member firms                                                                                           such as next-generation mobile broadband          differentiating Deloitte member firms’ proposals.
                                                                                                                                                      services, mobile advertising and embedded mobile.
                                                                         There are dedicated TMT country leaders from 50 member firm practices
                                                       Our services      in all major countries across the Americas, Europe, Middle East and Africa
                                                                         (EMEA) and Asia Pacific, and a global network of member firm Partners,       Global Trends in Venture Capital 2011                                       Additional TMT thought leadership: www.deloitte.com/tmtpublications
                                          Our people
                                                                         along with global virtual centers of excellence for each industry sector.                                   This annual survey is conducted by
                            Member firm                                                                                                                                              the DTTL TMT Group in conjunction
                             practices                                                                                                                                               with venture-capital associations in the
                                                                         Deloitte member firms’ TMT clients
                                                                                                                                                                                     Americas, Asia Pacific, Europe and Israel,
         TMT clients                                                     • Eighty-eight percent of the TMT companies in the 2010 Fortune                                             measuring the opinions of more than
                                                                            Global 500®.                                                                                             347 respondents from nine countries.
                                                                         • Seventeen of the 23 largest technology companies worldwide.
                                                                         • All seven of the largest global media companies worldwide.
                                                                         • Twenty-six of the 27 largest telecommunications companies worldwide.

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Fast facts file
By location                                            Ranked companies by location                                                                    Ranked companies by industry sector                                                                       By industry sector

China has seen its lead in the Fast 500 ranking                                                                                                        Semiconductors, Components
                                                                                                                                                                                                                                                                 This year, the Semiconductors, Components and
                                                            Taiwan                                                                       133                                                                                                       166
slip this year, yielding place to South Korea                                                                                                                       and Electronics                                                                              Electronics sector showed that there is still a lot of
and Taiwan. Indeed, Taiwan has regained the                                                                                                                                                                                                                      life in the most basic tech disciplines. The sector
                                                       South Korea                                                     96                                                   Internet                                      92
lead it held in the previous decade, with 133                                                                                                                                                                                                                    topped the list of the number of high-growth
contributions versus last year’s 86. South Korea,                                                                                                                                                                                                                companies by industry sector with 166 entries,
                                                             China                                               86                                                        Software                                    87
meanwhile, has leapfrogged from last year’s                                                                                                                                                                                                                      more than doubling that of 2010 (77) and
low total of 46 new high-growth companies                                                                                                                       Telecommunications                                                                               2009 (76). The Internet sector also had a strong
                                                          Australia                             53                                                                                                        57
to 96. China now stands in third place with 86                                                                                                                      and Networking                                                                               showing with 92 companies, substantially ahead
companies for the year.                                       India                        43                                                          Biotechnology, Pharmaceutical                                                                             of the number in 2010 (75), as well as producing
                                                                                                                                                                                                27
                                                                                                                                                             and Medical Equipment
                                                                                                                                                                                                                                                                 this year’s overall highest-growth company,
    Top 20 ranked companies                                                                                                                                                                                                                                      The Store Corporation (Yihaodian) from China.
                                                       New Zealand                    37                                                                   Media and Entertainment              27
    This year, one third (ie seven) of the companies                                                                                                                                                                                                             Software, however—the dominant sector in the
    in the Top 20 hail from Taiwan, while only five          Japan                  34                                                                    Computers and Peripherals            24                                                                regional rankings for the past five years—slipped
    are from China, which recently dominated this                                                                                                                                                                                                                back to third place with just 87 companies, down
    tier. South Korea provided three companies,          Singapore        13                                                                                      Green Technology         20                                                                    from 145 in 2010, which itself was a falloff from
    Japan and New Zealand each contributed two,                                                                                                                                                                                                                  163 in 2009.
                                                          Malaysia 5                                                                                                                   0             40              80          120           160         200
    and Malaysia provided one firm. Eight of the
    companies in the Top 20 were Semiconductors,                                                                                                                                                                     Number of companies
                                                                      0             30               60               90           120           150
    Components and Electronics firms.
                                                                                                     Number of companies




By revenue growth                                      Ranked companies by revenue growth                                                              Ranked companies' revenue breakdown in USD                                                                By revenue

As already mentioned, growth of the top five                                                                                                                                                                                                                     Unsurprisingly, this crisis year brought little
                                                             Top 5                                                             9,910                                  Over 1 billion       8
companies this year was slightly slower than                                                                                                                                                                                                                     change to the now-familiar pattern of most
last year, with a combined three-year revenue                                                                                                                                                                                                                    high-growth companies being concentrated at
                                                            Top 10                                           6,949                                                   100m–1 billion                             77
growth of just over 9,910 percent, down from                                                                                                                                                                                                                     the small enterprise and lower end of the mid-
10,338 percent in 2010, but still up on 2009’s                                                                                                                                                                                                                   market levels. Indeed, the proportion with annual
                                                           Top 50                 2,657                                                                                 50m–100m                     44
8,980 percent. Overall, across all of the 500 high-                                                                                                                                                                                                              revenues of less than USD10 million actually
growth companies, the year still showed growth                                                                                                                                                                                                                   increased, at 207 versus 175 in 2010. Virtually
                                                           Top 100        1,640                                                                                          10m–50m                                                             164
of almost 476 percent, a considerable increase on                                                                                                                                                                                                                every other revenue band showed a pullback
2010’s 374 percent and 2009’s 361 percent.                 Top 500        476                                                                                           Under 10m                                                                        207     since 2010, with only one marginal exception:
                                                                                                                                                                                                                                                                 the over USD1 billion in revenue top end, which
                                                                                                                                                                                                                                                                 rose to eight companies from seven in 2010.
                                                                      0              3000                 6000              9000               12000                               0                           70                      140                210
                                                                                                 Percentage revenue growth                                                                                           Number of companies

4                                                                                                                                                                                                                                                                                                                    5
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By sector and location                                                                                                                         Public or private

The leading Semiconductors, Components and Electronics sector showed an even more                                                              This year saw a slight pullback in the number of private high-growth
massive concentration in Taiwan than in previous years, with its dominance of the sector                                                       companies and a slight increase in the number of publicly listed ones,
rising to 105 companies. Only South Korea rivaled this with 47 companies. Internet                                                             compared to 2010. In fact, the relative proportions are now back to
companies, meanwhile, appeared in China (22) and Japan (18), but also in Australia (28)                                                        the same levels as in 2009.
and New Zealand (16). Software also showed a scattering of high-growth companies in
Australia (10) and New Zealand (10), but most predictably in China (18) and India (23).                                                          Public versus private companies in the past three years

                                                                                                                                                                      2011             2010              2009
    Ranked companies by industry and location
                                                                                                                                                 Public                209              202               209
                                 Australia     China        India        Japan       Malaysia      New      Singapore   South   Taiwan
                                                                                                  Zealand               Korea
                                                                                                                                                 Private               291              298               291
    Telecommunications and
                                    11          18            7            1               1        5          4         9        1
    Networking

    Software                        10          18           23            5               3        10         4         11       3

    Semiconductors, Components
                                    2            6            1            2               1        0          2         47      105
    and Electronics

    Internet                        28          22            7            18              0        16         0         0        1


    Computers and Peripherals       2            4            0            0               0        3          0         12       3


    Media and Entertainment         0            3            2            2               0        2          0         14       4


    Green Technology                0            5            0            1               0        1          3         3        7

    Biotechnology,
    Pharmaceutical and              0           10            3            5               0        0          0         0        9
    Medical Equipment

    Total                           53          86           43            34              5        37         13        96      133




6                                                                                                                                                                                                                       7
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China’s greatest growth story:
Interview with Gang Yu,
CEO of The Store Corporation
                                                                                                 DTTL TMT: Has your growth been organic or
    System
                                                                                                 inorganic, and please share with us the main factors                               DTTL TMT: What advice would you give other
    Yihaodian has developed its own underpinning system and applied for numerous                 behind your growth success.
    patents and software copyrights. Based on this system, the other four modules form           Gang Yu: It’s been organic and there are three
                                                                                                                                                                                    fast-growing tech companies in this economic
    a major platform, autonomous but working with each other. These five modules are             factors underpinning Yihaodian’s growth: our five                                  climate?
    scalable and can be continuously optimized, automated and scaled.                            core competencies; speed and innovation; and

    Purchase
                                                                                                 integrity.                                                                         Gang Yu: Focus on your own core competencies;
    Currently, Yihaodian sells 120,000 different types of goods and is building up
                                                                                                 Our five core competencies are the company’s five
                                                                                                 modules of system, purchase, delivery, storage and
                                                                                                                                                                                    don’t follow blindly; continuously commit to
    relationships with thousands of suppliers, gaining economies of scale.                       customer relationship management (see left).                                       innovation; be able to say no to yourself.
    Delivery                                                                                     Yihaodian is a company that values both speed and
                                                                                                 innovation. For example, we led in cooperation
    Yihaodian can deliver goods to customers within a half-day in Beijing, Shanghai and
                                                                                                 agreements with web portals, social network                                        DTTL TMT: How confident are you of being able to maintain your growth through 2011
    other big cities; and within one day in Tianjin, the Yangzi Delta, the Pearl River Delta,
                                                                                                 sites, gaming sites and other websites. “Infinite                                  and 2012?
    Wuhan, Chongqing, Chengdu and many other cities. Meanwhile, to meet specific
                                                                                                 Yihaodian”, launched in July this year, kicked off the
    requirements from customers, Yihaodian has created specialized services such as                                                                                                 Gang Yu: It’s only been three years since Yihaodian was founded and we’re still in the
                                                                                                 virtual shopping model in China and demonstrates
    'three deliveries within one day' and delivery at a scheduled time. Yihaodian does                                                                                              high-growth stage. We are very confident of healthy and rapid growth, as long as we
                                                                                                 the execution capabilities of our team, since it took
    70% of its business with its own deliveries and has set up hundreds of delivery sites                                                                                           keep paying attention to customer experience and maintaining our core competencies.
                                                                                                 only three weeks to launch the program successfully.
    in 30 cities.
                                                                                                 Lastly, we prize integrity. Integrity is the basis of
    Storage                                                                                                                                                                         DTTL TMT: What company achievement are you most proud of to date?
                                                                                                 Yihaodian's company culture.
    Yihaodian’s business covers the whole of China and the company has five storage                                                                                                 Gang Yu: Starting from two people in one room, we now have more than 4,200 people
    centres covering over 220,000 square meters in Beijing, Shanghai, Guangzhou,                 DTTL TMT: Is the current economic slowdown                                         after three years’ development. What I am most proud of is looking at the growth of
    Wuhan and Chengdu.                                                                           affecting your company growth? If so, will you                                     our staff and the value created by Yihaodian for customers, employees, suppliers and

                                                                                                 change strategy, and how?                                                          shareholders.
    Customer relationship management
                                                                                                 Gang Yu: Not yet. We believe risks can be reduced
    Yihaodian’s CRM module generates models and does data analysis on customer                                                                                                      DTTL TMT: What have you identified as the key trends in your market going forward?
                                                                                                 if e-commerce companies can focus on healthy
    behaviour. It can provide personalized services to different customers, such as              cash flow, fast turnover and flexible quick-response                               Gang Yu: We always focus on delivering the best customer experience, no matter how
    new arrivals, as well as provide periodic shopping reminders, related-products               strategies.                                                                        the market changes.
    recommendations, notification of goods arrivals and promotions.

8                                                                                                                                                                                                                                                                            9
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Masters of their game:
The top five companies
                         This year’s top five performers have                           Best of the best is China’s The Store Corporation (Yihaodian), an
                         surmounted the challenges of the global                        online retailer that has gone from its humble launch in 2008 to
                         financial crisis to achieve world-beating                      market leadership, achieving 19,218% three-year growth—quite
                         growth rates, in a range of sectors.                           an achievement in such a short time, albeit still not matching last
                         Their average three-year growth rate of                        year’s winner, Giga Solar Materials Corp, which achieved growth
                         9,910% was down on last year, but up                           of 24,694% in 2010 and still makes this year’s top five in fifth
                         on the 2009 figure of 8,980%—still                             place, with 5,560% growth.
                         a remarkable feat given the adverse
                                                                                        Who are these companies and how did they achieve this result?
                         macroeconomic conditions.
                                                                                        The top five answer in their own words:


                           Top five at a glance                                          1. The Store Corporation (Yihaodian)
                           • Three-year average growth of 9,910%
                                                                                                                                                                             Location            China
                           • Two Semiconductors, Components and Electronics companies
                                                                                                                                                                             Sector              Internet
                           • Two Internet companies
                           • Three from China                                                                                                                                Founded             2008
                           • One repeat entry: Giga Solar Materials Corp                Yihaodian is a fast-growing e-commerce company in China that provides customers      CEO                 Gang Yu
                                                                                        with a one-stop shopping platform, offering all their essential daily items at
                                                                                                                                                                             Three-year growth   19,218%
                                                                                        competitive prices. Since its launch in 2008, Yihaodian has achieved a significant
                                                                                        position in China’s online grocery sales market and currently has over 4,000         Website             www.yihaodian.com
                                                                                        employees and five major distribution networks in Shanghai, Beijing, Guangzhou,
                                                                                        Wuhan and Chengdu, serving its rapidly expanding customer base.




10                                                                                                                                                                                                                   11
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 2. Silicon Mitus                                                                                                                            4. Jiaxing Mbaobao Network Technology Co Ltd

                                                                                           Location            South Korea                                                                                                                  Location            China

                                                                                           Sector              Semiconductors,                                                                                                              Sector              Internet
                                                                                                               Components and Electronics
                                                                                                                                                                                                                                            Founded             2007
                                                                                           Founded             2007
                                                                                                                                            Mbaobao is one of the world’s leading designers, producers and distributors of bags             CEO                 Haifeng Ye
Silicon Mitus is a (fabrication-less) semiconductor device manufacturer in South Korea.    CEO                 Youm Huh                     and related accessories, with a ‘European Bag Fashion Research Center’ in Venice
                                                                                                                                                                                                                                            Three-year growth   6,288%
Silicon Mitus sells power management chips for displays, LCD TVs, LED TVs and                                                               sourcing the latest designs and fabric selections. In 2010, it launched a branch in Tokyo
                                                                                           Three-year growth   9,336%
related products, and is now looking at expanding into mobile telecommunications.                                                           as well as an English website catering to North American buyers (www.bagsok.com).               Website             www.mbaobao.com
As well as Korea, the company has set up channels in China, Japan and Taiwan. It           Website             www.siliconmitus.com         Mbaobao is the first bag company to initiate the ‘fast’ concept and has expanded its
has a small design center in Silicon Valley and is planning to set up a similar facility                                                    business globally on the principles of ‘fast fashion’, ‘fast marketing’ and ‘fast logistics’.
in China. The company’s key strength is its ability to devise products faster than its                                                      As one of the largest manufacturing-based online retailers of bags, it serves more than
competitors.                                                                                                                                one million customers, creating and distributing a line that ranges from handbags and
                                                                                                                                            backpacks to laptop bags and accessories. The collection includes popular brands like
                                                                                                                                            Feel Young, Love Match, Kelt Town, Alpha and Vemo.



 3. Tendyron                                                                                                                                 5. Giga Solar Materials Corp

                                                                                           Location            China                                                                                                                        Location            Taiwan

                                                                                           Sector              Software                                                                                                                     Sector              Semiconductors,
                                                                                                                                                                                                                                                                Components and Electronics
                                                                                           Founded             2004
                                                                                                                                                                                                                                            Founded             2005
Tendyron Corporation was founded in 2004 and is dedicated to providing information         CEO                 Dongsheng Li
security solutions in the areas of USB tokens, smart cards and mobile payment.                                                              Last year’s top performer, Giga Solar Materials Corp (GSMC), offers a line of thick film-       CEO                 Ji-Rei Chen
                                                                                           Three-year growth   9,150%
Headquartered in Beijing with its own R&D, manufacturing and sales facilities, it                                                           metallization pastes specifically designed for use in the construction of photovoltaic
                                                                                                                                                                                                                                            Three-year growth   5,560%
has eight regional offices across China. In its early stages, Tendyron proposed the        Website             www.tendyron.com             solar cells. The pastes offered include silver (Ag) paste suitable for use as a front-side
concept of human interface peripheral (HIP) USB tokens, which laid the foundation                                                           conductor; aluminum (Al) paste for use as the back electrode; and silver/aluminum               Website             www.gigasolar.com.tw
for 2nd-generation USB tokens—now widely recognized as the future of e-banking                                                              (AgAl) paste for use as a back-side conductor on an aluminum back-surface field.
security and applied on a large scale by nearly every major bank in China. Tendyron’s                                                       These pastes were developed with the understanding that the physical and functional
customers include the Industrial and Commercial Bank of China (ICBC), Agricultural                                                          requirements of the front- and back-side of the photovoltaic substrates require
Bank of China (ABC), Postal Savings Bank of China (PSBC), Shanghai Pudong                                                                   significant differences in the properties of the metallization pastes.
Development Bank (SPDB), The Bank of East Asia (BEA), Citibank and Standard
Chartered Bank (SCB).

12                                                                                                                                                                                                                                                                                       13
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Deloitte Technology Fast 500
                                                                                                                                                              Rank   Company                                        Location      Industry sector                                       Three-year % growth
                                                                                                                                                               11    Eversol Corp                                   Taiwan        Semiconductors, Components and Electronics                      3,296.024
                                                                                                                                                               12    MDT Innovations Sdn Bhd                        Malaysia      Software                                                        3,129.876


Asia Pacific 2011 Ranking                                                                                                                                      13
                                                                                                                                                               14
                                                                                                                                                               15
                                                                                                                                                                     Bestcreate Corp
                                                                                                                                                                     Danen Technology Corp
                                                                                                                                                                     International Branding Marketing Inc
                                                                                                                                                                                                                    Japan
                                                                                                                                                                                                                    Taiwan
                                                                                                                                                                                                                    Taiwan
                                                                                                                                                                                                                                  Telecommunications and Networking
                                                                                                                                                                                                                                  Semiconductors, Components and Electronics
                                                                                                                                                                                                                                  Semiconductors, Components and Electronics
                                                                                                                                                                                                                                                                                                  3,027.379
                                                                                                                                                                                                                                                                                                  2,929.342
                                                                                                                                                                                                                                                                                                  2,599.503
                                                                                                                                                               16    Ledlink Optics Inc                             Taiwan        Semiconductors, Components and Electronics                      2,504.137
                                                                                                                                                               17    Light Source Technology Co Ltd                 South Korea   Green Technology                                                2,486.519
                                                                                                     The 500 companies in the 2011 ranking beat off
                                                                                                                                                               18    Ganji.com                                      China         Internet                                                        2,185.584
     A league of its own.                                                                            recessionary pressures with an average 476 percent
                                                                                                     growth rate over the last three years—up over 100%
                                                                                                                                                               19    Shanghai Greenbox Internet Technology Co Ltd   China         Internet                                                        1,954.853
                                                                                                                                                               20    Top Energy Saving System Corp                  Taiwan        Semiconductors, Components and Electronics                      1,904.442
                                                                                                     on the 374 percent achieved in 2010. This may not
     The Deloitte Technology Fast 500 Asia Pacific                                                   match the highest records of the early 2000s, but in
                                                                                                                                                               21
                                                                                                                                                               22
                                                                                                                                                                     DongHyun Co Ltd
                                                                                                                                                                     Wuhan Guoce Nordic New Energy Co Ltd
                                                                                                                                                                                                                    South Korea
                                                                                                                                                                                                                    China
                                                                                                                                                                                                                                  Semiconductors, Components and Electronics
                                                                                                                                                                                                                                  Green Technology
                                                                                                                                                                                                                                                                                                  1,886.143
                                                                                                                                                                                                                                                                                                  1,798.847

     Ranking is a global platform for measuring,                                                     these difficult economic circumstances, it has been       23    GI Blue Co Ltd                                 South Korea   Semiconductors, Components and Electronics                      1,719.920
                                                                                                     a great achievement. This year’s fastest growing          24    Changwon Comtech Co Ltd                        South Korea   Semiconductors, Components and Electronics                      1,633.175
     recognizing and analyzing growth of the fastest-                                                company, The Store Corporation (Yihaodian),               25    Lattice Power Corp                             China         Semiconductors, Components and Electronics                      1,547.303
                                                                                                                                                               26    Finetek                                        South Korea   Semiconductors, Components and Electronics                      1,495.864
     growing technology companies in the region.                                                     achieved a three-year growth performance of 19,218
                                                                                                     percent that fell somewhat short of the 24,694            27    Topaz Co Ltd                                   South Korea   Semiconductors, Components and Electronics                      1,476.255

     Five hundred companies are ranked according to                                                  percent attained by last year’s winner, Giga Solar
                                                                                                                                                               28
                                                                                                                                                               29
                                                                                                                                                                     Cynergy House Co Ltd
                                                                                                                                                                     SmarTeam Corp
                                                                                                                                                                                                                    South Korea
                                                                                                                                                                                                                    Taiwan
                                                                                                                                                                                                                                  Media and Entertainment
                                                                                                                                                                                                                                  Semiconductors, Components and Electronics
                                                                                                                                                                                                                                                                                                  1,458.597
                                                                                                                                                                                                                                                                                                  1,419.846
                                                                                                     Materials Corp.
     revenue growth rates over the past three years.                                                                                                           30
                                                                                                                                                               31
                                                                                                                                                                     NZ Tax Refunds Ltd
                                                                                                                                                                     Ubona Technologies Pvt Ltd
                                                                                                                                                                                                                    New Zealand
                                                                                                                                                                                                                    India
                                                                                                                                                                                                                                  Internet
                                                                                                                                                                                                                                  Telecommunications and Networking
                                                                                                                                                                                                                                                                                                  1,400.911
                                                                                                                                                                                                                                                                                                  1,353.355
                                                                                                     The Software sector—so significant in previous
                                                                                                                                                               32    Aesthetic Technology Beijing Ltd               China         Biotechnology, Pharmaceutical and Medical Equipment             1,328.241
                                                                                                     years—was pushed into third place, contributing
                                                                                                                                                               33    Seoul Optodevice                               South Korea   Semiconductors, Components and Electronics                      1,235.527
How does the DTTL TMT Industry Group determine the winners?                                          only 87 companies. In its stead, the Semiconductors,      34    Coreoptix Inc                                  South Korea   Semiconductors, Components and Electronics                      1,208.440
The Deloitte Technology Fast 500 Asia Pacific 2011 winners consist of the 500 public and             Components and Electronics sector proved that             35    Mitsubachiworks Inc                            Japan         Media and Entertainment                                         1,164.432
private technology, media and telecommunications companies headquartered in Asia                     there is still dynamism in an earlier generation of       36    GREE Inc                                       Japan         Internet                                                        1,099.557
Pacific, that have achieved the highest rates of revenue growth over the past three years.           pioneering technologies, with 166 companies. The          37    Virtunet Pty Ltd                               Australia     Semiconductors, Components and Electronics                      1,088.959
In order to be eligible for Technology Fast 500 recognition, companies must have base-               Internet sector, meanwhile, took second place with        38    3DFamily Technology Co Ltd                     Taiwan        Semiconductors, Components and Electronics                      1,083.242

year operating revenues of at least USD50,000.                                                       92 companies, one of them being this year’s winner,       39    Borqs Hong Kong Ltd                            China         Telecommunications and Networking                               1,054.486

                                                                                                     The Store Corporation.                                    40    Iljin Display                                  South Korea   Semiconductors, Components and Electronics                      1,051.378
The DTTL TMT Industry Group assumes that all information provided by each company is                                                                           41    Millinet Solar Co Ltd                          South Korea   Green Technology                                                1,049.331
accurate and does not independently verify such information.                                                                                                   42    Anittel                                        Australia     Telecommunications and Networking                               1,022.220
                                                                                                                                                               43    Alpha Crystal Technology Corp                  Taiwan        Semiconductors, Components and Electronics                      1,020.204
                                                                                                                                                               44    SciVision Biotech Inc                          Taiwan        Biotechnology, Pharmaceutical and Medical Equipment             1,019.821
  Rank    Company                                                 Location        Industry sector                                       Three-year % growth
                                                                                                                                                               45    Aujas Networks Pvt Ltd                         India         Software                                                        1,010.009
     1    The Store Corporation                                   China           Internet                                                       19,217.976
                                                                                                                                                               46    Midas Infomedia Ltd                            New Zealand   Software                                                        1,007.541
     2    Silicon Mitus Inc                                       South Korea     Semiconductors, Components and Electronics                      9,335.657
                                                                                                                                                               47    Wooree LED Co Ltd                              South Korea   Semiconductors, Components and Electronics                       990.269
     3    Tendyron Corp                                           China           Software                                                        9,150.048
                                                                                                                                                               48    Korea Cable Telecom                            South Korea   Telecommunications and Networking                                947.680
     4    Jiaxing Mbaobao Network Technology Co Ltd               China           Internet                                                        6,287.871
                                                                                                                                                               49    Jinyoung G&T                                   South Korea   Semiconductors, Components and Electronics                       885.993
     5    Giga Solar Materials Corp                               Taiwan          Semiconductors, Components and Electronics                      5,560.336
                                                                                                                                                               50    Mega Biotech & Electronics Co Ltd              Taiwan        Media and Entertainment                                          882.886
     6    Powershop NZ Ltd                                        New Zealand     Internet                                                        5,280.410
                                                                                                                                                               51    Xero Ltd                                       New Zealand   Internet                                                         873.635
     7    Two Degrees Mobile Ltd                                  New Zealand     Telecommunications and Networking                               3,761.766
                                                                                                                                                               52    Observatory Crest Australia Pty Ltd            Australia     Computers and Peripherals                                        869.934
     8    Brightek Optoelectronic Co Ltd                          Taiwan          Semiconductors, Components and Electronics                      3,754.886
                                                                                                                                                               53    AnaPass Inc                                    South Korea   Semiconductors, Components and Electronics                       848.952
     9    3-D Matrix Ltd                                          Japan           Biotechnology, Pharmaceutical and Medical Equipment             3,582.951
                                                                                                                                                               54    Zhejiang Yutian Technology Co Ltd              China         Telecommunications and Networking                                845.564
     10   Sinsung Solar Energy Corp                               South Korea     Green Technology                                                3,560.124
                                                                                                                                                               55    LightInTheBox Holdings Co Ltd                  China         Internet                                                         838.203

14                                                                                                                                                                                                                                                                                                       15
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 Rank      Company                                      Location      Industry sector                                       Three-year % growth   Rank   Company                                             Location      Industry sector                                       Three-year % growth
     56    Crystal Applied Technology Inc               Taiwan        Semiconductors, Components and Electronics                       820.293    101    X-Legend Entertainment Co Ltd                       Taiwan        Media and Entertainment                                          441.625
     57    Wisol                                        South Korea   Semiconductors, Components and Electronics                       793.230    102    Ramp Holdings Pty Ltd                               Australia     Telecommunications and Networking                                437.320
     58    HD Biosciences (China) Co Ltd                China         Biotechnology, Pharmaceutical and Medical Equipment              792.707    103    Telibrahma Convergent Communications Pvt Ltd        India         Media and Entertainment                                          434.363
     59    BizCover Pty Ltd                             Australia     Internet                                                         792.028    104    Bike Exchange Pty Ltd                               Australia     Internet                                                         431.586
     60    Prizm Payment Services Pvt Ltd               India         Telecommunications and Networking                                791.880    105    Cosci Med-Tech Co Ltd                               China         Biotechnology, Pharmaceutical and Medical Equipment              431.566
     61    Webaroo Technology India Pvt Ltd             India         Telecommunications and Networking                                779.685    106    Ubivlox Inc                                         South Korea   Software                                                         430.406
     62    KAI Square Pte Ltd                           Singapore     Software                                                         777.323    107    Luminous Optical Technology Co Ltd                  Taiwan        Semiconductors, Components and Electronics                       429.188
     63    Wafer Works Optronics Corp                   Taiwan        Semiconductors, Components and Electronics                       770.048    108    Nitor Infotech Pvt Ltd                              India         Software                                                         428.210
     64    Samsung Mobile Display Co Ltd                South Korea   Semiconductors, Components and Electronics                       752.790    109    IMTech Inc                                          South Korea   Semiconductors, Components and Electronics                       421.733
     65    Funshion Online Technologies Co Ltd          China         Internet                                                         707.190    110    Theleds Co Ltd                                      South Korea   Semiconductors, Components and Electronics                       415.559
     66    Hunan RunCore High Technology Co Ltd         China         Computers and Peripherals                                        702.137    111    Pilani Soft Labs Pvt Ltd                            India         Internet                                                         411.612
     67    WiseChip Semiconductor Inc                   Taiwan        Semiconductors, Components and Electronics                       699.863    112    Beijing 58 Information Technology Co Ltd            China         Internet                                                         405.566
     68    Valueplus Co Ltd                             South Korea   Computers and Peripherals                                        677.296    113    Beijing Kela Diamond Internet & Technology Co Ltd   China         Internet                                                         402.429
     69    Speee.Inc                                    Japan         Internet                                                         664.166    114    Nextreaming Corp                                    South Korea   Software                                                         400.638
     70    Win Win Precision Technology Co Ltd          Taiwan        Green Technology                                                 648.656    115    Tera Xtal Technology Corp                           Taiwan        Semiconductors, Components and Electronics                       392.628
     71    Shenzhen Tinno Mobile Technology Co Ltd      China         Telecommunications and Networking                                622.483    116    Genius Electronic Optical Co Ltd                    Taiwan        Semiconductors, Components and Electronics                       389.041
     72    Melfas                                       South Korea   Semiconductors, Components and Electronics                       620.792    117    Crucialtec Co Ltd                                   South Korea   Semiconductors, Components and Electronics                       388.908
     73    Bumjin C&L Co Ltd                            South Korea   Semiconductors, Components and Electronics                       615.090    118    Metanet Inc                                         South Korea   Software                                                         384.552
     74    Edusys Services Pvt Ltd                      India         Software                                                         614.070    119    Wonjin                                              South Korea   Semiconductors, Components and Electronics                       381.032
     75    GST Co Ltd                                   South Korea   Semiconductors, Components and Electronics                       582.620    120    Masco Inc                                           South Korea   Semiconductors, Components and Electronics                       380.428
     76    ELK                                          South Korea   Semiconductors, Components and Electronics                       580.725    121    Energy Matters                                      Australia     Internet                                                         379.858
     77    SurfStitch Pty Ltd                           Australia     Internet                                                         573.660    122    Infomark Co Ltd                                     South Korea   Software                                                         379.656
     78    Tainergy Tech Co Ltd                         Taiwan        Green Technology                                                 560.798    123    CU Media Co Ltd                                     South Korea   Media and Entertainment                                          378.775
     79    Sciente Consulting Pvt Ltd                   Singapore     Software                                                         553.000    124    Excelsior Medical Co Ltd                            Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              371.448
     80    2Talk Ltd                                    New Zealand   Internet                                                         541.610    125    S-cubism Inc                                        Japan         Internet                                                         367.422
     81    KREMS                                        South Korea   Semiconductors, Components and Electronics                       539.768    126    OK Biotech Corp                                     Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              364.180
     82    UBright Optronics Corp                       Taiwan        Semiconductors, Components and Electronics                       535.895    127    TPK Holding Co Ltd                                  Taiwan        Semiconductors, Components and Electronics                       360.494
     83    ICatch Inc                                   Taiwan        Semiconductors, Components and Electronics                       530.097    128    Shenzhen Wondershare Software Co Ltd                China         Software                                                         360.055
     84    Sensata Technologies Korea Co Ltd            South Korea   Computers and Peripherals                                        521.782    129    Mozat Pte Ltd                                       Singapore     Software                                                         359.966
     85    Shanghai Joyu Culture Dissemination Co Ltd   China         Internet                                                         521.400    130    JustCommodity Software Solutions Pte Ltd            Singapore     Software                                                         358.767
     86    Next Entertainment World                     South Korea   Media and Entertainment                                          520.099    131    Adimmune Corp                                       Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              357.825
     87    Redrover Co Ltd                              South Korea   Software                                                         518.249    132    Atech Technology Co Ltd                             Taiwan        Semiconductors, Components and Electronics                       356.302
     88    Inji OLED & Display Co Ltd                   South Korea   Semiconductors, Components and Electronics                       513.734    133    C Media Ltd                                         China         Internet                                                         356.265
     89    Vocus Communications Ltd                     Australia     Internet                                                         505.785    134    China Wireless Technologies Ltd                     China         Telecommunications and Networking                                356.016
     90    KTDS                                         South Korea   Software                                                         503.582    135    Xueda Education Group                               China         Internet                                                         351.956
     91    Shanghai eHi Car Rental Co Ltd               China         Green Technology                                                 489.493    136    Noah Holdings Ltd                                   China         Media and Entertainment                                          351.664
     92    Tomizone Ltd                                 New Zealand   Internet                                                         485.254    137    Loen Entertainment Inc                              South Korea   Media and Entertainment                                          351.278
     93    L&P honors Inc                               South Korea   Computers and Peripherals                                        479.402    138    Omnesys Technologies Pvt Ltd                        India         Software                                                         350.153
     94    Changs Ascending Enterprise Co Ltd           Taiwan        Semiconductors, Components and Electronics                       474.424    139    MediaWill                                           South Korea   Media and Entertainment                                          348.062
     95    HansolPNS Co Ltd                             South Korea   Software                                                         470.554    140    Crystalwise Technology Inc                          Taiwan        Semiconductors, Components and Electronics                       343.164
     96    Ensid Technologies Ltd                       New Zealand   Telecommunications and Networking                                468.456    141    Aperio                                              South Korea   Semiconductors, Components and Electronics                       342.084
     97    Lafaso Group Ltd                             China         Internet                                                         467.469    142    Prodapt Solutions Pvt Ltd                           India         Software                                                         341.525
     98    Amethon Solutions                            Australia     Software                                                         449.759    143    ShenZhen Elanw Network Co Ltd                       China         Telecommunications and Networking                                340.458
     99    DSG Technology Inc                           Taiwan        Telecommunications and Networking                                447.037    144    Aimhigh Global Corp                                 South Korea   Semiconductors, Components and Electronics                       333.582
     100   SPiRE Inc                                    Japan         Internet                                                         441.755    145    Gvitech Corp                                        China         Computers and Peripherals                                        332.516

16                                                                                                                                                                                                                                                                                                17
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 Rank      Company                                        Location      Industry sector                                       Three-year % growth   Rank   Company                                                Location      Industry sector                                       Three-year % growth
     146   Sunmax Biotechnology Co Ltd                    Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              331.235    191    Ability Opto-Electronics Technology Co                 Taiwan        Semiconductors, Components and Electronics                       236.052
     147   ENG Electric Co Ltd                            Taiwan        Semiconductors, Components and Electronics                       328.760    192    ClearPoint Ltd                                         New Zealand   Telecommunications and Networking                                234.856
     148   Catch Of The Day                               Australia     Internet                                                         327.166    193    Sapple Systems Pvt Ltd                                 India         Internet                                                         233.934
     149   Sportsfuel Ltd                                 New Zealand   Internet                                                         325.267    194    Beijing Acctrue Technology Co Ltd                      China         Software                                                         229.604
     150   Ying Shiang Technology Co Ltd                  Taiwan        Semiconductors, Components and Electronics                       325.103    195    Optra Systems Pvt Ltd                                  India         Biotechnology, Pharmaceutical and Medical Equipment              229.509
     151   Freeman Media                                  New Zealand   Media and Entertainment                                          324.913    196    Beijing Fastweb Technology Co Ltd                      China         Internet                                                         229.066
     152   Moimstone Co Ltd                               South Korea   Software                                                         320.934    197    Cookpad Inc                                            Japan         Internet                                                         228.550
     153   Amita Technologies Inc                         Taiwan        Semiconductors, Components and Electronics                       320.696    198    Lumens Co Ltd                                          South Korea   Semiconductors, Components and Electronics                       227.994
     154   Trust-Search Corp                              Taiwan        Semiconductors, Components and Electronics                       320.201    199    Lustrous Technology Ltd                                Taiwan        Semiconductors, Components and Electronics                       227.617
     155   Beijing PDE Information Technology Co Ltd      China         Software                                                         320.085    200    Pocons Co Ltd                                          South Korea   Semiconductors, Components and Electronics                       226.743
     156   Seong Ji Industrial Co Ltd                     South Korea   Semiconductors, Components and Electronics                       319.777    201    Fi-ra Photonics Co Ltd                                 South Korea   Telecommunications and Networking                                224.502
     157   Sysware Technology Co Ltd                      China         Software                                                         318.384    202    Gan & Lee Pharmaceutical Co Ltd                        China         Biotechnology, Pharmaceutical and Medical Equipment              223.985
     158   China TransInfo Technology Corp                China         Software                                                         317.862    203    Leshi Internet Information & Technology Corp Beijing   China         Internet                                                         223.689
     159   Tbroad hanvit broadcasting Co Ltd              South Korea   Media and Entertainment                                          317.008    204    Formosa Epitaxy Inc                                    Taiwan        Semiconductors, Components and Electronics                       221.304
     160   ViFX Ltd Partnership                           New Zealand   Internet                                                         304.439    205    Telogis Ltd                                            New Zealand   Software                                                         220.585
     161   G-Tech Optoelectronics Corp                    Taiwan        Semiconductors, Components and Electronics                       303.205    206    TigerSpike Pty Ltd                                     Australia     Software                                                         220.029
     162   P K Online Ventures Pvt Ltd                    India         Media and Entertainment                                          300.818    207    Duksan Hi-metal Co Ltd                                 South Korea   Semiconductors, Components and Electronics                       219.699
     163   Moneual Inc                                    South Korea   Computers and Peripherals                                        299.545    208    Odecee                                                 Australia     Software                                                         218.070
     164   iClick Interactive Asia Ltd                    China         Internet                                                         297.083    209    Guangzhou Best-study Education Group                   China         Software                                                         214.802
     165   Jungjin-nextech Co Ltd                         South Korea   Semiconductors, Components and Electronics                       295.710    210    Digital Multimedia Technology Co Ltd                   South Korea   Media and Entertainment                                          213.285
     166   Iljin Semiconductor                            South Korea   Semiconductors, Components and Electronics                       291.450    211    SGA Co Ltd                                             South Korea   Computers and Peripherals                                        213.044
     167   Brolly Sheets Ltd                              New Zealand   Internet                                                         289.629    212    Innox Corp                                             South Korea   Semiconductors, Components and Electronics                       211.981
     168   Forest Interactive Sdn Bhd                     Malaysia      Telecommunications and Networking                                288.154    213    SK Marketing & Company                                 South Korea   Media and Entertainment                                          211.598
     169   Cohort Digital                                 Australia     Internet                                                         287.582    214    MMC Technology                                         South Korea   Telecommunications and Networking                                211.349
     170   Switched on Media                              Australia     Telecommunications and Networking                                286.995    215    Mirae N Co Ltd                                         South Korea   Media and Entertainment                                          211.192
     171   SportingPulse                                  Australia     Internet                                                         280.863    216    Pavonine Inc                                           South Korea   Semiconductors, Components and Electronics                       210.687
     172   Stemscience                                    South Korea   Media and Entertainment                                          271.474    217    Biomatters Ltd                                         New Zealand   Software                                                         210.309
     173   GC-Rise Pharmaceutical Ltd                     China         Biotechnology, Pharmaceutical and Medical Equipment              270.121    218    Roswin Inc                                             South Korea   Telecommunications and Networking                                210.298
     174   DMB Technology Co Ltd                          South Korea   Media and Entertainment                                          267.287    219    Itswell Co Ltd                                         South Korea   Semiconductors, Components and Electronics                       209.669
     175   Neople Inc                                     South Korea   Software                                                         264.825    220    4Cabling Pty Ltd                                       Australia     Computers and Peripherals                                        207.896
     176   Hotels Combined P/L                            Australia     Internet                                                         261.581    221    DigiTech-Systems                                       South Korea   Semiconductors, Components and Electronics                       206.680
     177   Indiaideas.com Ltd                             India         Internet                                                         260.859    222    Golden Spring Internet of Things Inc                   China         Internet                                                         206.516
     178   SBSContentshub                                 South Korea   Media and Entertainment                                          257.725    223    Japan Tissue Engineering Co Ltd                        Japan         Biotechnology, Pharmaceutical and Medical Equipment              206.452
     179   Econy Co Ltd                                   South Korea   Semiconductors, Components and Electronics                       254.027    224    Partner Telecom Pty Ltd                                Australia     Telecommunications and Networking                                205.994
     180   Tieto China Co Ltd                             China         Software                                                         251.142    225    Mobile Tracking and Data Pty Ltd T/A MTData            Australia     Telecommunications and Networking                                204.565
     181   Glodyne Technoserve Ltd                        India         Software                                                         249.389    226    Vakrangee Softwares Ltd                                India         Software                                                         202.283
     182   Aemulus Corp Berhad                            Malaysia      Semiconductors, Components and Electronics                       249.181    227    BTB Solution Co Ltd                                    South Korea   Telecommunications and Networking                                201.914
     183   GL Co Ltd                                      South Korea   Semiconductors, Components and Electronics                       247.159    228    Hoimyung Corp                                          South Korea   Semiconductors, Components and Electronics                       201.489
     184   Chella Software Pvt Ltd                        India         Software                                                         246.866    229    Times-7 Research Ltd                                   New Zealand   Computers and Peripherals                                        201.363
     185   H&H global resource Co Ltd                     South Korea   Semiconductors, Components and Electronics                       246.346    230    Barun Electronics Co Ltd                               South Korea   Semiconductors, Components and Electronics                       200.705
     186   Chimei Lighting Technology Corp                Taiwan        Semiconductors, Components and Electronics                       242.786    231    Fractalist China                                       China         Internet                                                         200.470
     187   M/S Think Future Technologies                  India         Software                                                         240.945    232    Beijing Forever Technology Co Ltd                      China         Software                                                         199.927
     188   Aiotec Ltd                                     New Zealand   Computers and Peripherals                                        238.474    233    DeNA Co Ltd                                            Japan         Internet                                                         199.753
     189   Beijing C-platform Digital Technology Co Ltd   China         Telecommunications and Networking                                238.150    234    Mec Imex InCorp                                        Taiwan        Semiconductors, Components and Electronics                       198.266
     190   DiagCor Bioscience InCorp Ltd                  China         Biotechnology, Pharmaceutical and Medical Equipment              236.116    235    Nanos Co Ltd                                           South Korea   Semiconductors, Components and Electronics                       197.506

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 Rank      Company                                          Location      Industry sector                                       Three-year % growth   Rank   Company                                              Location      Industry sector                                       Three-year % growth
     236   SI Tech                                          South Korea   Computers and Peripherals                                        197.411    281    J Touch Corp                                         Taiwan        Semiconductors, Components and Electronics                       173.801
     237   GeneCare Research Institute Co Ltd               Japan         Biotechnology, Pharmaceutical and Medical Equipment              197.009    282    Viocorp International                                Australia     Internet                                                         171.606
     238   Beijing EMAR Online Technology Co Ltd            China         Internet                                                         196.548    283    Entire Technology Co Ltd                             Taiwan        Semiconductors, Components and Electronics                       171.586
     239   Siltrontech Electronics Corp                     Taiwan        Semiconductors, Components and Electronics                       196.215    284    Epileds Technologies Inc                             Taiwan        Semiconductors, Components and Electronics                       171.084
     240   Seoul Semiconductor                              South Korea   Semiconductors, Components and Electronics                       195.286    285    Appen Holdings Pty Ltd                               Australia     Telecommunications and Networking                                170.834
     241   BeiJing NineStar Technology joint-Stock Co Ltd   China         Software                                                         194.792    286    Dalian Kingdian Network Development Co Ltd           China         Internet                                                         170.798
     242   Line Tech Co Ltd                                 South Korea   Telecommunications and Networking                                194.405    287    Quantumlinx Pty Ltd                                  Australia     Internet                                                         169.814
     243   ArcherMind Technology (Nanjing) Co Ltd           China         Telecommunications and Networking                                194.295    288    SolidWizard Technology Co Ltd                        Taiwan        Software                                                         169.339
     244   ZNet Technologies Pvt Ltd                        India         Internet                                                         193.129    289    Userjoy Technology Co Ltd                            Taiwan        Media and Entertainment                                          168.812
     245   Nitgen & Company                                 South Korea   Telecommunications and Networking                                193.080    290    Asia Electronic Material Co Ltd                      Taiwan        Semiconductors, Components and Electronics                       167.692
     246   D&T Inc                                          South Korea   Media and Entertainment                                          192.272    291    iSelect Ltd                                          Australia     Internet                                                         167.254
     247   Fiberpro Inc                                     South Korea   Telecommunications and Networking                                191.574    292    Sun Well Solar Corp                                  Taiwan        Green Technology                                                 166.902
     248   Wardy IT Solutions                               Australia     Software                                                         190.997    293    UBIC Inc                                             Japan         Semiconductors, Components and Electronics                       166.314
     249   Web Genius Central New Zealand Ltd               New Zealand   Media and Entertainment                                          188.363    294    SiteMinder                                           Australia     Software                                                         165.879
     250   Ajinextek Co Ltd                                 South Korea   Semiconductors, Components and Electronics                       187.702    295    Kingsoft Japan Inc                                   Japan         Software                                                         164.456
     251   Lung Hwa Electronics Co Ltd                      Taiwan        Semiconductors, Components and Electronics                       187.405    296    Hunan Stellar Special Pump Co Ltd                    China         Green Technology                                                 163.896
     252   CoilMaster Co Ltd                                South Korea   Semiconductors, Components and Electronics                       186.967    297    SnapComms Ltd                                        New Zealand   Software                                                         163.781
     253   OD-Tech Co Ltd                                   South Korea   Semiconductors, Components and Electronics                       186.952    298    Beijing Brainaire Storage Technology Co Ltd          China         Computers and Peripherals                                        162.335
     254   Hanbit Electronics Co Ltd                        South Korea   Computers and Peripherals                                        186.188    299    Winlight Co Ltd                                      Japan         Internet                                                         161.243
     255   Microqual Techno Ltd                             India         Telecommunications and Networking                                185.701    300    Sunjet Components Corp                               Taiwan        Semiconductors, Components and Electronics                       160.555
     256   Maction Technologies Inc                         Taiwan        Software                                                         185.538    301    Silicon Power Computer & Communication Inc           Taiwan        Semiconductors, Components and Electronics                       159.788
     257   LIG System Co Ltd                                South Korea   Software                                                         185.366    302    Kogan Technologies Pty Ltd                           Australia     Semiconductors, Components and Electronics                       158.385
     258   Stack Devices Corp                               Taiwan        Semiconductors, Components and Electronics                       185.364    303    KernMobile Ltd                                       New Zealand   Internet                                                         156.899
     259   Seoul Standard Co Ltd                            South Korea   Computers and Peripherals                                        185.232    304    inTechnology Distribution Pty Ltd                    Australia     Telecommunications and Networking                                155.432
     260   Food & Commodity Brokers (NZ) 2008 Ltd           New Zealand   Internet                                                         185.181    305    Sonar Ltd                                            New Zealand   Internet                                                         154.803
     261   Edison Opto Corp                                 Taiwan        Semiconductors, Components and Electronics                       183.524    306    Unisits Technology Co Ltd                            China         Telecommunications and Networking                                153.631
     262   Shin-Oh Electronics Co Ltd                       South Korea   Telecommunications and Networking                                182.839    307    Young Fast Optoelectronics Co Ltd                    Taiwan        Semiconductors, Components and Electronics                       152.450
     263   Grand Plastic Technology Corp                    Taiwan        Semiconductors, Components and Electronics                       182.583    308    Pony Testing International Group (Shenzhen) Co Ltd   China         Semiconductors, Components and Electronics                       152.091
     264   Newmax Technology Co Ltd                         Taiwan        Semiconductors, Components and Electronics                       182.495    309    Ansarada Pty Ltd                                     Australia     Internet                                                         151.766
     265   Navis Automotive Systems Inc                     South Korea   Computers and Peripherals                                        182.433    310    Beijing GeoEnviron Engineering & Technology Inc      China         Green Technology                                                 151.081
     266   AppoTech Ltd                                     China         Semiconductors, Components and Electronics                       181.654    311    Jeng Shiang Precision Ind Co Ltd                     Taiwan        Semiconductors, Components and Electronics                       150.474
     267   Doosan Dong-A Corp                               South Korea   Media and Entertainment                                          181.646    312    Fulltech Fiber Glass Corp                            Taiwan        Semiconductors, Components and Electronics                       149.881
     268   EIC Group Ltd                                    China         Software                                                         181.426    313    ZIGExN Co Ltd                                        Japan         Internet                                                         148.752
     269   Aura Software Security Ltd                       New Zealand   Software                                                         180.801    314    LandOcean Energy Services Co Ltd                     China         Software                                                         148.011
     270   Abraham Group Holdings Co Ltd                    Japan         Media and Entertainment                                          180.638    315    Nazara Technologies Pvt Ltd                          India         Telecommunications and Networking                                147.251
     271   Spirit Telecom (Australia) Pty Ltd               Australia     Telecommunications and Networking                                180.414    316    NatureWise Biotech & Medicals Corp                   Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              147.225
     272   Codec                                            South Korea   Computers and Peripherals                                        180.406    317    Pony Testing International Group (Shanghai) Co Ltd   China         Semiconductors, Components and Electronics                       147.030
     273   Taesung LCD Part Co Ltd                          South Korea   Computers and Peripherals                                        179.462    318    Aptos Technology Inc                                 Taiwan        Semiconductors, Components and Electronics                       145.987
     274   Hyundai Consulting & Information                 South Korea   Software                                                         179.106    319    Tekcore Co Ltd                                       Taiwan        Semiconductors, Components and Electronics                       145.839
     275   Optis Co Ltd                                     South Korea   Computers and Peripherals                                        178.155    320    Oasys solution Inc                                   Japan         Green Technology                                                 145.789
     276   Shanghai Sunivo supply chain management Co Ltd   China         Internet                                                         177.993    321    Sangfor Technology                                   China         Telecommunications and Networking                                144.901
     277   Getprice                                         Australia     Internet                                                         176.506    322    Viking Tech Corpoaration                             Taiwan        Semiconductors, Components and Electronics                       144.586
     278   Octaware Technologies Pvt Ltd                    India         Software                                                         175.484    323    Bulletproof Networks Pty Ltd                         Australia     Internet                                                         143.283
     279   Platinum Safety Ltd                              New Zealand   Software                                                         175.067    324    MacromatiX Holdings                                  Australia     Internet                                                         141.963
     280   Tencent Holdings Ltd                             China         Internet                                                         174.595    325    IDimension MSC Sdn Bhd                               Malaysia      Software                                                         141.827

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 Rank      Company                                           Location      Industry sector                                       Three-year % growth   Rank   Company                                   Location      Industry sector                                       Three-year % growth
     326   High Power Opto Inc                               Taiwan        Semiconductors, Components and Electronics                       141.194    371    GIO Optoelectronics Corp                  Taiwan        Semiconductors, Components and Electronics                       122.139
     327   BigAir Group Ltd                                  Australia     Internet                                                         140.091    372    MStar Semiconductor Inc (Cayman)          Taiwan        Semiconductors, Components and Electronics                       121.354
     328   Spice i2i Ltd                                     Singapore     Telecommunications and Networking                                139.404    373    NetentSec Inc                             China         Telecommunications and Networking                                119.557
     329   Chipbond Technology Corp                          Taiwan        Semiconductors, Components and Electronics                       139.293    374    Globals ITeS Pvt Ltd                      India         Software                                                         119.111
     330   ILI Technology Corp                               Taiwan        Semiconductors, Components and Electronics                       138.797    375    Energy Mad Ltd                            New Zealand   Green Technology                                                 118.442
     331   Big Sun Energy Technology Inc                     Taiwan        Green Technology                                                 138.380    376    Calin Technology Co Ltd                   Taiwan        Semiconductors, Components and Electronics                       118.216
     332   Sundia MediTech Company Ltd                       China         Biotechnology, Pharmaceutical and Medical Equipment              136.926    377    Team Group Inc                            Taiwan        Semiconductors, Components and Electronics                       118.112
     333   Generation-e                                      Australia     Telecommunications and Networking                                136.597    378    Genesis Photonics Inc                     Taiwan        Semiconductors, Components and Electronics                       117.884
     334   Torpedo7 Ltd                                      New Zealand   Internet                                                         136.535    379    Morpho Inc                                Japan         Software                                                         116.250
     335   EitaroSoft Inc                                    Japan         Software                                                         135.545    380    Glory Praise Photronics Corp              Taiwan        Semiconductors, Components and Electronics                       115.975
     336   ShenZhen Kingdee Middleware Co Ltd                China         Software                                                         135.262    381    Taiwan Surface Mounting Technology Corp   Taiwan        Semiconductors, Components and Electronics                       115.917
     337   IMI Mobile Pvt Ltd                                India         Telecommunications and Networking                                134.793    382    BrainPad Inc                              Japan         Internet                                                         115.500
     338   Solar Applied Materials Technology Corp           Taiwan        Semiconductors, Components and Electronics                       134.617    383    Unity Opto Technology Co Ltd              Taiwan        Semiconductors, Components and Electronics                       115.494
     339   Huga Optotech Inc                                 Taiwan        Semiconductors, Components and Electronics                       134.513    384    Realworld Inc                             Japan         Internet                                                         114.497
     340   Vtion Technology (China) Co Ltd                   China         Telecommunications and Networking                                132.899    385    PchomeStore Inc                           Taiwan        Internet                                                         114.413
     341   Zhejiang Dahua Technology Co Ltd                  China         Telecommunications and Networking                                132.306    386    Lumitek Corp                              Taiwan        Semiconductors, Components and Electronics                       114.063
     342   Yamada Green Resources Ltd and its subsidiaries   Singapore     Green Technology                                                 131.840    387    Irtouch Systems Co Ltd                    China         Computers and Peripherals                                        113.634
     343   Sentelic Corp                                     Taiwan        Semiconductors, Components and Electronics                       131.780    388    AimCore Technology Co Ltd                 Taiwan        Semiconductors, Components and Electronics                       113.345
     344   Higher Way Electronic Co Ltd                      Taiwan        Semiconductors, Components and Electronics                       131.089    389    Trenders Corp                             Japan         Internet                                                         113.176
     345   Molecular Connections Pvt Ltd                     India         Biotechnology, Pharmaceutical and Medical Equipment              130.655    390    Bioptik Technology Inc                    Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              112.397
     346   ROI.com.au Pty                                    Australia     Internet                                                         130.422    391    Elan Emerging Technologies Pvt Ltd        India         Software                                                         111.787
     347   Kayac Inc                                         Japan         Internet                                                         129.462    392    LatentView Analytics Pvt Ltd              India         Software                                                         111.482
     348   ATMU Inc                                          China         Telecommunications and Networking                                129.249    393    Bharatiya Global Infomedia Ltd            India         Software                                                         111.321
     349   Cayenne Entertainment Technology Co Ltd           Taiwan        Media and Entertainment                                          129.216    394    Sunflex Tech. Co Ltd                      Taiwan        Semiconductors, Components and Electronics                       111.292
     350   Solartech Energy Corp                             Taiwan        Green Technology                                                 128.791    395    M2 Telecommunications Group Ltd           Australia     Telecommunications and Networking                                110.803
     351   Hiconics Drive Technology Co Ltd                  China         Semiconductors, Components and Electronics                       128.164    396    Ablerex Electronics Co Ltd                Taiwan        Semiconductors, Components and Electronics                       110.569
     352   Natureshop Ltd                                    New Zealand   Internet                                                         127.724    397    Microbio Co Ltd                           Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              110.521
     353   BioDuro (Beijing) Co Ltd                          China         Biotechnology, Pharmaceutical and Medical Equipment              127.683    398    Taiflex Scientific Co Ltd                 Taiwan        Semiconductors, Components and Electronics                       110.507
     354   Indusface Consulting Pvt Ltd                      India         Software                                                         127.658    399    Chi Mei Materials Technology Corp         Taiwan        Semiconductors, Components and Electronics                       110.497
     355   NRL Pharma Inc                                    Japan         Biotechnology, Pharmaceutical and Medical Equipment              127.635    400    ValueFirst Messaging Pvt Ltd              India         Telecommunications and Networking                                110.194
     356   Universal Solution Systems Inc                    Japan         Software                                                         126.714    401    Aqua Science Corp                         Japan         Semiconductors, Components and Electronics                       110.029
     357   Higgstec Inc                                      Taiwan        Semiconductors, Components and Electronics                       126.537    402    Tella Inc                                 Japan         Biotechnology, Pharmaceutical and Medical Equipment              109.856
     358   Welltend Technology Corp                          Taiwan        Computers and Peripherals                                        126.224    403    Pilot Electronics Corp                    Taiwan        Semiconductors, Components and Electronics                       109.373
     359   Capella Microsystems (Taiwan) Inc                 Taiwan        Semiconductors, Components and Electronics                       126.169    404    ElectraCard Services Pvt Ltd              India         Software                                                         109.282
     360   CCP Contact Probes Co Ltd                         Taiwan        Semiconductors, Components and Electronics                       125.377    405    Sino-American Silicon Products Inc        Taiwan        Semiconductors, Components and Electronics                       109.200
     361   Nuvoton Technology Corp                           Taiwan        Semiconductors, Components and Electronics                       124.973    406    Gigastorage Corp                          Taiwan        Semiconductors, Components and Electronics                       108.906
     362   Kreateevee Sdn Bhd                                Malaysia      Software                                                         124.947    407    Advanced Control & Systems Inc            Taiwan        Software                                                         108.554
     363   Digilife Technologies Co Ltd                      Taiwan        Semiconductors, Components and Electronics                       124.838    408    Rossmax International Ltd                 Taiwan        Biotechnology, Pharmaceutical and Medical Equipment              108.192
     364   Beijing Star Software Technology Co Ltd           China         Telecommunications and Networking                                124.280    409    Vriti Infocom Pvt Ltd                     India         Internet                                                         108.161
     365   Kyland Technology Co Ltd                          China         Telecommunications and Networking                                123.891    410    Eclat Forever Machinery Co Ltd            Taiwan        Semiconductors, Components and Electronics                       107.997
     366   Lotes Co Ltd                                      Taiwan        Semiconductors, Components and Electronics                       123.556    411    IP Payments                               Australia     Software                                                         107.702
     367   Arclite Optronics Corp                            Taiwan        Semiconductors, Components and Electronics                       123.175    412    E Ink Holdings Inc                        Taiwan        Semiconductors, Components and Electronics                       107.047
     368   Start Today Co Ltd                                Japan         Internet                                                         122.511    413    Ultra Serve Internet Pty Ltd              Australia     Internet                                                         106.649
     369   Formosa Electronic Industries Inc                 Taiwan        Semiconductors, Components and Electronics                       122.415    414    Answer Technology Co Ltd                  Taiwan        Semiconductors, Components and Electronics                       106.143
     370   E-Web Marketing Pty Ltd                           Australia     Internet                                                         122.189    415    Dbvisit Software Ltd                      New Zealand   Software                                                         105.648

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 Rank      Company                                                Location      Industry sector                                       Three-year % growth   Rank   Company                                            Location      Industry sector                              Three-year % growth
     416   Bleum Software Development (Shanghai) Co Ltd           China         Software                                                         104.348    461    Adways Co Ltd                                      Japan         Internet                                                  91.597
     417   Stratatel Ltd                                          Australia     Software                                                         104.186    462    Tata Consultancy Services (China) Co Ltd           China         Software                                                  91.517
     418   Aussie Farmers Direct                                  Australia     Internet                                                         104.158    463    Generalplus Technology Inc                         Taiwan        Semiconductors, Components and Electronics                91.258
     419   Lee's Pharmaceutical Holdings Ltd                      China         Biotechnology, Pharmaceutical and Medical Equipment              103.995    464    ATM Electronic Corp                                Taiwan        Semiconductors, Components and Electronics                90.489
     420   SilverStripe Ltd                                       New Zealand   Internet                                                         103.358    465    G-Cube Webwide Software Pvt Ltd                    India         Software                                                  90.390
     421   Alchip Technologies Ltd                                Taiwan        Semiconductors, Components and Electronics                       102.745    466    Primax Electronics Ltd                             Taiwan        Computers and Peripherals                                 90.372
     422   Epistar Corp                                           Taiwan        Semiconductors, Components and Electronics                       102.392    467    Beijing HaitaiFangyuan High Technology Co Ltd      China         Telecommunications and Networking                         89.591
     423   E-Lead Electronic Co Ltd                               Taiwan        Semiconductors, Components and Electronics                       102.220    468    Acme Electronics Corp                              Taiwan        Semiconductors, Components and Electronics                89.501
     424   Innoviti Embedded Solutions Pvt Ltd                    India         Software                                                         102.088    469    Net 4 India Ltd                                    India         Internet                                                  88.940
     425   Paladion Networks Pvt Ltd                              India         Software                                                         102.020    470    China New Media                                    China         Media and Entertainment                                   88.833
     426   Omnitech InfoSolutions Ltd                             India         Software                                                         101.237    471    Vista Entertainment Solutions Ltd                  New Zealand   Software                                                  88.004
     427   Nishoku Technology Inc                                 Taiwan        Semiconductors, Components and Electronics                       100.773    472    Leader Environmental Technologies Ltd              Singapore     Green Technology                                          87.940
     428   Changchun Changsheng Life Sciences Ltd                 China         Biotechnology, Pharmaceutical and Medical Equipment              100.478    473    The Sleep Store Ltd                                New Zealand   Internet                                                  87.447
     429   Elite Advanced Laser Corp                              Taiwan        Semiconductors, Components and Electronics                       100.306    474    Sankalp Semiconductor Pvt Ltd                      India         Semiconductors, Components and Electronics                86.959
     430   Medical Net Communications Inc                         Japan         Internet                                                           99.932   475    Avoka Technologies                                 Australia     Software                                                  85.836
     431   Advanced Semiconductor Engineering Inc                 Taiwan        Semiconductors, Components and Electronics                         99.874   476    Future Focus Infotech Pvt Ltd                      India         Software                                                  84.690
     432   Camson Bio Technologies Ltd                            India         Biotechnology, Pharmaceutical and Medical Equipment                99.834   477    Suzhou Maxnet Network Security Technology Co Ltd   China         Software                                                  84.362
     433   On-Brigth Electronics Incorporated                     Taiwan        Semiconductors, Components and Electronics                         99.692   478    SmarTrak Ltd                                       New Zealand   Computers and Peripherals                                 84.063
     434   IF Telecom Pty Ltd                                     Australia     Telecommunications and Networking                                  99.255   479    China Automation Group Ltd                         China         Telecommunications and Networking                         83.968
     435   Nextgen Inc                                            Japan         Software                                                           99.000   480    Indus Net Technologies                             India         Internet                                                  83.731
     436   LuxNet Corp                                            Taiwan        Semiconductors, Components and Electronics                         98.908   481    8 Telecom International Holdings Co Ltd            Singapore     Telecommunications and Networking                         83.326
     437   SMX Ltd                                                New Zealand   Software                                                           98.652   482    euNetworks Group Ltd                               Singapore     Telecommunications and Networking                         83.103
     438   Walton Chaintech Corp                                  Taiwan        Semiconductors, Components and Electronics                         98.469   483    Optimal Usability Ltd                              New Zealand   Internet                                                  82.949
     439   Livesense Inc                                          Japan         Internet                                                           98.382   484    Enlighten Designs Ltd                              New Zealand   Software                                                  82.258
     440   Neo Solar Power Corp                                   Taiwan        Green Technology                                                   97.917   485    FreeBit Co Ltd                                     Japan         Internet                                                  82.186
     441   Wintek Corp                                            Taiwan        Semiconductors, Components and Electronics                         97.915   486    Feinmetall Singapore Pte Ltd                       Singapore     Semiconductors, Components and Electronics                82.000
     442   UDE Corp                                               Taiwan        Semiconductors, Components and Electronics                         97.503   487    Eyou.net Corp                                      China         Software                                                  81.622
     443   Coretek Opto Corp                                      Taiwan        Semiconductors, Components and Electronics                         96.742   488    Sinotel Technologies Ltd                           Singapore     Telecommunications and Networking                         81.278
     444   Quinntessential Marketing                              Australia     Internet                                                           96.339   489    Beken Corp                                         China         Semiconductors, Components and Electronics                80.125
     445   EC Navi Company                                        Japan         Internet                                                           96.021   490    e3Learning Solutions                               Australia     Internet                                                  79.508
     446   Carry Technology Co Ltd                                Taiwan        Computers and Peripherals                                          95.910   491    Dnion Technology                                   China         Telecommunications and Networking                         79.426
     447   Green Energy Technology Inc                            Taiwan        Green Technology                                                   95.531   492    Telesmart Ltd                                      New Zealand   Telecommunications and Networking                         79.044
     448   BeiJing Unifly Scientific and Technology Company Ltd   China         Green Technology                                                   95.201   493    Nitro PDF Software                                 Australia     Software                                                  77.634
     449   RedBalloon Pty Ltd                                     Australia     Internet                                                           94.813   494    Europtronic Group Ltd                              Singapore     Semiconductors, Components and Electronics                77.630
     450   Sinher Technology Inc Ltd                              Taiwan        Semiconductors, Components and Electronics                         94.415   495    Direct Payment Solutions Ltd                       New Zealand   Telecommunications and Networking                         76.749
     451   Tung Thih Electronic Co Ltd                            Taiwan        Semiconductors, Components and Electronics                         93.894   496    OzForex Pty Ltd                                    Australia     Internet                                                  75.769
     452   Valuemomentum Software Services Pvt Ltd                India         Software                                                           93.639   497    News Ticketing                                     Australia     Internet                                                  75.032
     453   Vayavya Labs Pvt Ltd                                   India         Software                                                           93.580   498    Shenzhen State Micro Technology Co Ltd             China         Media and Entertainment                                   73.116
     454   ChinaNet Online Holdings Inc                           China         Internet                                                           93.356   499    Sound Global Ltd                                   Singapore     Green Technology                                          72.293
     455   C3 Business Solutions Pty Ltd                          Australia     Software                                                           93.152   500    iiNet Ltd                                          Australia     Internet                                                  70.103
     456   Daxin Materials Co Ltd                                 Taiwan        Semiconductors, Components and Electronics                         92.922
     457   Pollenizer Pty Ltd                                     Australia     Internet                                                           92.872
     458   Tai-Tech Advanced Electronics Co Ltd                   Taiwan        Semiconductors, Components and Electronics                         92.747
     459   China Information Technology Inc                       China         Software                                                           92.079
     460   Mag. Layers Scientific-Technics Co Ltd                 Taiwan        Semiconductors, Components and Electronics                         91.626

24                                                                                                                                                                                                                                                                                                25
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Technology Fast 500 faces:
Yang Berbahagia Datuk Azrin Mohd Noor,
Group CEO Sedania Group
DTTL TMT: You achieved 97 percent growth over three years in the Technology Fast 500         DTTL TMT: Is the current economic slowdown                                                                                                  DTTL TMT: Many fast-growing TMT companies have
2010 program, which is admirable given the slowdown in the world economy over this           affecting your company growth at all, and if so, to                                                                                         experienced funding challenges over the last two
period. What do you attribute this growth to?                                                what extent? If growth is slowing as a result of the                                                                                        years. Has Sedania experienced funding challenges
                                                                                             slowdown, will you change strategy, and if so, how?                                                                                         at all, and if so, what do you attribute this to?
Yang Berbahagia Datuk Azrin Mohd Noor: Number one, we are in a niche and new
space, so it is fair to say that some of the ways of doing business in the world do not      Yang Berbahagia Datuk Azrin Mohd Noor:                                                                                                      Yang Berbahagia Datuk Azrin Mohd Noor:
necessarily apply to us, which is great. Second is definitely the great team that we have    The current economic slowdown affects everyone.                                                                                             Sedania has had its fair share of funding challenges
at Sedania—Sedanians as they are called, are our greatest asset. I wouldn’t be able to       Having said that, the strategies that we have put                                                                                           in Malaysia. Most of our local banks are not
do the wonderful things that we do without them. Lastly, I put it down to proper vision      in place minimize that impact and we are still on                                                                                           necessarily friendly to industries that they are not
and strategy in our forward planning. Watch this space, as we are embarking on a few         track with our long-term plans. Part of it is our niche                                                                                     familiar with. I remember trying to talk to banks
revolutionary things that will really excite the business world.                             positioning in the consumer fulfillment industry.                                                                                           about funding the acquisition of Malaysian TV rights
                                                                                             We develop products that are necessities for                                                                                                to the UEFA Champions League and English Premier
                                                                                             consumers, from the cost-conscious to tech-savvy                                                                                            League, in the early days. Even with multiple levels
                                                                                             enthusiasts. For instance, LocalSIMKad™ allows                                                                                              of guaranteed returns, the banks still asked for
DTTL TMT: What about the industry you                                                        travellers to save more on telecommunications when                                                                                          landed property or cash as collateral. We still went
operate in excites you the most?                                                             abroad. Green Billing saves costs for consumers and                                                                                         ahead with the highly profitable deal using creative
                                                                                             telecommunication companies. As-Sidq ensures that                                                                                           financial arrangements.
                                                                                             Muslim banking-customers’ needs are attended to.
Yang Berbahagia Datuk Azrin Mohd Noor:                                                       So yes, despite the slowdown, we’re confident that
                                                                                                                                                                                                                                         DTTL TMT: What is the one thing that keeps you
The fact that we coined the term and positioned                                              it has less impact on our business for as long as
                                                                                                                                                                                                                                         awake at night and why?
                                                                                             we understand consumers’ behaviour and cater to
ourselves in what we call the “fulfillment                                                   those patterns.                                                                                                                             Yang Berbahagia Datuk Azrin Mohd Noor: A late

industry” is already very exciting. We set the                                                                                                                                                                                           Manchester United live match on TV! Nothing beats
                                                                                                                                                                                                                                         a good night sleep. Any problems or issues always
rules and we dictate the direction of this industry.                                                                                                                                                                                     seem smaller the next morning.

The feeling of creating something to provide for                                                                                                       Sedania is a Malaysia-based content and fulfilment group. Commencing
                                                                                                                                                       operations in 2004, Sedania Group now has over 140 employees and operations
the seven billion people on this earth gives you a                                                                                                     in Indonesia, Vietnam, Cambodia, Bangladesh, Singapore, Thailand and the
                                                                                                                                                       Philippines. The group has several offices in Malaysia with its headquarters in
bit of a high.                                                                                                                                         Kelana Jaya. Sedania's activities include content for television and new media;
                                                                                                                                                       mobile communication technology and platforms; engineering research and
                                                                                                                                                       development; as well as advertising and consumer engagement.

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                                Exhibit F
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         2011Deloitte Technology
         Fast 50 China
         Ranking and CEO Survey




   Technology, Media &
   Telecommunications (TMT)
   Industry
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   Foreword

   Deloitte China is honored to share with you the results of   in common is that all of them have achieved amazing fast
   the 7th Deloitte Technology Fast 50 China program.           growth in revenue over the past three years.

   Despite various economic challenges in 2011, China is        We are delighted to see the accumulative growth rate of
   able to maintain a stable and rapid growth, evidenced by     the top 5 fastest-growing companies over the past three
   the strong performance of companies which participated       years ranged from 1,955% to 19,218%. The winning
   in the Deloitte Technology Fast 50 China program.            companies' growth rates as a whole are similar to last year,
   Meanwhile, because of the strong performance of Chinese      which has fully evidenced the sustainable growth ability
   winning companies' growth rate ranking and their             of Chinese companies.
   sustained increase in proportion, Deloitte Technology fast
   50 China program has become an important part of             Congratulations to all the winning companies and we
   Deloitte Technology Fast 500 Asia Pacific program,           wish them greater success in the future. We also expect to
   which has been successfully held for several years           witness more companies of excellence and gratifying
                                                                results in next year's Deloitte Technology Fast 50
   together with other Technology Fast programs in EMEA
                                                                Program.
   (Europe Middle East And Africa) and North America
   regions, being highly focused and credible to the public.
   The program is now considered as benchmark for fast-
   growing technology companies across the globe.

   The applicants of this year's program come from 18 cities
   and regions respectively Beijing, Shanghai, Shenzhen,
   Hong Kong, Dalian, Fuzhou, Guangzhou, Hangzhou,
   Jiaxing, Jiangsu, Nanchang, Nanjing、Xiamen, Suzhou,
   Wuhan, Changchun, Changsha and Zhejiang. The 50
   winning companies of this year covered a wide range of
                                                                   Chris Lu                 William Chou
   industry sectors, including software, ecommerce, Internet,
                                                                   Deloitte China           Deloitte China
   communications/networking, biotech/pharmaceutical,
                                                                   CEO                      Technology, Media &
   semiconductor, computer/peripherals, education
                                                                                            Telecommunications Industry
   technology, clean tech technology/new energy, the third                                  National Managing Partner
   party financial planning and auto lease, etc. There are
   both public companies and private ones in them, but what
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   2011 Deloitte Technology Fast
   50 China program
   At a glance
   Deloitte Technology Fast 50 program constitutes part of      • A company that develops proprietary technology
   the Deloitte Technology Fast 500 Asia Pacific program        contributes to a significant portion of the company's
   and aims to recognize and recommend the fastest-             operating revenues. (Using other company's technology in
   growing hi-tech companies.                                   a unique way does not qualify); or
                                                                • A company that manufactures a technology-related
   The beginning of the Deloitte Technology Fast 500            product; or
   program was the Technology Fast 50 that started in 1995      • A company that devotes a high percentage of revenue to
   in San Jose. This program quickly expanded to numerous       the research and development of technology;
   cities and countries. The EMEA Technology Fast 500
   program was launched in 2001 and focused on promoting        2. It must have been in business for a minimum of three
   fast-growing technology companies across Europe. In the      years
   next year, the Technology Fast 50 companies in the Asia
   Pacific region were identified using similar criteria. The   3. It must have revenues of at least RMB2,000,000 in the
   program is now considered as one of the most objective       first of the years being analyzed
   award programs in technology, media and
   telecommunications industry across the globe.                4. It must be headquartered in Mainland China, Hong
                                                                Kong or Macau
   Because the proportion of winning Chinese enterprises in
   Deloitte Technology Fast 500 Asia Pacific program keeps      For more information, please visit the TF50 event website:
   rising on a yearly basis, Deloitte China launched the        www.deloittetmt.com/TF50.php
   Technology Fast 50 China program in 2005. To date, the
   program has been conducted for 6 years and a number of       2011 Program Sponsorship
   new and outstanding companies, such as Tencent, Baidu,
   Alibaba, Suntech Power and Vancl, have emerged in the
   country. Deloitte Technology Fast 50 China program           "2011 Deloitte Technology Fast 50 China" program
   aims to rank the top 50 leading high-tech companies          sponsors:
   (including both public and private companies) in the
   following industry sectors, as well as those related to      Strategic sponsors:
   them with headquarters in Hong Kong, Macau and the
   Chinese Mainland, based on their three-year average
   revenue growth:

   • Biotech/Pharmaceutical
   • Communications/Networking
   • Medical equipment
   • Semiconductor, components and electronics                  Supporting sponsors:
   • Computer/Peripherals
   • Internet
   • Software
   • Clean tech technology/New energy
   • New media
   • Ecommerce
   Other (Technology related companies not included above)

   To be eligible for Deloitte Technology Fast 50 China
   program, a company must meet the following criteria:

   1. It must be a technology company defined as:
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   Fast Facts
   Industry segmentation of the winning
                                                                 Winning companies by sector
   companies
   The 2011 Deloitte Technology Fast 50 China program                                        4%
                                                                                     2%
   also experienced some changes in terms of industry                            2%
                                                                                   2%
                                                                                                                  18%
   sectors this year, reflecting the rapid development of the                  2%
   high-tech industry. Among all sectors, software                        4%
   companies accounted for the largest proportion, rising
                                                                     4%
   from 16% in 2010 to 18% this year of all winning
   companies. The proportion of winning companies from
                                                                   4%
   the communications/network sector is 14%, following the
   e-commerce sector. Moreover, there is also a rapid
                                                                   4%                                                            16%
   development of winning companies in the emerging
   technology sectors, such as Internet of things, new media,
   clean tech/new energy companies, which accounted for 8%
   of the top 50 companies.                                          12%

   The proportion of ecommerce companies has experienced
                                                                                                                  14%
   a strong increase this year, accounting for 16% of all                             12%
   winning companies compared with 6% in last year. This
   rising trend is related to the growing number of Internet
   users, coupled with their enhanced experience brought                  Software(18%)
                                                                          Ecommerce(16%)
   about by improved convenience and reliability of online                Communications/Networking(14%)
   payment and associated logistics. The proportion of                    Internet(12%)
   semiconductor companies is 4% this year while this                     Biotech/Pharmaceutical(12%)
                                                                          Semiconductor(4%)
   sector even failed to rank the list in 2010. The strong                Computer/Peripherals(4%)
   growing trend in semiconductor sector is related to the                Education(4%)
   increase in electronic product consumption. Moreover,                  New media(4%)
                                                                          The third party financial planning/Private banks(2%)
   clean tech technology/new energy companies accounted
                                                                          Auto lease(2%)
   for 2%, a dramatic decrease from 10% in 2010. The                      Clean tech technology/New energy(2%)
   proportion of companies from biotech/pharmaceutical,                   The Internet of things(2%)
   internet, education and new media sectors has no                       Others(4%)

   significant changes compared with 2010.

   Regional distribution of winning                              Winning companies by regional distribution
   companies                                                                        2%
                                                                                         2% 2%
                                                                                               2%

                                                                               4%
   Companies from Beijing accounted for 52% of the                        4%
   winners, demonstrating the city's leading position in high-
   tech industry. Other cities and regions with relatively
   higher proportion of winners respectively are Shanghai、          8%
   Shenzhen and Hong Kong, aligning with their rapid
   economic developing pace. Cities new to the list are
   Zhejiang、Changsha、Nanchang、Nanjing and Wuhan.                                                                                 52%

   It was these technology fast companies that have brought        10%
   vitality to the local economy.



                                                                                14%



                                                                                Beijing(52%)                Shanghai(14%)
                                                                                Hong Kong(10%)              Shenzhen(8%)
                                                                                Guangzhou(4%)               Zhejiang(4%)
                                                                                Changsha(2%）                Nanchang(2%)
                                                                                Nanjing(2%)                 Wuhan(2%)
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   Winning software companies by regional distribution             Winning communication/networking companies by
                                                                   regional distribution


                       11%                                                     14%




                                                                    14%
                                                                                                                    44%




                                                   89%                 14%




                                                                                           14%
                     Beijing（89%）      Shenzhen（11%）                      Shenzhen(44%)    Beijing(14%)   Hongkong(14%)

                                                                          Zhejiang(14%)    Nanjing(14%)

   Winning ecommerce companies by regional                         Winning internet companies by regional distribution
   distribution


                      13%                                                    17%




                                                             50%



        37%




                                                                                                          83%


                                                                                   Beijing(83%)   Hongkong(17%)
              Shanghai(50%)   Beijing(37%)   Zhejiang(13%)
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   Winning biotech/pharmaceutical/medical device              Was the winner selected last year?
   companies by regional distribution
                                                              Most of the winners were not selected last year. It is
                  17%
                                                              notable that the industry sectors of the top 10 companies
                                                              are more widely dispersed, indicating the sustaining rapid
                                                              growth momentum of and fierce competition among
                                                              technology fast companies.

                                                   50%

                                                               40
                                                                                                     34
          33%                                                  35

                                                               30

                                                               25

           Beijing(50%)   Hongkong(33%)    Shanghai(17%)       20
                                                                              16
                                                               15
   According to the regional distribution diagrams of
                                                               10
   winning companies above, Beijing has the overwhelming
   superiority in this year's ranking.                          5

                                                                0
                                                                             yes                     no
   Listing status of winning companies

   There are 44 private companies among the top 50
   winning companies, representing a slight increase over     Winning companies by revenue growth
   last year's 41. This indicates the rapid growth momentum
   of private companies still remains.
                                                               Top 50 ranking           Average growth rate in 2011
                                                                     1-10                          4537%
    50
                                          44
    45                                                              11-20                          598%
    40
    35
                                                                    21-30                          349%
    30                                                              31-40                          252%
    25
    20
                                                                    41-50                          195%
    15
    10              6                                               Total                          1186%
     5
     0                                                              Top 5                          7759%
            Public companies       Private companies
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   2011 Deloitte Technology Fast
   50 China program-Top 5 winners
    The top 5 winners of 2011 Deloitte Technology Fast 50 China program have achieved
    an average growth rate of 7,759%. The company profiles are as follows.
                        No. 1
                        The Store Corporation (yihaodian.com)
                        Chairman: Yu Gang
                        Website: www.yihaodian.com
                        Revenue growth rate: 19218％

                        yihaodian.com was formally put online on 11 July 2008 and pioneered the mode of
                        "online supermarket" in Chinese ecommerce industry. yihaodian.com, invested and
                        founded by The Store Corporation, is a leading B2C ecommerce company in China in
                        aspects of scale and commodity categories. Since the launch, yihaodian.com has attracted
                        more than 12 million registered customers, several thousand suppliers, with over 120,000
                        types of commodities subject to 11 major categories: the food and beverage, beauty care,
                        kitchen and toilet cleaning, baby and mommy products, toys, electrical appliance, home
                        furnishing, nutrition and health care, etc., thus making it one of China's largest and
                        fastest-growing B2C ecommerce companies. Moreover, the mobile operation of The
                        Store, representing the cut-edge mobile internet technology, has created a new shopping
                        fashion with its original "virtual supermarkets mode ", and been recognized as the
                        "intelligent mobile supermarket" with convenient operation, rich features and the
                        fulfillment of real-time shopping demands of high-end consumers since its launch in
                        2011.

                        No. 2
                        Tendyron Corporation
                        Chairman and General Manager: Li Dongsheng
                        Website: www.tendyron.com
                        Revenue growth rate:9150％

                        Tendyron Corporation is a high-tech company committed to designing and producing
                        information security products. Tendyron is the first that launched HIP (Human Interface
                        Peripheral) concept-based USB Key products across the globe, fully resolved the problem
                        of hacker attacks to online banking at the client end, and have become the development
                        direction recognized by banking industry, thereby signifying a new milestone of online
                        transaction and authentication security. Tendyron has developed a complete set of
                        intelligent USB Key products which have been applied in ICBC and ABC, covering types
                        of button, voice and screen-display, so as to effectively prevent hacker attacks such as
                        remote kidnapping and transaction tampering. Tendyron has become the front-runner in
                        international high-end USB Key market.
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                      No. 3
                      Jiaxing Mbaobao Network Technology Co., Ltd
                      CEO: Ye Haifeng
                      Website: www.mbaobao.com
                      Revenue growth rate: 6288％

                      Headquartered in Jiaxing, Zhejiang Province and founded in 2007 by Ye Haifeng, who
                      has 15-year luggage manufacturing experience, Mbaobao is the largest Chinese B2C
                      company engaging in bags and luggage business. During the past four years, Mbaobao
                      has been developing at a rocketing growth rate of nearly 10 times on a yearly basis,
                      which is deemed as a miracle in bags and luggage industry. The company has
                      successively acquired nearly US$50 million venture capital from an angel investment
                      under VISCONT Group, a century old brand based in Italy, DCM, Lenovo Group and
                      Trust Bridge Partners, etc. Mbaobao is not only the first B2C platform of Chinese bags
                      and luggage industry, but also the first of the industry to start up internationalization
                      process. The Tokyo subsidiary of Mbaobao was set up in 2010, and an English website
                      "www.bagsok.com", targeting mainly at the North American customer base was launched
                      in the same year. On 18 July 2011, the official website of Mbaobao Japan started the
                      online operation.




                      No. 4
                      ganji.com
                      Managing Director: Yang Haoyong
                      Website: www.ganji.com
                      Revenue Growth Rate: 2,186%

                      The ganji.com, the largest classified information portal in China, provides local living
                      and commercial services information covering property rent, second-hand articles sales,
                      recruitment and job hunting, vehicle sales, pets, tickets, education trainings, city-specific
                      activities and networking, and group shopping. Since its launch in 2005, ganji.com is
                      growing fast and has become popular among users. Headquartered in Beijing, the
                      provider has established branches in Shanghai, Guangzhou and Shenzhen and substations
                      in 374 major cities across China, penetrating in all the areas of life. The life-focused
                      ganji.com is committed to building an indispensable information portal for our life.



                      No. 5
                      Shanghai Greenbox Internet Technology Co., Ltd.
                      CEO: Wu Fangfang
                      Website: www.lvhezi.com
                      Revenue Growth Rate: 1,955%

                      Since its foundation, Shanghai Greenbox Internet Technology Co., Ltd. is committed to
                      building a top brand of children’s clothing and online shopping platform in China. Over
                      years of commitment, the Company has built a complete industry chain from the design
                      and development of children’s clothes and ornaments to sophisticated production system
                      support as well as ongoing innovative online marketing system and has accumulated rich
                      operating experience. The company consists of a top design team, elite marketing team,
                      considerable aftersales service team and specialized manufacturing team.
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       2011 Deloitte Technology Fast 50 China Ranking
Rank                    Company Name                         City            Industry Sector          %Growth
 1     The Store Corporation                              Shanghai    Ecommerce                        19218%
 2     Tendyron Corporation                                Beijing    Software                          9150%
 3     Jiaxing Mbaobao Network Technology Co., Ltd         Jiaxing    Ecommerce                         6288%
 4     ganji.com                                           Beijing    Internet                          2186%
 5     Shanghai Greenbox Internet Technology Co.,Ltd.     Shanghai    Ecommerce                         1955%
  6    Wuhan Guoce Nordic New Energy Co., Ltd.              Wuhan     Green Technology                 1799%
  7    LATTICE POWER CORPORATION                          Nanchang    Semiconductor                    1547%
  8    Aesthetic Technology Beijing Ltd                     Beijing   Biotech/Pharmaceutical           1328%
  9    Borqs Hong Kong Limited                            Hong Kong   Telecommunications/Networking    1054%
 10    Zhejiang Yutian Technology Co.,Ltd.                 Zhejiang   Telecommunications/Networking    846%
 11    LightInTheBox Holdings Co., Ltd.                    Beijing    Internet                         838%
 12    HD Biosciences (China) Co., Ltd                    Shanghai    Biotech/Pharmaceutical           793%
 13    FUNSHION ONLINE TECHNOLOGIES CO.,LTD.               Beijing    Internet                         707%
 14    Hunan RunCore High Technology Co., Ltd.            Changsha    Computers/Peripherals            702%
 15    Shenzhen TINNO Mobile Technology Co., Ltd.         Shenzhen    Telecommunications/Networking    622%
 16    Shanghai Joyu Culture Dissemination Co.LTD         Shanghai    Ecommerce                        521%
 17    Shanghai eHi Car Rental Co., Ltd                   Shanghai    Others                           489%
 18    Lafaso Group Limited                                Beijing    Ecommerce                        467%
 19    Cosci Med-Tech Co.Ltd.                              Beijing    Biotech/Pharmaceutical           432%
 20    Beijing 58 Information Technology Co,Ltd            Beijing    Internet                         406%
 21    Beijing Kela Diamond Internet technology Co.,Ltd    Beijing    Ecommerce                        402%
 22    Shenzhen Wondershare Software Co.,Ltd.             Shenzhen    Software                         360%
 23    C Media Limited.                                    Beijing    Internet                         356%
 24    China Wireless Technologies Limited                Shenzhen    Telecommunications/Networking    356%
 25    Xueda Education Group                               Beijing    Others                           352%
 26    NOAH HOLDINGS LIMITED                              Shanghai    Others                           352%
 27    Shenzhen Elanw Network Co.,Ltd.                    Shenzhen    Telecommunications/Networking    340%
 28    GVITECH CORPORATION                                 Beijing    Computers/Peripherals            333%
 29    Beijing PDE Information Technology Co.,Ltd.         Beijing    Software                         320%
 30    Sysware Technology Co., Ltd                         Beijing    Software                         318%
 31    China TransInfo Technology Corp.                    Beijing    Software                         318%
 32    iClick Interactive Asia Limited                    Hong Kong   Internet                         297%
 33    GC-Rise Pharmaceutical Ltd                         Hong Kong   Biotech/Pharmaceutical           270%
 34    Tieto China Co., Ltd.                               Beijing    Software                         251%
 35    Beijing C-platform Digital Technology Co.,Ltd.      Beijing    Telecommunications/Networking    238%
 36    DiagCor Bioscience Incorporation Ltd               Hong Kong   Biotech/Pharmaceutical           236%
 37    Beijing Acctrue Technology Co.,Ltd                  Beijing    Software                         230%
 38    Beijing Fastweb Technology Co., Ltd.                Beijing    Internet                         229%
 39    Gan & Lee Pharmaceutical Co., Ltd.                  Beijing    Biotech/Pharmaceutical           224%
 40    Leshi Internet Information & Technology Corp.,      Beijing    Internet/New Media               224%
 41    Guangzhou Best-study Education Group               Guangzhou   Others                           215%
 42    Golden Spring Internet of Things Inc.                Beijing   Internet                         207%
 43    Fractalist China                                     Beijing   Internet/ New Media              200%
 44    Beijing Forever Technology Co., Ltd.                 Beijing   Software                         200%
 45    Beijing EMAR Online Technology Co., Ltd.             Beijing   Internet/ Ecommerce              197%
 46    BeiJing NineStar Technology joint-Stock Co.,Ltd      Beijing   Software                         195%
 47    ArcherMind Technology (Nanjing) Co., Ltd.            Nanjing   Telecommunications/Networking    194%
 48    AppoTech Limited                                   Hong Kong   Semiconductor                    182%
 49    EIC Group Ltd.                                     Guangzhou   Software                         181%
 50    Shanghai Sunivo supply chain management Co.,LTD     Shanghai   Internet                         178%
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   2011 Deloitte Technology Fast 50
   China CEO Survey Report
                                                                 What changes do CEOs of high-tech enterprises think will
   Summary                                                       accelerate the growth of enterprises in 2011? What
                                                                 problems do the enterprises urgently need to resolve in
   In 2011, the world economy faces various challenges: the
   overall growth has slowed down, and sovereign debt            terms of technological research, innovation, intellectual
   pressure and fragile financial system increase the            property and talent? Where is the expansion capital from?
   uncertainty of the global economic growth; however,           Regarding these questions, Deloitte conducts a
   China’s economy still remains steady and relatively fast      questionnaire survey on CEOs of the enterprises
   growth. Among three drivers of economic growth, the           participating in the China Tech Fast 50 Program.
   investment slips back by a small margin, the consumption
   is basically stable, but the export faces relatively more
   unfavorable factors. Under such circumstances, China’s        About CEO Survey
   high-tech enterprises still boast a strong momentum in        2011 China Tech Fast 50 list ranks 50 companies in TMT
   2011, making an outstanding contribution to China’s           industry from Mainland China and Hong Kong. They are
   economic development and playing an important role in         from different sectors, including software, e-commerce,
   maintaining steady and relatively fast development of the     Internet, communication/network, biotechnology/
   economy and social progress.                                  pharmaceuticals, semi-conductor, computer/ peripheral
                                                                 equipment, educational technology, clean technology/
   In 2011, China’s high-tech enterprises, some of which         new energy. No matter public or non-public, their
   still have urgent problems to solve, are facing more fierce   common feature is that their revenue growth rates are
   market competition. Lack of attention to proprietary          rising rapidly in the past three years. We sent out CEO
   intellectual property rights, and weak capability for         questionnaires to the participating enterprises and
   independent innovation, low conversion rate of                summarized the survey results. Now we are sharing with
   technological achievements as well as unsmooth channels       you the CEO Survey Report of 2011 China Tech Fast 50.
   for investment and financing and talent bottleneck are
   restricting China’s upgrading of industrial structure, the
   transformation of growth pattern and the promotion of
   competitiveness. During this special economic period, we
   need pay more attention to the performance of China’s
   high-tech enterprises in 2011 and proactively provide
   decision-making evidence for their sustainable and fast
   development.
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   Development opportunity and policy environment
   for Enterprises
   The financing of high-tech companies is backed by             Amount to be increased in capital (equity or bonds)
   financial policies
                                                                          12%
   China's high-tech enterprises are facing unprecedented
   financing opportunities brought forth by the prospective                                  33%    US$25M+ (33%)
   development outlook of high-tech industry, governmental       14%                                None (24%)
   policy support, gradual improvement of the financial
   system and the established SME and GEM boards.                                                   US$10-25M (17%)

                                                                                                    US$5-10M (14%)
   When developing to a certain stage, high-tech companies                                          US$0-500 (12%)
   have established their leading products, expanded the          17%
   sales markets and further increased the market share.
   Their products and services have been accepted by mass                            24%

   consumers and the core competitiveness, or strength in        Problems to resolve through financing
   resources has been formed. The low risks and sound
   operating performance at this stage give rise to the growth
   momentum to high-tech companies. Additionally, as the
   companies scale up and accumulate more mortgage assets,
   they are able to seek funds on capital and equity market
   through equity or debt financing approaches, so as to help
   solve certain problems encountered for the moment.

   In this survey, 33% of the CEOs plan to raise their capital
   requirements by US$25 million above; while 17% of the
   CEOs plan to raise them by US$10 million-25 million.
   Merely 24% of the CEOs have no such plans for the next
   year.

   73% of the CEOs think the financing can fund technology       Impact on business revenue by the consumption
   upgrading and R&D activities, while 57% of the CEOs           stimulus
   think it provides the needed funds for marketing.
                                                                                3%
   High-tech enterprises are not significantly influenced by
   consumption stimulus policy
                                                                 24%
   Chinese government adopts the consumption stimulus                                                Small (49%)
   policy to maintain the fast growth of China's economy;                                            No (24%)
   however, the effect of this macro-economic policy is                                              N/A (24%)
   unremarkable to high-tech companies. 49% of the CEOs
                                                                                                     Great (3%)
   acknowledge that the consumption stimulus policy has a
   smaller impact over their enterprises, while 24% of the
   CEOs think it has no impact. Merely 3% of the CEOs                                       49%
                                                                    24%
   consider the impact as very large.
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   Strategic Choices and Operational Adjustments of
   Enterprises
   Key factors for business to achieve fast growth                    property, high-level management quality, grasp of
                                                                      opportunity and single focus are key factors for high-tech
                                                                      enterprises to maintain high growth. 54% of the CEOs
                                                                      view the improved sales skills as the first key factor for
                                                                      enterprises to achieve high growth, which is relevant with
                                                                      the increasingly intensive competition in the market of
                                                                      high-tech industry.

                                                                      Strengthen leadership of core management team and
                                                                      achieve operational objectives of core business

                                                                      The lack of talents, especially management talents, is one
                                                                      of the bottlenecks constraining high growth enterprises'
                                                                      expansion and development. Our survey indicates that
                                                                      most of the enterprises have recognized the importance of
   Importance of leadership development                               leadership development and have identified the close tie
                                                                      between leadership and organizational efficiency
                                                                      improvement, change management and regulated
                     0%
             10%                                                      management as well as the fast growth. Some have
                                                                      adopted approaches to develop leadership, including the
    15%
                                                                      initial establishment of the leadership ability standard, the
                                           Very important (75%)       implementation of test and assessment, the set-up of
                                           Top priority (15%)         career paths and trainings, etc. The survey results also
                                           Somewhat Important (10%)   reveal that most of the enterprises need to further work on
                                           Not important (0%)         how to effectively promote the leadership development.
                                                                      In perspective of the full-time personnel deployment,
                                                                      professionalism of leadership cultivation and integration
                                                                      of talent cultivation systems in the surveyed enterprises,
                                                                      the input in and effect of the leadership development is
                                   75%
                                                                      insufficient; many enterprises have available training
                                                                      contents but without development process, and the
                                                                      curriculum is weak in applicability and relevance.
                                                                      Furthermore, the training has not been aligned with
                                                                      business needs and the leadership development modes are
   Core business objectives to be most relevant to                    relatively in poor differentiation, lacking of more
   leadership                                                         effective ones.

                                                                      In this survey, as regards the cultivation of leadership, 75%
                                                                      of the CEOs agree that it is very important to the
                                                                      company, while 15% of the CEOs rank it as the top
                                                                      priority.

                                                                      As regards the core business objectives most relevant to
                                                                      leadership, 84% of the company respondents chose the
                                                                      item of "Organizational efficiency improvement", while
                                                                      68% of the respondents agree that the leadership will
                                                                      drive changes and innovation. Meanwhile, over 50% of
                                                                      the enterprises think the leadership can also boost the
   Improve sales skills and drive high growth
                                                                      regulated management, fast development, access to new
   Most CEOs perceive that the improved sales skills, strong
                                                                      markets or launch of new products, et
   product lines, development of proprietary intellectual
   The clear requirements on leadership to support business
   development goals make the measures to enhance
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   leadership more focused. 82% of the CEOs affirmed that       Define leadership requirements to support
   their enterprises have clearly defined such kind of          business growth objectives
   leadership.

   The identification of the competency items of leadership
   can be achieved by various ways, three of which have
                                                                  18%
   been revealed by this survey: leveraging the in-house HR
   team, consulting enterprises or global headquarters. 66%
                                                                                                                                 Yes (82%)
   of the CEOs indicated that they identify the leadership                                                                       No (18%)
   competence items through in-house HR teams while 24%
   of them said they do this by deploying professional
   consulting companies.

   According to the statistics, training is still the most
   widely used approach among enterprises, ranking the top
   mode of leadership development with the proportion of                                                   82%
   78%; besides, 67% of the enterprises have designed the
   career path for their employees, and 49% set test and
   evaluation as the necessary approaches for leadership
   development. However, some development modes
   generally adopted by mature enterprises, such as post        Ways to identify leadership competency
   rotation, coach system and talent map take up a relatively
   lower proportion among the enterprises; 2% of the                                 2%
                                                                          8%
   enterprises to date have no such modes to support                                                                   By in-house HR team
   leadership development.                                                                                             (China) (66%)
                                                                24%
                                                                                                                       By professional
                                                                                                                       consulting companies
                                                                                                                       (24%)
                                                                                                                       By global headquarters
                                                                                                                       (8%)

                                                                                                                       By other means (2%)




                                                                                                           66%




                                                                Ways to improve/support leadership development


                                                                                           Others         0%
                                                                                            None          2%
                                                                                     Talent map                  14%
                                                                                   HR executive                      23%
                                                                            Mentoring/coaching                             33%
                                                                   Post rotation/Internal transfer                          36%
                                                                            Test and evaluation                                    49%
                                                                           Career path planning                                              67%
                                                                                          Training                                             78%

                                                                                                     0%        20%     40%          60%       80%
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   Issues to be addressed in terms of scientific                is the issue to be addressed at present.
   research, innovation and intellectual property               High-tech enterprises also meet with certain challenges of
                                                                intellectual property. The CEOs agree that the
                                                                strengthening of intellectual property, severely cracking
                                                                down on piracy and infringement activities and acquiring
                                                                further directions and support on intellectual property
                                                                commercialization are urgent issues to be addressed at
                                                                present.
                                                                Talents are the decisive factor for technology
                                                                development and new high-tech industrialization. In
   Issues to be addressed in terms of human                     today's world, the international technology competition in
   resources                                                    the final analysis is talent competition, the core of which
                                                                is pursuing top talents. 39% of the CEOs acknowledge
                                                                that they are in urgent need of talents in research and
                                                                creativity.

                                                                Develop the incentives and rewards mechanism for
                                                                human resources
                                                                Despite the favorably high-level academic background,
                                                                the personnel in China's high-tech enterprises produce
                                                                fewer products and carry out the R&D activities at lower
   Top/most important funding source                            efficiency. 48% of the CEOs think the current HR system
                                                                cannot integrate multiple modules to give play to the
                                                                overall efficiency and also lack the compound
                                                                management talents to take over various business
                                                                modules. 41% of the CEOs think establishing the rational
                                                                incentives and awards system and improving the
                                                                performance management are the urgent HR issues to be
                                                                addressed.
                                                                Optimize the structure of funding source and boost
   Enhance the core competence and address the challenges       competitiveness
   The current challenge needs to be addressed by China's       The fast developing high-tech enterprises are facing with
   high-tech industry is to enhance high-tech enterprises'      a number of issues, such as the production scaling-up,
   comprehensive innovation abilities with independent          market expansion, improvement of quality and increase in
   R&D as the core, and boost the industry upgrading and        economic benefits, all of which need massive funds to get
   development. Even though the current proportion of R&D       resolved. Enterprises at this stage may lose the fast-
   input is at relatively high levels and the researchers       growing opportunities, or even cease to grow or be
   possess favorable educational background, the scientific     acquired by other enterprises if the sustainable funding is
   inventions and creations of China are still lagging behind   unavailable. The growth funds mainly come from three
   the developed nations. The reason for this is that our       sources: self-accumulation, equity financing and load
   high-tech enterprises are valuing technologies and talents   fund.
   but belittling the management, thus to result in the         At present, the top funding source for China's high-tech
   problem of "big investment, small returns". 75% of the       enterprises is operating cash flow, as agreed by 85% of
   CEOs are still making the point that increasing R&D          the CEOs. The second is venture capital and the initiator's
   input and acquiring technologies are challenges to be        personal investment, as agreed by respectively 29% and
   addressed in the future, while 49% of the CEOs think the     20% of the CEOs. The result indicates that China's high-
   establishment of a scientific, delicate and effective        tech enterprises are becoming more adaptive to utilizing
   innovation mechanism aligning with other business units      the capital market.
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   Prospective Outlook
   Expand the sales market and pursue diversified                 up development.
   development

   Most of the CEOs agree that in the next 12 months, the         External factors to exert positive impacts over the

   accelerated growth of sales market, access to new              prospective development of high-tech enterprises

   geographic markets through diversified development, and
   the improved usability of qualified new employees may
   exert a positive impact over the prospective development
   of high-tech enterprises.

   Effectively control cost to boost economic benefits

   Undoubtedly, the rising cost of direct input, labor, tax and
   other items are key negative factors for the prospective
   development of high-tech enterprises. 66% of the CEOs
   think the rise of input cost will exert a negative impact
   over the enterprises' prospective development, while 39%
   of them believe that the varied forms of rise in labor cost,
   such as the levy of social security tax, will play the same    External factors to factors to exert negative impacts over
   impact over enterprises.                                       the prospective development of high-tech enterprises

   Speed up reform and prepare for challenge

   R&D is the life of high-tech enterprises. 86% of the
   CEOs are planning to increase R&D efforts to speed up
   their development. The whole point of R&D is to launch
   new products. Traditional enterprises have no way to
   compare with high-tech enterprises as regard to the speed
   of innovation. In order to make enterprises remain
   invincible in competition, 75% of the CEOs are
   considering launching new products in the next 12
   months. New products will attract more customers, which
   is favorable for enterprises to enter into new regional
                                                                  Reform directions of enterprises
   markets. 63% of the CEOs are planning to enter into new
   regional markets in the next 12 months to speed up
   development. The development of high-tech enterprises
   cannot be achieved without the commitment of talents
   and compared with other sectors high-tech enterprises
   rely more deeply on intellectual resources. 45% of the
   CEOs will recruit new employees in the next 12 months
   to satisfy the needs of development.


   In addition, the CEOs are planning to raise funds,
   implement M&A, enter into new vertical industries,
   improve sourcing and enlarge board of directors to speed
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   Conclusion
   This survey finds that with the continuous growth of     innovative and creative mechanism, cultivating and
   China's economy, the competition among high-tech         recruiting researchers and creative talents, optimizing
   industry is increasing fierce and key factors to drive   fund sourcing structure and maintaining continuous
   high growth for high-tech enterprises are enhancing      competence.
   R&D capability, strengthening leadership and
   improving sales ability. The CEOs are optimistic         Strengthen leadership of core management team and
   about the future economic development trends and are     realize operational objective of core business
   planning to increase R&D input, expand sales market
                                                            Leadership of core management team closely related
   as well as launch new products and recruit new
                                                            to the realization of operational objective of core
   employees.
                                                            business has significant impact on the effectiveness of
   Rely on external favorable environment and realize       business macro decision and the efficiency of
   enterprise's continuous growth                           operational management. In the context of
                                                            increasingly fierce market competition, enterprises
   China's high-tech enterprises are facing unprecedented   should establish leadership competency standards
   financing opportunities brought forth by the             based on business strategy and corporate culture to
   prospective development outlook of high-tech industry,   conduct on-going evaluation and feedback on middle
   governmental policy support, gradual improvement of      and top-level managers and provide customized
   the financial system and the established SME and         development opportunities for different-level
   GEM boards. CEOs are planning to raise funds in          managers based on evaluation results, attaching
   capital market to meet the capital requirements from     special attention to on-the-job training and
   upgrading technology, marketing and expanding            development as well as some knowledge and skill
   production and drive continuous growth in next 12        classroom training.
   months as they view the economic development in
   regions where their products and services are offered    Speed up reform, prepare for competition, and drive
   will remain overall growth during 2011.                  fast growth


   Innovation is the fundamental factor for high-tech       CEOs feel optimistic about future economy and will
   enterprises to maintain their core competence            increase R&D input, enlarge sale market, launch new
                                                            products, attract innovative talents, strengthen
   China's high-tech enterprises' comprehensive             leadership of core management team to enhance
   innovation ability with independent R&D as the core      competition, facilitate industry reform and drive fast
   will facilitate the upgrading and development of high-   growth.
   tech industry. For the purpose of enhancing their core
   competence, high-tech enterprises will have to
   make greater efforts in developing their own
   intellectual property, mastering latest
   technology, developing new products, building
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   Deloitte TMT Profile
   Strong TMT service capabilities                                Technology, Media & Telecommunications
                                                                  Predictions 2011
        TMT service teams across 45 countries
        More than 5,000 partners, directors and senior            Addicted to connectivity - Perspectives on global
        managers supported by 10,000+ other                       mobile consumer, 2011
        professionals worldwide dedicated to serve TMT            2011 China Education Industry Research
        companies                                                 China s E-business Logistics Industry Investment and
        More than 500 partners, directors and senior
        managers in China dedicated to serve TMT                  Research Report 2011
        companies and working closely with our global             China s Online Community Industry Investment and
        TMT team                                                  Research Report 2011
        Five types of services: audit, tax, consulting,           Special Report on ChiNext s Second Anniversary
        ERS and FAS
                                                                  China s Early Childhood Education Industry
        Serve 80 percent of the TMT companies in the
        Fortune 1000                                              Investment and Research Report 2011
        Market leader in serving VC/PE-backed                     Electric Vehicles Industry Market Research Report
        businesses in China
        Market leader to help Chinese enterprises to go           Leadership in serving VC/PE-backed businesses
        public in overseas stock markets. From 2006 to
        May 2011, Deloitte has 40% market-shares in               Enterprises will face various challenges in different
        Chinese enterprises going public in US stock              development stage. Deloitte has been much concerned
        markets, ranking the top .                                about the strategic problems and challenges faced by
                                                                  fast growing enterprises for a long term. As a global
   Deloitte researches provide innovative and practical           strategic partner of numerous prominent VC/PE, we
   insights to help enterprises improve their performance         are continuing to improve client quality, strengthen
   and obtain competitive advantages                              strategic cooperation and be committed to working
                                                                  with VC-backed fast growing enterprises to meet
   Recent TMT reports include:                                    challenges, solve problems and achieve growth
   China s Education Industry Investment and Research             objectives.
   Report 2010



                               Common requirements of growing              Deloitte solutions including (but not
                               enterprises                                 limited to)
                               Basic accounting/internal control system    Accounting/tax training
        Start-up               Financial/accounting personnel training     Internal control advisory
                               Tax planning                                Investment structure/tax planning
                               Listing planning/IPO                        IPO reporting auditor
                               M&A                                         SOX/IPO internal control compliance
        Growing and IPO
                               Financial statements auditing               Due diligence
                               Internal control compliance                 Financial statements auditing
                               M&A                                         M&A advisory/due diligence
                               Growth strategy                             Strategic planning
                               Operational process restructuring           Operational process restructuring
        Expansion
                               Organization and performance
                                                                           HR advisory
                               management
                               Enterprise risk control                     ERS
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                                                     Nanjing Branch
              Fax: +86 20 3888 0119 / 0121
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                                                     Fax: +86 25 8691 8776
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Fax: +86 21 6335 0003                 Tianjin 300051, PRC
                                      Tel: +86 22 2320 6688
                                      Fax: +86 22 2320 6699
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Fax: +86 755 8246 3186
                                      568 Jianshe Avenue
                                      Wuhan 430022, PRC
                                      Tel: +86 27 8526 6618
Suzhou                                Fax: +86 27 8526 7032
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                                      Xiamen 361001, PRC
                                      Tel: +86 592 2107 298
                                      Fax: +86 592 2107 259
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                                Exhibit G
      Case: 1:16-cv-11099 Document #: 45-1 Filed: 01/06/17 Page 166 of 201 PageID #:923



    Wondershare Software Gets Recognition in Forbes 2011 Ranking of Top
                  Small and Medium Enterprises in China


                                                          Wireless News
                                                      April 28, 2011 Thursday



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Length: 237 words

Body
Wondershare Software Co., a software developer of Windows and Macintosh multimedia and business utility
applications headquartered in China, announced that it was ranked 34th among the top 200 best small and medium
enterprises (SMEs) in China in a recent survey by Forbes.

According to a release, now in its seventh year, the Forbes China Best SMEs Program ranks companies with the
"most potential." For its 2011 study, the business publication surveyed all public and private small and medium-size
companies that have their main operations in China and sales ranging from RMB 5 million to 1 billion. The ranking
is based on a number of metrics, including but not limited to, the most recent three-year revenues, revenue and
profit growth rates, return on assets, net profit margins, and sizes of operations. In addition to companies' financial
reports, Forbes also conducted a number of field visits to complete their research.

"We are much honored to be ranked by Forbes China in 2011," said Allen Qu, General Manager of Overseas Sales
& Marketing Department of Wondershare Software Co. "This prestigious recognition reflects our continuous,
significant business achievements and growth worldwide. We are confident that our innovative software solutions
and R&D talents will drive our business to new highs in 2011."

More company information:

www.wondershare.com

((Comments on this story may be sent to newsdesk@closeupmedia.com))

Load-Date: April 29, 2011




  End of Document
Case: 1:16-cv-11099 Document #: 45-1 Filed: 01/06/17 Page 167 of 201 PageID #:924




                                Exhibit H
                         Case: 1:16-cv-11099 Document #: 45-1 Filed: 01/06/17 Page 168 of 201 PageID #:925
(https://plus.google.com/115206047958954886182)
                                                                                       Look up a speci⻚�c company, person, investor, or event                                        LOG IN      REGISTER
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(/app/info/pro)                           Wondershare Software (/organization/wondershare-software)
              DISCOVER               Overview (/organization/wondershare-software)        Timeline (/organization/wondershare-software/timeline)

                                     Contributors (/organization/wondershare-software/contributors)
         Companies

  (/App/Search/Companies)
       People
                                                                Overview                                                                                               UPDATE
  (/App/Search/People)
       Investors
                                                                Total Equity Funding
  (/App/Search/Investors)
       Funding Rounds                                           $10M  in 2 Rounds (/organization/wondershare-software/funding-rounds) from 2 Investors
                                                                (/organization/wondershare-software/investors)
  (/App/Search/Funding_rounds)
       Acquisitions                                             Most Recent Funding
                                                                $10M      Series B (/funding-round/c6b326e80caad3f2bad06fdec7f396a9) on June 1, 2011
  (/App/Search/Acquisitions)
       Schools
                                       ADD TO LIST              Headquarters:            Shenzhen, Guangdong
  (/App/Search/Schools)
       Events                                                                            (/location/shenzhen/995adb15134b55dc70a03818a7b895d4)
                                  TOP CONTRIBUTORS
                                                                Description:             Wondershare develops multimedia applications for both individual and business
  (/App/Search/Events)
       My Searches                                                                       users.
                                                                Founders:                Taibing Wu (/person/taibing-wu)
  (/App/Searches)         ADD TO THIS PROFILE
       My Lists (/App/Lists)                                    Categories:              Developer Tools (/category/developer-
                                                                                         tools/61b83871f3bef95f93bbd555157a4ff6), Mobile Apps (/category/mobile-
         Featured                       CONTRIBUTE
                                                                                         apps/78f709aed8fbcd28218af090789f628f), Software
                                                                                         (/category/software/c08b5441a05b9777b7a6012728caddd9)
  (/App/Featured)
       Contribute                                               Website:                 http://www.wondershare.com (http://www.wondershare.com)
                                                                Social:                  (http://www.facebook.com/wondershare)
                                                                                               (http://twitter.com/Wondershare)
         Data Export

  (Https://About.Crunchbase.Com/Solutions/)
                                                                Company Details                                                                                        UPDATE

                                                                Founded:                 October 10, 2003
                                                                Contact:                 support@wondershare.com (mailto:support@wondershare.com)
                                                                Employees:               1 in Crunchbase (/organization/wondershare-software/people)


                                                                Wondershare is an international software company which is devoted to providing the leading PC
                                                                applications and Internet applications in the industry for worldwide users.

                                                                                                                                                                               ...
                                                                As a key software enterprise of the country's landscape planning Wondershare has set up branches in

                                                                See More



                                                                Recent Timeline Activity (/organization/wondershare-software/timeline) (8)


                                                                          May 1, 2015

                                                                            PRNewswire Asia - Ignite your Story with Wondershare's new and improved Video Editor,
                                                                            Filmora (http://en.prnasia.com/story/120825-0.shtml)


                                                                    ALL TIMELINE ACTIVITY (/ORGANIZATION/WONDERSHARE-SOFTWARE/TIMELINE)



                                                                Funding Rounds (2) - $10M                                                                              UPDATE


                                                                Date           Amount / Round                                     ValuationLead Investor               Investors

                                                                                                                                                IDG Capital
                                                                  Jun, 2011      $10M / Series B (/funding-                         —           Partners                                 2 (/funding-
                                                                                 round/c6b326e80caad3f2bad06fdec7f396a9)                        (/organization/idg-        round/c6b326e80caad3f2bad06fdec7f396a9)
                                                                                                                                                capital-partners)

                                                                  Sep, 2009      undisclosed amount / Angel (/funding-              —           —                                         0 (/funding-
                                                                                 round/b8fd3eb8e4c548d200c5b5c08b6ccc52)                                                   round/b8fd3eb8e4c548d200c5b5c08b6ccc52)




                                                                Investors (2)
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 • Careers
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 • Sitemap (/sitemap)                                             IDG Capital Partners
                                                                                     Look up a speci⻚�c Series
                                                                  (/organization/idg-capital-
                                                                                                               B (/funding-
                                                                                                        company,   person, investor, or event                          -             LOG IN      REGISTER
 Editorial Partners: TechCrunch                                                                         round/c6b326e80caad3f2bad06fdec7f396a9) (Lead)
  (/)                                                             partners)
Editorial Partners: TechCrunch                                                           round/c6b326e80caad3f2bad06fdec7f396a9) (Lead)
  (/)                                             partners)
                         Case: 1:16-cv-11099 Document #: 45-1 Filed: 01/06/17 Page 169 of 201 PageID #:926
(http://www.techcrunch.com)
                                                  Sinowisdom                             Series B (/funding-                                        -
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             DISCOVER                                            The Way Leading Startups Fundraise
                                                                 Raise capital with con⻚�dence in 2017. Hire a top fundraising consultant today to get the
        Companies                                                most out of your next round.
                                                                 Get Started
 (/App/Search/Companies)
      People

 (/App/Search/People)
      Investors                               (http://cm.crunchbase.com/toptal26)

                                                Current Team (1)
 (/App/Search/Investors)
      Funding Rounds                                                                                                                               UPDATE


 (/App/Search/Funding_rounds)
      Acquisitions

 (/App/Search/Acquisitions)
      Schools
                                                                     Taibing Wu
 (/App/Search/Schools)
      Events                                                         (/person/taibing-wu)
                                                                     Founder
 (/App/Search/Events)                           (/person/taibing-
      My Searches                               wu)


 (/App/Searches)
      My Lists (/App/Lists)
                                                Products (/organization/wondershare-software/products) (42)                                        UPDATE
        Featured

 (/App/Featured)                                              Wondershare Allmymusic                                Wondershare Allmytube
      Contribute                                              (/product/wondershare-                                (/product/wondershare-
                                                              allmymusic)                                           allmytube)
        Data Export                                         Wondershare AllMyMusic is a
                                                (/product/wondershare-                                            Wondershare AllMyTube for
                                                                                                      (/product/wondershare-
                                                allmymusic) professional audio recorder. It’s able    allmytube) Windows helps you download any
 (Https://About.Crunchbase.Com/Solutions/)                  to Record audio from YouTube,                         videos you desired from 1000+
                                                            Pandora, Napster, Spotify, etc..                      video sharing sites and convert
                                                            Record                                                them to your

                                                              Wondershare Allmytube for mac                         Wondershare Data Recovery
                                                              (/product/wondershare-                                (/product/wondershare-data-
                                                              allmytube-for-mac)                                    recovery)
                                                             Wondershare AllMyTube for Mac
                                                (/product/wondershare-                                              Wondershare Data Recovery is a
                                                                                                      (/product/wondershare-
                                                             downloads videos from 100+ video
                                                allmytube-for-mac)                                    data-recovery)powerful yet easy-to-use Windows
                                                             sharing sites like YouTube, Vimeo,                     data recovery software that can
                                                             Facebook, Hulu, Vevo, etc, and then                    recover your deleted, formatted, lost
                                                                                                                    and

                                                              Wondershare Data Recovery for                         Wondershare Dr.Fone for Android
                                                              mac (/product/wondershare-                            (/product/wondershare-dr-fone-
                                                              data-recovery-for-mac)                                for-android)
                                                             Wondershare Data Recovery for
                                                (/product/wondershare-                                              Recover Android data that you
                                                                                                      (/product/wondershare-
                                                             Mac is comprehensive Mac data
                                                data-recovery-for-mac)                                              thought was lost forever. Whether
                                                                                                      dr-fone-for-android)
                                                             recovery software to recover Mac                       you accidentally deleted ⻚�les or
                                                             data lost due to deleting, formatting,                 smashed your device, Dr. Fone for
                                                                                                                    Android

                                                              Wondershare Dr.Fone for Android                       Wondershare Dr.Fone for iOS
                                                              for mac (/product/wondershare-                        (/product/wondershare-dr-fone-
                                                              dr-fone-for-android-for-mac)                          for-ios)
                                                (/product/wondershare-
                                                              Wondershare Dr.Fone for Android                       Wondershare Dr.Fone for iOS is the
                                                                                                      (/product/wondershare-
                                                              for mac was added to CrunchBase
                                                dr-fone-for-android-for-                                            world’s #1 iPhone, iPad and iPod
                                                                                                      dr-fone-for-ios)
                                                              in 2014                                               Touch data recovery software to
                                                mac)
                                                                                                                    recover lost contacts, text
                                                                                                                    messages,



                                                        ALL PRODUCTS (/ORGANIZATION/WONDERSHARE-SOFTWARE/PRODUCTS)



                                                News (7)                                                                                           UPDATE



                                                Date                 News

                                                  May 1, 2015          PRNewswire Asia - Ignite your Story with Wondershare's new and improved
                                                                       Video Editor, Filmora (http://en.prnasia.com/story/120825-0.shtml)


                                                  Feb 14, 2015         PRNewswire Asia - Single or Smitten, Set the Mood Right with TunesGo
                                                                       Valentine's Day Playlists (http://en.prnasia.com/story/115320-0.shtml)
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                                                  Dec 23, 2014         PRNewswire Asia - Wondershare Gives Back This Holiday Season with Donations
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  (/)     Partners: TechCrunch                                         to Global Giving Projects in India and Uganda
(http://www.techcrunch.com)                                            (http://en.prnasia.com/story/112240-0.shtml)
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                                                 27, 2013  #:of45-1
                                                          Cult          Filed:
                                                                Mac - Now Turn Your01/06/17       PageInto170
                                                                                    Humble iPhone Camera        of 201 PageID #:927
                                                                                                           A PowerCam
                                                                        [Sponsored Post] (http://www.cultofmac.com/233423/now-turn-your-iphone-
(/app/info/pro)                                                         camera-into-a-powercam-sponsored-post/)

             DISCOVER                              Jun 27, 2011         PEDaily.cn - IDG Invests over US$10M in Wondershare Software
                                                                        (http://en.pedaily.cn/Item.aspx?id=214653)
        Companies

                                                   Sep 27, 2010         CNet - Weekly troubleshooting utilities update
 (/App/Search/Companies)
      People
                                                                        (http://www.cnet.com/news/weekly-troubleshooting-utilities-update-20017793/)
 (/App/Search/People)
      Investors
                                                   Oct 15, 2009         Cult of Mac - Daily Deals: MacBook Pros, iPod/iPhone Armbands and App Store
 (/App/Search/Investors)
      Funding Rounds                                                    Bargains (http://www.cultofmac.com/18744/daily-deals-macbook-pros-
                                                                        ipodiphone-armbands-and-app-store-bargains/)
 (/App/Search/Funding_rounds)
      Acquisitions

 (/App/Search/Acquisitions)
      Schools
                                                 @Wondershare (http://twitter.com/Wondershare)
 (/App/Search/Schools)
      Events

 (/App/Search/Events)                                     Wondershare @Wondershare
      My Searches
                                                          Very cool and thank you @owlerinc for giving us this
 (/App/Searches)
      My Lists (/App/Lists)                               award! Looking forward to many more years of looking
        Featured
                                                          after the needs of our users!
                                                                                                                                              22 Dec
 (/App/Featured)
      Contribute
                                                          Wondershare @Wondershare
        Data Export                                       @SaiMeeraa What seems to be the problem here?
 (Https://About.Crunchbase.Com/Solutions/)                Customer service is important to us here. What is your
                                                          issue, I'll get it taken care of!
                                                                                                                                              25 Oct


                                                          Wondershare @Wondershare

                                                          My best RTs this week came from: @filmbewerkingnl
                                                          #thankSAll Who were yours? sumall.com/thankyou
                                                                                                                                              22 Feb


                                                          Wondershare @Wondershare
                                                          My best RTs this week came from: @filmbewerkingnl
                                                          #thankSAll Who were yours? sumall.com/thankyou
                                                                                                                                              15 Feb


                                                          Wondershare @Wondershare
                                                          My best RTs this week came from: @filmbewerkingnl
                                                          #thankSAll Who were yours? sumall.com/thankyou
                                                                                                                                              08 Feb


                                                    WONDERSHARE SOFTWARE ON TWITTER (HTTPS://TWITTER.COM/WONDERSHARE)



                                                 Competitors (1)                                                                             UPDATE



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                                                               documents via any web browser or
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                                              Event Appearances (/organization/wondershare-software/events) (1)
             DISCOVER

        Companies                             PAST EVENT APPEARANCES (1)

 (/App/Search/Companies)
      People                                                 VidCon 2016 (/event/vidcon-2016-2016623) on Jun 23, 2016
                                                               Sponsor (/organization/wondershare-software/events/sponsor)
 (/App/Search/People)
      Investors

 (/App/Search/Investors)
      Funding Rounds
                                                ALL EVENT APPEARANCES (/ORGANIZATION/WONDERSHARE-SOFTWARE/EVENTS)
 (/App/Search/Funding_rounds)
      Acquisitions

 (/App/Search/Acquisitions)
      Schools                                 Images (1)                                                                                    UPDATE

 (/App/Search/Schools)
      Events

 (/App/Search/Events)
      My Searches                                                    (https://crunchbase-production-

 (/App/Searches)
      My Lists (/App/Lists)

        Featured                                res.cloudinary.com/image/upload/c_limit,h_600,w_600/v1397183885/44c41eb0d81ce81c6a9f5feb7d55fc2f.png)

 (/App/Featured)
      Contribute
                                                             Add Acquisitions                                  Add Board Members and Advisors
        Data Export

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                                                           Add Sub Organizations                                         Add Memberships


                                                              Add Customers                                                  Add Partners


                                                                Add Videos




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                                Exhibit I
Case: 1:16-cv-11099 Document #: 45-1 Filed: 01/06/17 Page 173 of 201 PageID #:930
Case: 1:16-cv-11099 Document #: 45-1 Filed: 01/06/17 Page 174 of 201 PageID #:931




                                Exhibit J
1/5/2017      Case: 1:16-cv-11099 Document  #:of45-1
                                       Step out        Filed:
                                                 your comfort    01/06/17
                                                              zone              Pageteam.
                                                                   and join our exciting 175 of 201 PageID #:932




   Step out of your comfort zone
   and join our exciting team.
   View Openings 




   Meet some of your future team members.




   Henry                                           Flora                           Rob
   Social Media Operation Specialist,              Business Specialist,            Design Leader - Product,
   Wondershare China                               Wondershare China               Wondershare China



https://www.wondershare.com/company/join­us.html                                                                   1/4
1/5/2017     Case: 1:16-cv-11099 Document  #:of45-1
                                      Step out        Filed:
                                                your comfort    01/06/17
                                                             zone              Pageteam.
                                                                  and join our exciting 176 of 201 PageID #:933




   Eric                                              Katie                                             Terry
   Cinematographer & Videographer,                   Content & Copywriter,                             Senior Motion & Graphic Designer,
   Wondershare Canada                                Wondershare Canada                                Wondershare Canada




                                       Our Company        Leadership     History      Contact   Business   Join Us




   Fanny                                             Sion                                              Fiﬁ
   Japanese Marketing Manager,                       Website Operations Specialist,                    Customer Service Specialist,
   Wondershare Japan                                 Wondershare Japan                                 Wondershare Japan




   Work with
   Wondershare



                           Health Care                                                              Oﬃce Snacks
                           At Wondershare, your well-being is                                       Got the munchies? We certainly do. There
                           important to us. Our team enjoys the                                     are always healthy – and less healthy –
                           beneﬁts of Dental, Vision, and Extended                                  snacks in our kitchen.
                           Health coverage as well as Travel and Life
                           insurance.



                           Team Events                                                              Dog Friendly
                           Let’s make some memories! Birthdays, baby                                We’re one big family at Wondershare, and
                           showers, holidays, and project milestones –                              that includes our furry family members.
                           we celebrate them all together.                                          Fridays are dog days!




https://www.wondershare.com/company/join­us.html                                                                                               2/4
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